Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 1 of 392




                              Exhibit 1
Plaintiffs’ Corrected Averment of Jurisdictional Facts and Evidence
      and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1
CaseHighly
     1:03-md-01570-GBD-SN
            Confidential –Document
                           Subject10594-1  Filed 12/09/24
                                    To Further            Page 2 of 392
                                                 Confidentiality     Review

    1              UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK
    2
         IN RE: TERRORIST ATTACKS ON              )
    3    SEPTEMBER 11, 2001                       )
         _______________________________          )
    4    Underwriting Members of Lloyd’s          )
         Syndicate 2, et al., v.                  )
    5    Al Rajhi Bank, et al.,                   ) 03 MDL 1570
         No. 16-cv-07853                          ) (GBD) (SN)
    6                                             )
         Addesso, et al. v. Kingdom of            ) ECF Case
    7    Saudi Arabia, et al.,                    )
         No. 16-cv-09937                          )
    8                                             )
         Aguilar, et al. v. Kingdom of            )
    9    Saudi Arabia, et al.,                    )
         No. 16-cv-09663                          )
   10                                             )
         Hodges, et al. v. Kingdom of             )
   11    Saudi Arabia, et al.,                    )
         No. 17-cv-00117                          )
   12                                             )
         Aiken, et al. v. Kingdom of              )
   13    Saudi Arabia, et al.,                    )
         No. 17-cv-00450                          )
   14                                             )
         Charter Oak Fire Insurance Co.,          )
   15    et al. v. Al Rajhi Bank, et              )
         al., No. 17-cv-02651                     )
   16                                             )
         Abarca, et al. v. Kingdom of             )
   17    Saudi Arabia, et al.,                    )
         No. 17-cv-03887                          )
   18                                             )
         Arrowood Indemnity Co., et al.           )
   19    v. Kingdom of Saudi Arabia, et           )
         al., No. 17-cv-03908                     )
   20                                             )
         Abedhajajreh, et al. v. Kingdom          )
   21    of Saudi Arabia, et al.,                 )
         No. 17-cv-06123                          )
   22                                             )
         Muenchener                               )
   23    Rueckversicherungs-Gesellschaft          )
         Aktiengesellschaft in Muenchen,          )
   24    et al. v. Kingdom of Saudi               )
         Arabia, et al.,                          )
   25    Case No. 17-cv-07914                     )


  Golkow Litigation Services                                        Page 1
CaseHighly
     1:03-md-01570-GBD-SN
            Confidential –Document
                           Subject10594-1  Filed 12/09/24
                                    To Further            Page 3 of 392
                                                 Confidentiality     Review

    1    Abbate, et al. v. Kingdom of             )
         Saudi Arabia, et al.,                    )
    2    No. 17-cv-08617                          )
    3

                    WEDNESDAY, SEPTEMBER 27, 2023
    4

            HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
    5                  CONFIDENTIALITY REVIEW
    6                             – – –
    7                 Remote videotaped deposition of
    8     Abdullah bin Sulaiman Al Rajhi, held at the
    9     location of the witness in Saudi Arabia,
   10     commencing at 2:37 p.m. Arabia Standard Time,
   11     on the above date, before Carrie A. Campbell,
   12     Registered Diplomate Reporter, Certified
   13     Realtime Reporter, Illinois, California &
   14     Texas Certified Shorthand Reporter, Missouri,
   15     Kansas, Louisiana & New Jersey Certified
   16     Court Reporter.
   17                             – – –
   18

                     GOLKOW LITIGATION SERVICES
   19                          877.370.DEPS
                            deps@golkow.com
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  Golkow Litigation Services                                        Page 2
CaseHighly
     1:03-md-01570-GBD-SN
            Confidential –Document
                           Subject10594-1  Filed 12/09/24
                                    To Further            Page 4 of 392
                                                 Confidentiality     Review

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  Golkow Litigation Services                                        Page 3
CaseHighly
     1:03-md-01570-GBD-SN
            Confidential –Document
                           Subject10594-1  Filed 12/09/24
                                    To Further            Page 5 of 392
                                                 Confidentiality     Review

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  Golkow Litigation Services                                        Page 4
CaseHighly
     1:03-md-01570-GBD-SN
            Confidential –Document
                           Subject10594-1  Filed 12/09/24
                                    To Further            Page 6 of 392
                                                 Confidentiality     Review

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   10          O'Connor
   11          THAMER ALHUMUD, General Counsel, Al
               Rajhi Bank
   12
               ABDULRAHMAN AL MUSSAED, foreign
   13          litigation department, Al Rajhi Bank
   14          AHMED HAROON, interpreter
   15          MARWAN ABDEL-RAHMAN, interpreter
   16          RODINA MIKHAIL, interpreter
   17
   18     TRIAL TECHNICIAN:
                JON KNOWLES, Precision Trial Services
   19
   20
          VIDEOGRAPHER:
   21           JEFF FLEMING,
                Golkow Litigation Services
   22
                                  – – –
   23
   24
   25



  Golkow Litigation Services                                        Page 5
CaseHighly
     1:03-md-01570-GBD-SN
            Confidential –Document
                           Subject10594-1  Filed 12/09/24
                                    To Further            Page 7 of 392
                                                 Confidentiality     Review

    1                             INDEX
    2                                              PAGE
    3      APPEARANCES..................................    3
    4     EXAMINATIONS
    5       BY MR. CARTER.............................. 14
    6       BY MR. CURRAN.............................. 343
    7       BY MR. CARTER.............................. 356
    8       BY MR. CURRAN.............................. 369
    9
   10                         EXHIBITS
   11       No.       Description                                Page
   12     ARB 26      March 11, 2002, Remarks By                   68
                      Treasury Secretary Paul O'Neill
   13                 on New U.S.-Saudi Arabia
                      Terrorist Financing Designations
   14
          ARB 27      June 19, 2008 Treasury                       69
   15                 Designates Al Haramain Islamic
                      Foundation
   16
          ARB 28      August 3, 2006, Treasury                     73
   17                 Designates Director, Branches of
                      Charity Bankrolling Al Qaida
   18                 Network
   19     ARB 29      January 26, 2004 Al Rajhi Bank               83
                      letter to SAMA,
   20                 ARB-00014546
   21     ARB 30      January 4, 2003 letter to SAMA,              85
                      ARB-00014545
   22
          ARB 31      Spreadsheet, AHIF Account                   104
   23                 Statements
   24     ARB 32      Spreadsheet of International                113
                      Islamic Relief Organization
   25                 Accounts at Al Rajhi Bank



  Golkow Litigation Services                                        Page 6
CaseHighly
     1:03-md-01570-GBD-SN
            Confidential –Document
                           Subject10594-1  Filed 12/09/24
                                    To Further            Page 8 of 392
                                                 Confidentiality     Review

    1     ARB 33      February 25, 2004 letter to                 132
                      Al-Haramain Islamic Foundation,
    2                 ARB-00039945 - ARB-00039946
    3     ARB 34      March 13, 2004 letter to Al                 145
                      Rajhi Bank from Ministry of
    4                 Islamic Affairs,
                      ARB-00039505
    5
          ARB 35      March 21, 2004 letter from                  147
    6                 Ministry of Justice,
                      ARB-00039947
    7
          ARB 36      January 29, 1997 letter from                150
    8                 Ministry of Islamic Affairs,
                      ARB-00038573
    9
          ARB 37      September 26, 1998 letter from              153
   10                 Al-Haramain Islamic Foundation
                      to Al Rajhi Bank,
   11                 ARB-00039000; ARB-00038998 -
                      ARB-00038999
   12
          ARB 38      October 17, 1997 letter from                159
   13                 Ministry of Islamic Affairs to
                      Riyadh Passports Administration,
   14                 ARB-00038201
   15     ARB 39      Al Jazeera Arabic news article,             163
                      ARB-00038772
   16
          ARB 40      June 1, 1999 letter from                    166
   17                 Ministry of Interior,
                      ARB-00038818
   18
          ARB 41      June 7, 1999 letter from Prince             169
   19                 of Tabuk,
                      ARB-00038699
   20
          ARB 42      September 9, 1999 letter from               173
   21                 Al-Haramain Islamic Foundation
                      to Al Rajhi Bank,
   22                 ARB-00038878
   23     ARB 43      October 13, 1999 letter from                184
                      Al-Haramain Islamic Foundation
   24                 to Al Rajhi Bank,
                      ARB-00038994
   25



  Golkow Litigation Services                                        Page 7
CaseHighly
     1:03-md-01570-GBD-SN
            Confidential –Document
                           Subject10594-1  Filed 12/09/24
                                    To Further            Page 9 of 392
                                                 Confidentiality     Review

    1     ARB 44      November 13, 1999 letter to Head            188
                      of Legal Affairs,
    2                 ARB-00039001
    3     ARB 45      November 16, 1999 letter to                 191
                      Director Al Arbaeen Street
    4                 Branch,
                      ARB-00038996
    5
          ARB 46      September 10, 2000 letter from              193
    6                 Al-Haramain Islamic Foundation
                      to Al Rajhi Bank,
    7                 ARB-00039077
    8     ARB 47      August 8, 2001 letter from                  194
                      Al-Haramain Islamic Foundation
    9                 letter to Al Rajhi Bank,
                      ARB-00038486
   10
          ARB 48      November 25, 2000 letter from               200
   11                 Al-Haramain Islamic Foundation
                      to Al Rajhi Bank,
   12                 ARB-00038892
   13     ARB 49      Bank records of Aqeel Al-Aqil,              209
                      ARB-00041454 - ARB-00041463
   14
          ARB 50      Sulaiman Al-Rajhi Charitable                251
   15                 Foundation website printout
   16     ARB 51      Transfers from an account                   273
                      Al Rajhi Bank held for the Saar
   17                 foundation to Al-Haramain
                      Islamic Foundation,
   18                 ARB-00039960
   19     ARB 52      Extract from Al Rajhi bank                  276
                      records of payments from
   20                 Sulaiman Al Rajhi charitable
                      foundation to Al-Haramain,
   21                 ARB-00039961
   22     ARB 53      SAMA fax sent March 7, 2002,                281
                      subject Banks' SCC,
   23                 ARB-00014382 - ARB-00014383
   24     ARB 54      Account statement of Aqeel                  284
                      Al-Aqil,
   25                 ARB-00041464 - ARB-00041501


  Golkow Litigation Services                                        Page 8
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 10 of 392
                                                   Confidentiality    Review

     1    ARB 55       Listing of checks relating to               288
                       transfers to Al-Haramain,
     2                 NL0010086; NL0010088; NL0010094;
                       NL0010245
     3
          ARB 56       Letter from                                 291
     4                 NL0009625
     5    ARB 57       Annual reports for the Saar                 311
                       Foundation, Inc., the US entity,
     6                 filed in 1994, 1993, 1992 and
                       1991
     7
          ARB 58       E-mail(s),                                  324
     8                 NL0020470
     9    ARB 59       Checks from Al Rajhi Bank,                  325
                       NL0010068; NL0010384
    10
          ARB 60       Checks from Al Rajhi Bank,                  327
    11                 NL0010334 - NL0010336
    12    ARB 61       Check from Al Rajhi Bank,                   327
                       NL0010338
    13
          ARB 62       Checks from Al Rajhi Bank,                  330
    14                 NL0010327; NL0010348 -
                       NL0010350; NL0010145; NL0010423;
    15                 NL0010194
    16    ARB 63       IIRO letter dated May 30, 1995,             366
                       IIRO 315040
    17
    18        (Exhibits attached to the deposition.)
    19
    20       CERTIFICATE..................................372
    21       ACKNOWLEDGMENT OF DEPONENT...................374
    22       ERRATA.......................................375
    23       LAWYER'S NOTES...............................376
    24
    25



   Golkow Litigation Services                                        Page 9
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 11 of 392
                                                   Confidentiality    Review

     1                     VIDEOGRAPHER:     We are now on
     2            the record.     My name is Jeff Fleming.
     3            I'm a videographer for Golkow
     4            Litigation Services.
     5                     Today's date is September 27,
     6            2023.    The time in Riyadh, Saudi
     7            Arabia, is 2:37 p.m.
     8                     This remote video deposition is
     9            being held in the matter of Terrorist
    10            Attacks on September 11, 2001, MDL
    11            Number 1570.
    12                     The deponent is Abdullah al
    13            Rajhi.
    14                     All parties to this deposition
    15            have agreed to the witness being sworn
    16            in remotely.
    17                     Due to the nature of remote
    18            reporting, please pause briefly before
    19            speaking to ensure all parties are
    20            heard completely.
    21                     Counsel please state your
    22            appearances after which our court
    23            reporter, Carrie Campbell, will swear
    24            in the witness.
    25                     MR. CARTER:    Sean Carter and



   Golkow Litigation Services                                       Page 10
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 12 of 392
                                                   Confidentiality    Review

     1            Scott Tarbutton from Cozen O'Connor on
     2            behalf of the plaintiffs.
     3                    MR. CURRAN:     Anyone else on the
     4            plaintiff side?
     5                    MR. SHEPS:     Robert Sheps from
     6            the Sheps Law Group, plaintiffs.
     7                    MR. CURRAN:     Okay.    If that's
     8            all on the plaintiff side, I'll go
     9            next.   This is Christopher Curran of
    10            White & Case on behalf of Al Rajhi
    11            Bank and the witness.
    12                    I am accompanied in the room by
    13            my colleague Nicole Erb, Reuben
    14            Sequeira, Anwar Akrouk, and I have a
    15            colleague, Michael Mahaffey, who is
    16            appearing virtually.
    17                    We also have in the room two
    18            members of the Al Rajhi Bank legal
    19            department, the general counsel,
    20            Thamer Alhumud and Abdulrahman Al
    21            Mussaed.
    22                    We also have present in the
    23            room a check interpreter by the name
    24            of Ahmed Haroon, H-a-r-o-o-n.
    25                    And I do want to say at the



   Golkow Litigation Services                                       Page 11
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 13 of 392
                                                   Confidentiality    Review

     1            outset that I'm confident that this
     2            deposition will elicit confidential
     3            information of Al Rajhi Bank and
     4            perhaps its customers and I,
     5            therefore, provisionally designate the
     6            deposition as confidential in
     7            accordance with the protective order,
     8            certainly for the initial 30 days and
     9            then thereafter.
    10                    So I'll ask that other defense
    11            counsel identify themselves.         And I
    12            also do want to confirm that only
    13            people who are covered by the
    14            protective order are on this video
    15            call.   So if anyone is not covered by
    16            the protective order, I ask that they
    17            identify themselves and then I will
    18            ask them not to participate.
    19                    So --
    20                    MR. CARTER:     And, Chris, if you
    21            can clarify, you're referring to the
    22            omnibus protective order, correct?
    23                    MR. CURRAN:     I am, yes.
    24                    MR. HAEFELE:      Chris, this is
    25            Robert Haefele from Motley Rice.          I



   Golkow Litigation Services                                       Page 12
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 14 of 392
                                                   Confidentiality    Review

     1            didn't unmute myself.       I'm appearing
     2            for plaintiffs, but Robert Haefele
     3            from Motley Rice is here as well, and
     4            I am covered by the omnibus protective
     5            order.
     6                     MR. CURRAN:    Very good.     Thank
     7            you very much.
     8                     All right.    Other defense
     9            counsel?
    10                     MR. SHEN:    This is Andy Shen
    11            from Kellogg Hansen for The Kingdom of
    12            Saudi Arabia.
    13                     MS. KHATIB:    Sumayya Khatib
    14            from Lewis Baach Kaufmann Middlemiss
    15            for MWL and the former charity
    16            defendants.
    17                     MR. COTTREAU:     Good morning.
    18            It's Steve Cottreau and Gabby Pritsker
    19            from Jones Day for Dubai Islamic bank.
    20                     MR. MOHAMMEDI:     Good morning.
    21            This is Omar Mohammedi from OTM Law on
    22            behalf of World Assembly of Muslim
    23            Youth.
    24                     MR. NDANUSA:     Good morning.
    25            This is Mustapha Ndanusa from OTM Law



   Golkow Litigation Services                                       Page 13
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 15 of 392
                                                   Confidentiality    Review

     1            Firm, also on behalf of World Assembly
     2            of Muslim Youth.
     3                    MR. CURRAN:     Okay.    If there's
     4            no one else, I think that takes care
     5            of the appearances.       And I take from
     6            the silence that no one is not covered
     7            by the protective order.
     8                    So over to you, Mr. Carter.
     9                    MR. CARTER:     Sure.    Have we
    10            sworn in the witness?
    11

    12             ABDULLAH BIN SULAIMAN AL RAJHI,
    13    of lawful age, having been first duly sworn
    14    to tell the truth, the whole truth and
    15    nothing but the truth, deposes and says on
    16    behalf of the Plaintiffs, as follows:
    17

    18                    DIRECT EXAMINATION
    19    QUESTIONS BY MR. CARTER:
    20            Q.      Good morning, Mr. Al Rajhi.         I
    21    should say better, since you're in Riyadh,
    22    good afternoon.
    23            A.      Yeah.    Well, good morning,
    24    Mr. Carter, on your time.
    25            Q.      Thank you.



   Golkow Litigation Services                                       Page 14
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 16 of 392
                                                   Confidentiality    Review

     1                    My name is Sean Carter.        I'm an
     2    attorney with the law firm of Cozen O'Connor,
     3    and I represent plaintiffs in this litigation
     4    arising from the September 11th attacks.
     5                    We're here today to take your
     6    testimony relating to issues relevant to that
     7    litigation pursuant to a court order.
     8                    You understand that you are
     9    under oath today?
    10            A.      Yes, I do understand.
    11            Q.      And you understand that the
    12    conduct of this testimony would be the same
    13    as though it's proceeding in a court of law
    14    before a judge, correct?
    15            A.      Yes.
    16            Q.      And you also understand that
    17    you're required to be truthful in all of your
    18    answers and forthcoming and to provide all
    19    information available to you that's
    20    responsive to my questions?
    21                    MR. CURRAN:     Objection.
    22            Overbroad.
    23                    You may answer.
    24                    THE WITNESS:      Yes, I do.
    25




   Golkow Litigation Services                                       Page 15
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 17 of 392
                                                   Confidentiality    Review

     1    QUESTIONS BY MR. CARTER:
     2            Q.      Mr. Al Rajhi, have you ever
     3    given testimony in a court proceeding before?
     4            A.      No, I didn't.      This is the
     5    first time.
     6            Q.      And have you ever given a
     7    deposition of any kind before?
     8            A.      No, I didn't.
     9            Q.      Just so that we proceed as
    10    efficiently as possible, I'm going to lay out
    11    a few ground rules for our conversation
    12    today.
    13                    The first is that the court
    14    reporter will be taking down your testimony
    15    for purposes of creating a transcript of our
    16    dialogue.     And it is difficult for her to
    17    maintain an accurate transcript if we're
    18    talking over one another.         So it is important
    19    for you to wait for me to complete my
    20    questions before you begin to answer, and I
    21    will try to do the same courtesy and wait
    22    until you've finished your answer before
    23    asking you another question.
    24                    Is that understandable?
    25            A.      Yes, it is understandable.



   Golkow Litigation Services                                       Page 16
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 18 of 392
                                                   Confidentiality    Review

     1            Q.      And the court reporter also
     2    cannot take down any gestures or nods of the
     3    head, so it's necessary for you to be sure to
     4    verbalize all of your answers.
     5                    Do you understand that?
     6            A.      Yes.
     7            Q.      And if at any point you need to
     8    take a break, that's absolutely fine.           You
     9    just need to let us know.
    10                    Okay?
    11            A.      Okay.    I understand.
    12            Q.      And I understand from the
    13    dialogue with counsel that you'll be
    14    attempting to testify in English today.
    15                    Do you regard yourself to be a
    16    fluent English speaker?
    17            A.      No, I cannot consider myself
    18    fluent, but I will do my best to say it in
    19    English.
    20            Q.      Do you at times carry out
    21    business activities in English, whether in
    22    writing or verbally, at meetings?
    23            A.      Yes, I do sometimes.        Yes.
    24            Q.      And do you have any formal
    25    English language education?



   Golkow Litigation Services                                       Page 17
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 19 of 392
                                                   Confidentiality    Review

     1            A.      I -- yes, I did some in the
     2    United States and in the UK.
     3            Q.      And where in the United States
     4    did you study English?
     5            A.      It was somewhere in
     6    Philadelphia.
     7            Q.      And where in Philadelphia?
     8            A.      In a Philadelphia university,
     9    Wharton School.      Philadelphia university.
    10            Q.      It's a wonderful city, and
    11    happens to be where I'm sitting right now.
    12            A.      It is.    Okay.
    13            Q.      So --
    14            A.      I spent -- a spent about four
    15    months there.
    16            Q.      Okay.    Have you spent any other
    17    time studying in the United States besides
    18    the four months in Philadelphia?
    19            A.      Well, I came many years
    20    after -- to Wharton School and did some
    21    management courses, two courses, in
    22    Philadelphia and with Wharton School.
    23            Q.      And that's at the University of
    24    Pennsylvania, correct?
    25            A.      Yes, it is.



   Golkow Litigation Services                                       Page 18
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 20 of 392
                                                   Confidentiality    Review

     1            Q.      We'll get into further details
     2    of your background in a minute.
     3                    Can you tell me, are you
     4    currently employed with Al Rajhi Bank?
     5            A.      I am now the chairman of the
     6    board.
     7            Q.      And in your role as chairman of
     8    the board of the bank at a very high level,
     9    what are -- what are your responsibilities?
    10            A.      My responsibility with the
    11    board that we supervise the bank's operation,
    12    policies, procedures, the total bank
    13    operation.
    14            Q.      And would you agree that it's
    15    the responsibility of the board to advance
    16    and protect the interests of the bank?
    17            A.      Yes.    Yes, that's also a
    18    responsibility.
    19            Q.      And aside from your role as
    20    chairman of the board, do you hold any
    21    positions currently at Al Rajhi Bank?
    22            A.      No, I am only the chairman of
    23    the board and -- and the board we have the
    24    five committees - executive committees, audit
    25    committee, risk committee, governance



   Golkow Litigation Services                                       Page 19
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 21 of 392
                                                   Confidentiality    Review

     1    committee, what you call it, nomination
     2    committee.     And I am only chairman of the
     3    board and chairman of the executive
     4    committee.
     5            Q.      And does your role as chairman
     6    of the board and chairman of the executive
     7    committee involve day-to-day work on behalf
     8    of the bank?
     9            A.      No, it's not the day-to-day
    10    work.    It's overall regular board.         So it's
    11    not day to day.
    12            Q.      Are you aware that the present
    13    lawsuit involves claims for billions of
    14    dollars in property damage and thousands of
    15    personal injuries related to the
    16    September 11th attacks?
    17            A.      Yes, I know this is the case.
    18            Q.      And are you also aware that the
    19    plaintiffs in this case are suing Al Rajhi
    20    Bank for those injuries and have alleged that
    21    the bank aided and abetted al-Qaeda and the
    22    attacks by, among other things, providing
    23    financial services to entities and persons
    24    associated with al-Qaeda?
    25            A.      Yes, I understand this is their



   Golkow Litigation Services                                       Page 20
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 22 of 392
                                                   Confidentiality    Review

     1    claim.
     2            Q.      And I take it that the bank
     3    views those charges as serious?
     4            A.      Yes, of course we are.        This is
     5    why I'm here today.       We take it very serious.
     6            Q.      Well, in fact, you're here
     7    today because the judge overseeing the case
     8    required you to be here.        The fact is that
     9    the bank objected to your appearance to
    10    testify, correct?
    11                    MR. CURRAN:     Objection as to
    12            form.
    13                    You may answer.
    14                    THE WITNESS:      Yes, I hear you,
    15            but as I said, you know, I know about
    16            the case and we are taking it serious.
    17    QUESTIONS BY MR. CARTER:
    18            Q.      And would you agree that an
    19    adverse outcome of this lawsuit against the
    20    bank could damage the bank financially?
    21            A.      Yes.    I mean, I understand the
    22    bank has -- have any allegation to the bank.
    23            Q.      And do you also agree that the
    24    development of derogatory bank -- derogatory
    25    information about the bank's relationships



   Golkow Litigation Services                                       Page 21
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 23 of 392
                                                   Confidentiality    Review

     1    with parties involved in supporting al-Qaeda
     2    could cause reputational harm to the bank?
     3                    MR. CURRAN:     Objection as to
     4            form.   Lack of foundation.
     5                    You may answer.
     6                    THE WITNESS:      So can you ask
     7            the question again?
     8    QUESTIONS BY MR. CARTER:
     9            Q.      Would you -- would you agree
    10    that litigation of this nature alleging that
    11    the bank was involved in aiding and abetting
    12    al-Qaeda has the potential to result in
    13    reputational harm to the bank?
    14            A.      Yes.    Yes, I do.
    15            Q.      And in your role as chairman of
    16    the board, you have an interest in protecting
    17    the bank's financial condition and its
    18    reputation, correct?
    19                    MR. CURRAN:     Objection as to
    20            form.
    21                    You may answer.
    22                    THE WITNESS:      Yes.
    23    QUESTIONS BY MR. CARTER:
    24            Q.      And Mr. Curran noted at the
    25    outset of the deposition that he was



   Golkow Litigation Services                                       Page 22
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 24 of 392
                                                   Confidentiality    Review

     1    provisionally designating the transcript of
     2    your testimony today as confidential.
     3                    Did you hear that exchange?
     4            A.      Yes, I hear it.
     5            Q.      And are you aware that at least
     6    during the discovery phase of the case, the
     7    designation of your testimony as confidential
     8    means that it would not be available to the
     9    public in relation to any court filings?
    10                    MR. CURRAN:     Objection as to
    11            form.
    12                    You may answer.
    13                    THE WITNESS:      Yes, I do.
    14    QUESTIONS BY MR. CARTER:
    15            Q.      And are you aware that Al Rajhi
    16    Bank has designated every document it has
    17    produced in this litigation as confidential?
    18                    MR. CURRAN:     Objection as to
    19            form.
    20                    You may answer.
    21                    THE WITNESS:      Yes.
    22    QUESTIONS BY MR. CARTER:
    23            Q.      And did the bank do that in
    24    part to ensure that that information would
    25    not be publicly available?



   Golkow Litigation Services                                       Page 23
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 25 of 392
                                                   Confidentiality    Review

     1                    MR. CURRAN:     Objection as to
     2            form.   Instruct the witness not to
     3            answer if it requires disclosing
     4            attorney-client communication.
     5                    But you may answer.
     6                    THE WITNESS:      Sorry, can you
     7            ask again, please?
     8    QUESTIONS BY MR. CARTER:
     9            Q.      Were you involved at all in the
    10    decision to designate all of the documents
    11    produced by Al Rajhi Bank in discovery as
    12    confidential?
    13            A.      No, I was not involved.
    14            Q.      And were you informed about
    15    that decision by people at Al Rajhi Bank?
    16            A.      Yes, I have been informed.
    17            Q.      And are you aware that the
    18    result of that designation is that at least
    19    during the discovery phase, it means that
    20    there is no public access to any of the
    21    information Al Rajhi Bank has produced?
    22            A.      Yes.
    23                    MR. CURRAN:     Objection.     Lack
    24            of foundation.
    25                    You can challenge those



   Golkow Litigation Services                                       Page 24
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 26 of 392
                                                   Confidentiality    Review

     1            designations, Mr. Carter.
     2                    The witness can answer.
     3                    THE WITNESS:      Yes, sir.
     4    QUESTIONS BY MR. CARTER:
     5            Q.      And at least thus far -- the
     6    result means that thus far the public has not
     7    had access to any evidence produced by Al
     8    Rajhi Bank that's been submitted to the
     9    court.
    10                    Are you aware of that?
    11            A.      Yes, I am aware.
    12            Q.      Am I correct that Al Rajhi Bank
    13    was founded by, among others, your father,
    14    Sulaiman Abdul Aziz Al Rajhi?
    15            A.      Yes.    There's three brothers.
    16            Q.      I am sorry, could you repeat
    17    that, Mr. Al Rajhi?
    18            A.      Yes.    He formed it with other
    19    his other three brothers.
    20            Q.      Which three brothers were
    21    involved in forming Al Rajhi Bank with
    22    Sulaiman al Rajhi?
    23            A.      It was Saleh Abdulaziz Al Rajhi
    24    and Abdullah Abdulaziz Al Rajhi and Mohammed
    25    Abdulaziz Al Rajhi.



   Golkow Litigation Services                                       Page 25
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 27 of 392
                                                   Confidentiality    Review

     1            Q.      And do you know whether those
     2    four brothers were also involved in forming a
     3    foundation to carry out charity work?
     4            A.      No, I didn't recall it, but
     5    could be in early '80s, maybe the '80s.            They
     6    were, you know, doing charity together, but I
     7    don't recall it.
     8            Q.      Are you aware that plaintiffs
     9    in this lawsuit have alleged that your father
    10    Sulaiman Abdul Aziz Al Rajhi had a long-time
    11    involvement in supporting extremists?
    12            A.      I understand this is their
    13    allegation.
    14            Q.      And as Sulaiman Abdul Aziz Al
    15    Rajhi's son, am I correct that you have an
    16    interest in defending his reputation?
    17                    MR. CURRAN:     Objection as to
    18            form.
    19                    You may answer.
    20                    THE WITNESS:      Yes.   Yes, I have
    21            an interest in protecting his
    22            reputation in the bank.
    23    QUESTIONS BY MR. CARTER:
    24            Q.      Just for a minute, can you give
    25    me a sketch of your educational background?



   Golkow Litigation Services                                       Page 26
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 28 of 392
                                                   Confidentiality    Review

     1            A.      Yes, sure.
     2                    I graduated from King Abdulaziz
     3    University in Jeddah, and my study was in
     4    business administration.        This goes to 1979.
     5                    And so this is the -- and after
     6    that I have done some management training.             I
     7    mentioned before, you know, the two I had in
     8    the Wharton School in Philadelphia, also
     9    there was others, respected schools in UK and
    10    Switzerland.
    11            Q.      You mentioned a 1979 date for
    12    your study at King Abdulaziz University.
    13                    Is that the year you graduated?
    14            A.      This is the year I graduated,
    15    yes.
    16            Q.      And do you recall the time
    17    frame of your study at Wharton School in
    18    Pennsylvania?
    19            A.      No, I don't, but this -- I
    20    would assume it was -- could be early '90s.
    21            Q.      And did you receive any degrees
    22    as a result of your studies at Wharton?
    23            A.      No, no, it was courses.        I had
    24    some certificate courses.         And also, just to
    25    make sure that I did not miss some things



   Golkow Litigation Services                                        Page 27
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 29 of 392
                                                   Confidentiality    Review

     1    about my education.       Also I had -- actually
     2    this was very useful training for me with
     3    Citibank in Greece, we had also ten weeks
     4    training.     That was early '80s.       It was a --
     5            Q.      What was the focus of training
     6    at Citibank for those ten weeks?
     7            A.      It was banking, all banking.
     8    It's about operation, credit, IT.           At that
     9    time IT was transforming and was an important
    10    subject.     It was a -- tens of weeks, and
    11    actually this was one of the best courses I
    12    has attended.
    13            Q.      And that was in the 1980s?
    14            A.      That's what I would expect,
    15    yeah.    Maybe '82 or '80 -- yeah, and then --
    16    in the early '80s.       I'm not sure about which
    17    year was it.
    18            Q.      All right.     You mentioned as
    19    well some studies in the UK and Switzerland.
    20                    Do you remember what schools
    21    those were at and the time frame?
    22            A.      The time frame, no, I don't
    23    remember because -- but all before 2000, but
    24    I don't remember, you know, which years.
    25                    And Switzerland was IMD, very



   Golkow Litigation Services                                       Page 28
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 30 of 392
                                                   Confidentiality    Review

     1    respected university, having, you know,
     2    training courses.
     3                    I don't now remember the one in
     4    the UK, but, again, it's a -- it's a
     5    respected university there, well-known for
     6    good training programs.
     7            Q.      And what were the -- what was
     8    the focus of the training at IMD in
     9    Switzerland?
    10            A.      It was about strategy, you
    11    know, business strategy, forming business
    12    strategy.     And of course discussing -- it
    13    was, you know, a lot of sharing experience
    14    with other executive and how -- you know, how
    15    their experience and how the different
    16    strategy they have formed and the challenge.
    17                    So it was very useful, you
    18    know, to share information about -- about,
    19    you know, how you form.        And at that time
    20    also for me it was very important, which is
    21    help deciding about Al Rajhi Bank, how we set
    22    up our strategy and moving, you know, with --
    23    with the change in -- the banking industry
    24    was changing at that time.
    25            Q.      And with regard to the studies



   Golkow Litigation Services                                       Page 29
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 31 of 392
                                                   Confidentiality    Review

     1    in the UK, I know you said you don't remember
     2    the institution where you studied, but do you
     3    recall the nature of the coursework?
     4            A.      Yeah, it was, again, about
     5    marketing, different subject, marketing,
     6    convincing, you know, your staff, you know,
     7    it's about people, managing your people,
     8    supervising, you know, your people.           So it's
     9    different -- it's all about management.
    10                    And again, it's the same thing
    11    at the -- it's really you're there for what
    12    you've been -- the cases you show they're
    13    risky but also you get a lot from sharing
    14    your experience with the others about, you
    15    know, what they are -- you know, what they
    16    are doing and that's also, you know, many
    17    cases could be as useful as also what you
    18    learn from the cases you go for -- with the
    19    professors.
    20            Q.      And based on your background in
    21    banking, are you familiar with the term
    22    "anti-money laundering"?
    23            A.      Yes, I'm familiar with it.
    24            Q.      And sometimes the acronym AML
    25    is used to refer to anti-money laundering.



   Golkow Litigation Services                                       Page 30
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 32 of 392
                                                   Confidentiality    Review

     1                    Are you familiar with that?
     2            A.      Yes.
     3            Q.      And are you familiar with the
     4    concept of counterterrorism financing?
     5            A.      Yes, I am.
     6            Q.      And in some cases I've seen the
     7    acronym CTF used to refer to counterterrorism
     8    financing.
     9                    Are you familiar with that
    10    usage?
    11            A.      CTF, in our system, the bank
    12    system?
    13            Q.      No, I'm asking generally if the
    14    acronym CTF is familiar to you as a way to
    15    refer to counterterrorism financing?
    16            A.      No, not -- not -- not
    17    specifically, but -- about this CTF.
    18            Q.      Do you have any formal training
    19    in anti-money laundering or counterterrorism
    20    financing?
    21                    MR. CURRAN:     Objection.     Vague.
    22                    You may answer.
    23                    THE WITNESS:      Yeah, we -- not
    24            the training, by going to training
    25            school, but we make sure from that



   Golkow Litigation Services                                       Page 31
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 33 of 392
                                                   Confidentiality    Review

     1            time, and even today, that in the
     2            board we bring a third party to
     3            present to the board what the board
     4            should know about the support or
     5            this -- or money laundering.         And so
     6            we did this in training from time to
     7            time.    Most likely, third party comes
     8            in and give a training for the whole
     9            board.
    10    QUESTIONS BY MR. CARTER:
    11            Q.       And in your work with Al Rajhi
    12    Bank, have you ever had any responsibility
    13    for the bank's anti-money laundering
    14    activities?
    15            A.       No, I was -- you know, I was
    16    indirectly responsible, but not direct
    17    responsibility.
    18            Q.       When you say "indirectly
    19    responsible," what do you mean?
    20            A.       I mean, for example, today and
    21    that was -- you know, almost what I recall
    22    from all of that time before.          As a general
    23    manager when there was a general manager or
    24    when I was also CEO of the bank, and even now
    25    as I sit on the board, you will have, for



   Golkow Litigation Services                                       Page 32
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 34 of 392
                                                   Confidentiality    Review

     1    example -- maybe it's easier like today I
     2    explain.
     3                    Today, you know, we have a
     4    board member of 11 people and, you know, we
     5    have -- actually, when I say 11, four or five
     6    of these board members are independent.
     7    Because, you know, we as a bank, we're not
     8    only following our company law, but also
     9    we under -- we are under two supervision.            As
    10    a listed company, we are under Capital Market
    11    Authority supervision, and as a bank under
    12    the Central Bank's supervision.
    13                    And then we have -- then we
    14    have to make sure that we comply with all
    15    these regulatory requirements.
    16                    So we are -- always have four
    17    to five of the board members are independent
    18    board members.      And we have number of
    19    committees.     I think I mentioned before we
    20    have about five committees.         And now under
    21    the board, we have the audit committee and
    22    that audit committee oversee the -- oversee
    23    the governance -- the head of governance,
    24    which is a senior executive position in the
    25    bank.



   Golkow Litigation Services                                       Page 33
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 35 of 392
                                                   Confidentiality    Review

     1            Q.      And, Mr. Al Rajhi, what you
     2    just described in terms of the structure of
     3    the bank and its committees and oversight and
     4    the auditing function relates to the current
     5    status of the bank, correct?
     6            A.      Yes, this is -- now, well, no,
     7    this was from the beginning, but now I am the
     8    chairman.     At the time I was not on the
     9    board, so I was -- but -- but this is, you
    10    know -- having independent board members and
    11    having these committees -- okay, maybe today
    12    we have one more committee.         For example, you
    13    know, we have, I think, a long time also an
    14    interview committee, which, again, it's not
    15    required by both regulator, but I think as a
    16    bank a good practice because we are --
    17    actually from time to time we hire
    18    third-party class consultant to help us in
    19    making sure that we did the right governance,
    20    we do the right analysis.         And I remember on
    21    one of -- one of the consultant's
    22    recommendation as a business practice, even
    23    it's not being required by both regulator to
    24    have what you call it governance committee.
    25    At this governance committee, it's not the



   Golkow Litigation Services                                       Page 34
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 36 of 392
                                                   Confidentiality    Review

     1    usual governance committee you see to the --
     2    but actually this -- it is from the board.
     3    So board member, the board member sitting --
     4    sitting this and their job to make sure that
     5    the company is the doing the compliance.
     6                    But going back to your
     7    question, the audit committee and supervising
     8    the governance, it was always the case.
     9            Q.      Okay.    And one additional
    10    ground rule for today, Mr. Al Rajhi, that I
    11    neglected.     We have a limited amount of time,
    12    and so it would be helpful if you try to
    13    focus your answers to the particular question
    14    I ask, and I appreciate the interest in being
    15    helpful where you can, but we want to use our
    16    time as efficiently as possible.
    17                    Is that okay?
    18                    MR. CURRAN:     Mr. -- no,
    19            Mr. Carter, you instructed him to be
    20            forthcoming fully.      I remember
    21            specifically your instruction to the
    22            witness.    He's trying to be
    23            cooperative with you.
    24                    So, please, settle --
    25                    MR. CARTER:     I acknowledged his



   Golkow Litigation Services                                       Page 35
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 37 of 392
                                                   Confidentiality    Review

     1            effort, Chris, to be forthcoming, and
     2            I just asked him to focus a little bit
     3            more closely on the particular
     4            question I had asked.       So --
     5                    THE WITNESS:      No, but,
     6            Mr. Carter, actually, you know, I
     7            wanted -- because you asked me if this
     8            is the case today, I just wanted to
     9            explain, you know, that's -- you know,
    10            that was the purpose of --
    11    QUESTIONS BY MR. CARTER:
    12            Q.      Okay.
    13            A.      I thought this was the
    14    question.
    15            Q.      During the period of 1998
    16    through 2002, were you employed with the
    17    bank?
    18            A.      Yes, I was.
    19            Q.      And was there -- were there
    20    people at the bank who were responsible for
    21    day-to-day compliance with the bank's
    22    anti-money laundering obligations?
    23            A.      Yes, there was people.        Yes.
    24    Sure.
    25            Q.      Do you recall how many people



   Golkow Litigation Services                                       Page 36
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 38 of 392
                                                   Confidentiality    Review

     1    worked in that function in 1998 to 2002 time
     2    period?
     3            A.      Oh, no.     This is, oh, what,
     4    maybe more than 20 -- no, I don't remember
     5    the number today.
     6            Q.      And during the -- during the
     7    1998 to 2002 time period, what positions did
     8    you hold with the bank?
     9            A.      I was from -- from '90 -- from
    10    '90 -- 1996, I was the general -- I mean, at
    11    this period I was the general manager.
    12            Q.      And what is the function of the
    13    general manager?
    14            A.      The general manager was --
    15    oversee day to day the operation of the bank,
    16    and I used to report to the managing
    17    director.     And of course to the board.
    18            Q.      Who was the managing director
    19    during that time period?
    20            A.      At that time my father was the
    21    managing director.
    22            Q.      And so you were -- you reported
    23    directly to your father, Sulaiman bin
    24    Abdulaziz Al Rajhi during that period?
    25            A.      Yes, right.



   Golkow Litigation Services                                       Page 37
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 39 of 392
                                                   Confidentiality    Review

     1            Q.      And you reported as well to the
     2    board during that time period?
     3            A.      I was also board member, so
     4    attending the board's meetings.
     5            Q.      Did you report to anyone else?
     6            A.      No.
     7            Q.      And as general manager, were
     8    you responsible for the overall oversight of
     9    day-to-day activities of the entire bank?
    10            A.      Yes, the board over -- you
    11    know, the board is the ultimate -- oversee
    12    the whole bank, but in day to day, I was
    13    managing the bank.
    14            Q.      And --
    15            A.      Of course -- sorry.
    16            Q.      Sorry.
    17                    In that function, did the
    18    people who were responsible for the bank's
    19    anti-money laundering compliance report to
    20    you?
    21                    MR. CURRAN:     Objection.     Vague.
    22                    You may answer.
    23                    THE WITNESS:      So what was the
    24            question?
    25




   Golkow Litigation Services                                       Page 38
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 40 of 392
                                                   Confidentiality    Review

     1    QUESTIONS BY MR. CARTER:
     2            Q.      In that time period, given your
     3    role as general manager, did the people who
     4    were responsible for the bank's anti-money
     5    laundering compliance report to you?
     6            A.      Yes, they could report -- they
     7    have -- again, I can't recall, you know,
     8    exactly how it -- you know, how it worked
     9    year by year, but most likely, they have
    10    the -- you know, they report to the audit
    11    committee and to me.
    12            Q.      And so there was an audit
    13    committee in place during the 1998 to 2002
    14    time period?
    15            A.      Yes, sure.     From the beginning
    16    of the bank was always audit committee.
    17            Q.      And was the audit committee
    18    responsible for the bank's anti-money
    19    laundering compliance?
    20            A.      Well, the audit committee is
    21    responsible for the compliance of the bank
    22    and oversee the -- the -- you know, how --
    23    they oversee the total compliance.           And by --
    24    and also I need to clarify, you know, the
    25    audit committee in the bank, we always have



   Golkow Litigation Services                                       Page 39
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 41 of 392
                                                   Confidentiality    Review

     1    five -- when I say always, this is what I
     2    remember for many, many years, and I cannot
     3    confirm, but I think my understanding was
     4    always like this.
     5                    And it has five -- who from the
     6    audit committee are board members and the
     7    three are independent.        So, again, here
     8    based on that, you know, the majority of the
     9    audit committee are independent audit
    10    committee members.
    11            Q.      When did you first join Al
    12    Rajhi Bank as an employee?
    13            A.      As -- when I graduated.        I
    14    mentioned '79 when I graduate, I started
    15    working.
    16                    At that time of course it was
    17    not the bank.      It was the family money
    18    exchange company before.        So I -- I joined,
    19    which is later, you know, became the bank,
    20    coming in the bank.
    21                    So '79 to answer the question.
    22            Q.      And when did the family money
    23    exchange company transform into the bank?
    24            A.      In 19 -- the dates, it was --
    25    it was in 1988.



   Golkow Litigation Services                                       Page 40
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 42 of 392
                                                   Confidentiality    Review

     1            Q.      And when the bank was first
     2    formed in 1988, was it a publicly listed
     3    entity?
     4            A.      Yes, it was, from the
     5    beginning, yes, from 1988.
     6            Q.      And before that, was it a
     7    family-held entity?
     8            A.      It was -- yes, it was owned by
     9    the four brothers.
    10            Q.      And when the bank was formed in
    11    1988, were the four brothers the largest
    12    shareholders?
    13            A.      They were -- no, before --
    14    before -- before 1988, the four brothers,
    15    they were all on the bank board, on the
    16    company board, exchange company board.
    17                    And if I'm not mistaken, again,
    18    I cannot be specific here because things
    19    changed, but -- but two of them -- at least
    20    one of them, my father, was also the general
    21    manager of -- of the exchange company.
    22                    And if I'm not mistaken, one of
    23    his other brothers also -- I know he was
    24    there, but I cannot say for sure for the
    25    whole period, he was also working in the bank



   Golkow Litigation Services                                       Page 41
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 43 of 392
                                                   Confidentiality    Review

     1    taking some other responsibility of our
     2    construction projects and other things.
     3            Q.      Which brother was that?
     4            A.      Mohammed.
     5            Q.      And what about the two other
     6    brothers you mentioned?
     7                    I think you said Saleh was
     8    involved in the formation of the bank.            Did
     9    he have any role with the bank after 1988?
    10            A.      After 1988, yes, he was -- he
    11    was actually the chairman when it was
    12    exchange company, and he was the chairman
    13    after -- you know, when the company started
    14    first.    When the bank -- sorry, when '88 the
    15    bank started.      So he was the chairman.
    16            Q.      And do you recall how long he
    17    continued to be involved with the bank?
    18            A.      He was the chairman of the bank
    19    until my father became chairman, which is, I
    20    think -- I think it was -- I'm not sure.
    21    Maybe -- maybe end of '90s.
    22                    But he was -- he was the
    23    chairman until my father became the chairman,
    24    which is, I think, maybe -- maybe until the
    25    end of '90s maybe or -- early, early 2000.              I



   Golkow Litigation Services                                         Page 42
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 44 of 392
                                                   Confidentiality    Review

     1    can't really remember the date.
     2            Q.      And how long did your father
     3    serve as chairman of the bank?
     4            A.      He chair -- he was the chairman
     5    until 2014, which is, I think maybe about --
     6    yeah, now, maybe -- maybe now I can be more
     7    correct because I know that about 15 years.
     8                    So I would expect, again, I
     9    didn't want to confirm -- the dates anyhow is
    10    available on the website of the bank, if I'm
    11    not mistaken, at least years before when my
    12    father was the chairman.
    13                    But I think maybe -- maybe '99,
    14    '99 he started.      Because he left 2000 -- he
    15    left as a chairman 2014, and I know when he
    16    left, he served about 15 years.          So it must
    17    be -- it must be 1999 started.
    18            Q.      And has your father Sulaiman
    19    Abdul Aziz Al Rajhi had any role with the
    20    bank since stepping away as chairman in 2014?
    21            A.      No, he doesn't have any role in
    22    the bank.
    23            Q.      And from the time you joined
    24    the bank in 1979, can you tell me what
    25    positions you've held between then and now?



   Golkow Litigation Services                                       Page 43
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 45 of 392
                                                   Confidentiality    Review

     1            A.      Yes.    Yeah, of course I can.
     2                    I started for few -- for some
     3    time working in the branches.          Just work in
     4    the branches.
     5                    And then I've been -- worked in
     6    the finance department as finance -- you
     7    know, in the finance department for some
     8    time.
     9                    Then I became responsible for
    10    the whole finance reporting to my father who
    11    was at that time the general manager of the
    12    bank.
    13                    And then I been moved to work
    14    and be managing the -- the investment -- I
    15    mean, the international corresponding
    16    relationship of the bank and the treasury of
    17    the bank.     That's the time when they had my
    18    training with the -- and actually while --
    19    this was position for me when I worked after
    20    Citibank training.
    21                    And then after there was a
    22    position called deputy first manager, which
    23    mean working under my father like, you
    24    know -- because my father there was -- you
    25    know, number of deputies reporting to him.



   Golkow Litigation Services                                       Page 44
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 46 of 392
                                                   Confidentiality    Review

     1    So the first deputy was, you know, supposed
     2    to be more senior from the other deputy until
     3    I became the general manager of the bank in
     4    '96.
     5            Q.      And you served as general
     6    manager of the bank from '96 until when?
     7            A.      I was from '96, I started, and
     8    then 2000 -- I think 2004, after eight years,
     9    I became almost -- you know, same position,
    10    but this is called the CEO.         There was a
    11    new -- so became CEO of the bank.           So this
    12    is -- was 2004.
    13            Q.      And so the general manager and
    14    CEO roles were essentially the same in terms
    15    of the functions and responsibilities?
    16            A.      Yes.    Yes, you're right.
    17            Q.      During the period 1998 to 2002,
    18    do you have a rough sense of the number of
    19    employees who were working at Al Rajhi Bank?
    20            A.      No, I can't remember the number
    21    of employees, but there are thousands, but I
    22    can't remember.
    23            Q.      And during that time period, do
    24    you recall approximately how many branches
    25    the bank maintained?



   Golkow Litigation Services                                       Page 45
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 47 of 392
                                                   Confidentiality    Review

     1            A.      Yeah, there -- there are more
     2    than 400 branches.
     3            Q.      And do you have a sense during
     4    that time period approximately how many
     5    banking customers the bank had?
     6            A.      No, I don't remember, but the
     7    millions.     Of course today we have -- we have
     8    more than 20 million customers, maybe 21, 22,
     9    today.    I don't have the number at that time,
    10    but it's millions.
    11            Q.      But during that time, in your
    12    role as general manager, you would have had
    13    responsibility for overseeing all of those
    14    thousands of employees and the 400 branches
    15    on a day-to-day basis, ultimate authority?
    16            A.      Yes, ultimate authority, you
    17    are right.
    18            Q.      So it was a senior position,
    19    correct?
    20            A.      It is, yes.
    21            Q.      And you reported only to your
    22    father, who was the chairman, and to the
    23    board, correct?
    24            A.      Yeah, of course.       Again, to my
    25    father and the board, because, you know,



   Golkow Litigation Services                                       Page 46
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 48 of 392
                                                   Confidentiality    Review

     1    the board -- you know, the board is the
     2    ultimate boss.
     3            Q.      During the 1998 to 2000 time
     4    period, were you familiar with the -- any of
     5    the particular anti-money laundering
     6    protocols that were in place at the bank?
     7                    MR. CURRAN:     Mr. Carter, you're
     8            limiting that to '98 to 2000?         I don't
     9            think he said 2002.
    10    QUESTIONS BY MR. CARTER:
    11            Q.      I'm sorry, I meant to say '98
    12    to 2002.
    13            A.      Yes, what's the question?         Did
    14    we --
    15            Q.      Were you familiar at that time
    16    with any of the particular requirements of
    17    the bank's anti-money laundering protocols?
    18            A.      No, not particular for the
    19    bank.    It's for the -- and that's only, you
    20    know, the new regulation comes and the laws
    21    are evolved for the whole industry, for the
    22    whole banks, and in many cases the global
    23    standards.
    24            Q.      Do you recall whether the bank
    25    had any written instruments in place in the



   Golkow Litigation Services                                       Page 47
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 49 of 392
                                                   Confidentiality    Review

     1    1998 to 2002 time period that set forth its
     2    anti-money laundering protocols and
     3    requirements?
     4            A.      Yes, that is -- there is a
     5    policy and the procedures about this.
     6            Q.      And we previously deposed a
     7    bank employee named James Galloway who was
     8    designated to speak on behalf of the bank.
     9                    Are you aware of that?
    10            A.      I am aware you are, yes, you
    11    have done this.
    12            Q.      And, in fact, I understand that
    13    Mr. Galloway spent a few hours speaking with
    14    you in advance of his deposition.
    15                    Is that correct?
    16            A.      Yes, this was correct.
    17            Q.      During his deposition,
    18    Mr. Galloway referenced two written
    19    instruments that set forth the bank's
    20    anti-money laundering protocols and
    21    regulations during that time period.           One was
    22    a 1997 manual, branch manual, and the other
    23    was a 1990 update to that manual.
    24                    Are you familiar with those
    25    documents?



   Golkow Litigation Services                                       Page 48
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 50 of 392
                                                   Confidentiality    Review

     1            A.      Well, no.     You know, I don't
     2    recall the details of it, but I know there's
     3    something available.        I didn't recall exactly
     4    the dates on these.
     5            Q.      And sitting here today, are you
     6    familiar with any of the particular
     7    requirements of either the 1997 manual or the
     8    1998 update?
     9            A.      The question, do I -- am
    10    familiar with it, or do I know if this exist?
    11            Q.      No.    Are you familiar with any
    12    of the specific requirements that were set
    13    forth in those documents relating to
    14    anti-money laundering procedures?
    15            A.      No, I would not remember
    16    specific requirements at this time, you know,
    17    for more than 20 years, but --
    18            Q.      But do you know whether -- but
    19    do you know whether you're familiar with the
    20    specific requirements of those documents
    21    during the time that they were the governing
    22    documents between 1998 and 2002?
    23            A.      Yes.    Yeah.
    24            Q.      You believe that you were
    25    familiar with the particular requirements of



   Golkow Litigation Services                                       Page 49
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 51 of 392
                                                   Confidentiality    Review

     1    those instruments?
     2            A.      Yes.    Yeah, we are -- made sure
     3    to keep all the documents for that time.
     4            Q.      I'm sorry, Mr. Al Rajhi, I'm
     5    not being clear and trying to ask a different
     6    question.
     7                    In your role as general manager
     8    between 1998 and 2002, do you recall whether
     9    you were yourself familiar with the specific
    10    requirements set forth in the 1997 manual and
    11    the 1998 update?
    12            A.      No specific -- you know, no, I
    13    didn't -- I would not remember now what other
    14    specific things at that time.
    15            Q.      Do you know whether or not you
    16    were familiar with the specific requirements
    17    during that time?
    18            A.      Specific for what?
    19            Q.      Do you recall whether you were
    20    familiar during the 1998 to 2002 time period
    21    with the specific requirements Al Rajhi Bank
    22    had in place to ensure anti-money laundering
    23    compliance?
    24            A.      Yes.    Yes.   I'm familiar that
    25    the bank had all these policies and



   Golkow Litigation Services                                       Page 50
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 52 of 392
                                                   Confidentiality    Review

     1    procedures, but if you ask me what are these,
     2    I don't recall it.
     3            Q.      Okay.    And again, I'm just
     4    trying to clarify.       I understand that now you
     5    don't recall, but when you were working as
     6    general manager in 1998 to 2002, if I had
     7    asked you questions about the manual then,
     8    would you have been familiar with the
     9    specific requirements --
    10            A.      Yes.
    11            Q.      -- set forth?
    12            A.      Yes, I would be familiar with
    13    it.
    14            Q.      And, again, do the people who
    15    are responsible for implementing those
    16    procedures report to you?
    17            A.      As I said, could be report
    18    directly, depends, you know, on what
    19    function.
    20            Q.      Do you recall whether during
    21    that 1998 to 2002 time period you received
    22    any regular reports relating to the bank's
    23    anti-money laundering activities?
    24            A.      Report about that the bank was
    25    having any -- any -- any money laundering



   Golkow Litigation Services                                       Page 51
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 53 of 392
                                                   Confidentiality    Review

     1    activity?     Is this the question?
     2            Q.      No, I'm asking whether the
     3    people who were responsible for implementing
     4    the anti-money laundering protocols provided
     5    regular reports to you on their conduct and
     6    activities as general manager?
     7            A.      Yeah.    Yeah.    No, yes, yeah,
     8    they do report, not only to me, but also to
     9    the audit committee and to the board.
    10                    So they are -- they are
    11    required to, you know, to make report on a
    12    regular basis, you know.         Again, based -- you
    13    know, for -- for the -- for higher authority
    14    actually from me as the general manager,
    15    which is the audit committee and then the
    16    board.
    17            Q.      Do you recall how frequently
    18    they were required to provide reports on
    19    their activities during that time period?
    20            A.      No, I don't remember that time.
    21    And also, again, this is -- we're talking
    22    about a lot of things evolved and some
    23    requirement change, but -- but today, if you
    24    ask me now in the last, you know, 10 years,
    25    15 years maybe, they update us every board



   Golkow Litigation Services                                       Page 52
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 54 of 392
                                                   Confidentiality    Review

     1    meeting.     Every board meeting we get update.
     2                    Now, going back to that time, I
     3    can't remember, you know, how they do it or
     4    how often or what -- or what -- you know,
     5    what was the specific things in their
     6    reporting.
     7            Q.      Do you recall during that 1998
     8    to 2002 time period whether you had any
     9    regular meetings with the personnel
    10    responsible for implementing the bank's
    11    anti-money laundering protocols?
    12            A.      Yes.    Yeah.   I would -- I
    13    would -- we would have a meeting when it is
    14    needed.
    15            Q.      And what would trigger the need
    16    for a meeting during that time period?
    17            A.      I don't remember.       I don't
    18    know.    It could be -- it could be update on
    19    something.     It could be a new policy or, you
    20    know -- it's just like -- like managing, of
    21    course, you know, compliance was always very
    22    important, so if they want to have a meeting
    23    where they want to see for something,
    24    normally you would -- you know, we will -- we
    25    will have time to -- to discuss with them.



   Golkow Litigation Services                                       Page 53
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 55 of 392
                                                   Confidentiality    Review

     1            Q.      And do you recall whether
     2    during that time period the personnel
     3    responsible for the bank's anti-money
     4    laundering protocol implementation provided
     5    yearly reports on their activities?
     6            A.      I don't -- we do now.        I know
     7    we do it for many, many years, but I cannot
     8    recall whether -- I can't confirm whether --
     9    whether this was from the beginning or not.
    10                    Because, you know, Mr. Carter,
    11    it's -- you know, governance requirement over
    12    the years has changed a lot.         I mean, not
    13    only with our bank or with the Saudi, but to
    14    globally.     So maybe something which is now we
    15    see it, you know, normal maybe -- maybe at
    16    that time was, you know, something -- was
    17    not -- but I know that whatever the
    18    requirements from our Central Bank, we do it.
    19    You know, we do it.       Whatever the
    20    requirements from our CMA authority, Capital
    21    Marketing Authority, about this, we apply.
    22    We always apply, you know, the regulation,
    23    and the governance at the time that we are,
    24    you know -- that these are available.
    25                    But training is difficult to



   Golkow Litigation Services                                       Page 54
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 56 of 392
                                                   Confidentiality    Review

     1    remember, you know, that one that year was
     2    there, was not here, which is -- you asked me
     3    a very specific question about specific
     4    things in a year.       Many years I cannot, but I
     5    can assure, I can confirm, that we are
     6    always, you know, making sure that all these
     7    requirements are -- are being applied and
     8    practiced in the bank.
     9            Q.      Mr. Al Rajhi, we've received
    10    copies of the 1997 branch manual and the 1998
    11    update to that manual.
    12                    Do you recall whether there
    13    were any further developments in Al Rajhi
    14    Bank's anti-money laundering protocols
    15    between the issuance of the 1998 update and
    16    2021?
    17            A.      Between '90 and 2001?        Any
    18    update?
    19            Q.      Any update --
    20            A.      No, I can't recall it.        No, I
    21    will not recall it now.
    22            Q.      And do you recall whether there
    23    was -- whether Al Rajhi Bank established any
    24    new units during the 1998 to 2001 time period
    25    to carry out the anti-money laundering



   Golkow Litigation Services                                       Page 55
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 57 of 392
                                                   Confidentiality    Review

     1    functions?
     2            A.      Well, again, I cannot recall
     3    that, but if that was required by our Central
     4    Bank, we would have done it.         If a new
     5    requirement came, we would have done it.
     6            Q.      And are you aware of any
     7    written instructions or instruments that were
     8    created between 1998 and 2001 other than the
     9    1997 branch manual and the 1998 update?
    10            A.      No, I cannot recall it.
    11            Q.      Okay.    As a -- as a general
    12    matter, do you recall whether the anti-money
    13    laundering protocols in place at the bank
    14    during the 1998 to 2002 time period included
    15    requirements for onboarding clients?
    16            A.      For onboarding of clients, any
    17    requirements?      Yes, there would be always
    18    requirements.
    19            Q.      And would there be requirements
    20    during that time period for opening a new
    21    account?
    22            A.      Yes, I would -- I would -- I
    23    will -- as far as I remember, yes, there's
    24    always doing -- there is requirements.
    25            Q.      And are you familiar with the



   Golkow Litigation Services                                       Page 56
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 58 of 392
                                                   Confidentiality    Review

     1    concept of know your customer?
     2            A.      Yes, I am familiar.
     3            Q.      And do you know whether Al
     4    Rajhi Bank's manuals included know your
     5    customer protocols during the 1998 to 2002
     6    time period?
     7            A.      Yes.
     8            Q.      They --
     9            A.      Yeah.    Yeah, I think -- sorry.
    10            Q.      Do you recall whether Al Rajhi
    11    Bank had in place protocols for reporting
    12    suspicious transactions during the 1998 to
    13    2002 time period?
    14            A.      Yes.    The bank would report any
    15    suspicious transaction we had, and there
    16    would be -- there would be procedures for
    17    this.
    18            Q.      And as far as you can recall,
    19    those would be reflected in the 1997 branch
    20    manual and the 1998 update, correct?
    21                    MR. CURRAN:     Objection as to
    22            form.
    23                    You may answer.
    24                    THE WITNESS:      Is that question,
    25            has it been updated during this time



   Golkow Litigation Services                                       Page 57
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 59 of 392
                                                   Confidentiality    Review

     1            period or does it apply during this
     2            period?
     3    QUESTIONS BY MR. CARTER:
     4            Q.      I'm just asking whether or not
     5    you know whether the bank's onboarding
     6    requirements and their customer requirements,
     7    suspicious activity reporting requirements
     8    were embodied in the 1997 manual and the 1998
     9    update?
    10            A.      Yes.
    11            Q.      And you're not aware of any
    12    other documents relating to those issues from
    13    the 1998 to 2002 time period?
    14                    MR. CURRAN:     Objection.
    15            Overbroad.
    16                    You may answer.
    17                    THE WITNESS:      No, I'm not aware
    18            of any other ones.
    19    QUESTIONS BY MR. CARTER:
    20            Q.      Mr. Galloway testified that
    21    during the 1998 to 2002 time period there was
    22    a protocol for branch audits.
    23                    Do you know what he was
    24    referring to?
    25            A.      No, there is -- there would be



   Golkow Litigation Services                                       Page 58
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 60 of 392
                                                   Confidentiality    Review

     1    always -- I don't know what -- what he's
     2    referring to, but the -- but there's always
     3    will be a branch audit, yes.         There's a
     4    protocol for branch audit.         Part of the audit
     5    work we go on to auditing the branches and
     6    they have a, you know, protocol how they do
     7    that audit.
     8            Q.      And you recall what types of
     9    issues the branch audit looked at during the
    10    1998 to 2002 time period?
    11            A.      You know, these things does not
    12    come to me as a general manager, but of
    13    course, you know, normally the way that the
    14    audit works, you know, to start -- because
    15    this is -- you know, the way it works in many
    16    cases is being done by -- led by the audit
    17    committee.
    18                    So it's a start with the audit
    19    committee, which is, as I said, you know,
    20    five members, three are independent.           Their
    21    responsibility first to do what we call a
    22    risk assessment, and in many cases they use a
    23    third party to help them.
    24                    And based on the risk
    25    assessment, they put audit down and they give



   Golkow Litigation Services                                       Page 59
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 61 of 392
                                                   Confidentiality    Review

     1    more forecast in certain areas or in certain
     2    subject based on the risk assessment.
     3                    So I wouldn't be surprised
     4    during that time the audit committee, you
     5    know, focusing more because of the -- there
     6    become more importance about money laundry --
     7    having combat money laundry.
     8                    But I will not know as a
     9    general manager of the bank or even today at
    10    that time, you know, if any change has taken
    11    place during that time or not.
    12            Q.      Do you know during that time
    13    whether the branch audits would have included
    14    review of randomly selected accounts at the
    15    bank to assess any potential money laundering
    16    problems?
    17            A.      I would -- I would assume yes,
    18    but I cannot -- you know, this is, again --
    19    it's more about the audit and the audit
    20    committee and the plan approved by the audit
    21    committee.
    22            Q.      Do you recall during that time
    23    period receiving any reports on audits that
    24    had identified problems with a particular
    25    account?



   Golkow Litigation Services                                       Page 60
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 62 of 392
                                                   Confidentiality    Review

     1            A.      No, you know, again, the audit
     2    committee, I can't recall now any specific
     3    account, but it's -- it's normal, you know,
     4    when -- when an audit being made that they
     5    find some -- some -- note some observation or
     6    something is not being implemented as the
     7    policy.      That's not unusual for audit to
     8    identify.
     9                    And normally the way it works
    10    with an audit, you know, do this, they --
    11    they summarize it and they make the words to
    12    the audit committee.        And from the audit
    13    committee comes to the board and normally has
    14    not only -- you know, has the issue and the
    15    correction and the date to be corrected, and
    16    they would monitor these things until they
    17    are corrected.
    18                    But I cannot remember, you
    19    know, now any specific case here or there.
    20            Q.      Mr. Galloway also testified
    21    that during the 1998 to 2002 time period,
    22    there was also something known as a thematic
    23    audit.
    24                    Do you know what that is?
    25            A.      So what was the word?



   Golkow Litigation Services                                       Page 61
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 63 of 392
                                                   Confidentiality    Review

     1            Q.       He referred to it as a
     2    thematic, thematic audit.
     3            A.       No, I don't know what is -- in
     4    English, I don't understand thematic audit.
     5            Q.       You're aware that discovery in
     6    this litigation has focused significantly on
     7    the bank's relationships with the Al-Haramain
     8    Islamic Foundation and the International
     9    Islamic Relief Organization, correct?
    10            A.       Yes.
    11                     MR. CURRAN:    Please answer yes
    12            or no.
    13                     THE WITNESS:     Yes.
    14    QUESTIONS BY MR. CARTER:
    15            Q.       And are you aware that
    16    discovery has also been conducted concerning
    17    Al Rajhi Bank's relationships with officials
    18    of those organizations, including in the case
    19    of Al-Haramain, an individual named Aqeel
    20    Al-Aqil and another individual named Soliman
    21    Al-Buthe?
    22                     MR. CURRAN:    Objection.
    23                     Mr. Carter, you're asking him
    24            whether he's aware of these
    25            developments in this litigation?



   Golkow Litigation Services                                       Page 62
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 64 of 392
                                                   Confidentiality    Review

     1                    MR. CARTER:     Yeah, I'm asking
     2            him if he's aware that the claims
     3            against his bank encompass the bank's
     4            relationships with officials of the
     5            Al-Haramain organization.
     6                    MR. CURRAN:     Okay.    You may
     7            answer that yes or no.
     8                    THE WITNESS:      Yes, I know -- I
     9            know that some allegation about
    10            Al-Haramain, yes, and some of their
    11            officials.
    12    QUESTIONS BY MR. CARTER:
    13            Q.      And you're aware as well that
    14    there are also allegations concerning the
    15    bank's relationship with the International
    16    Islamic Relief Organization, correct?
    17            A.      Yes.
    18            Q.      And in some cases, the
    19    International Islamic Relief Organization is
    20    referred to as the IIRO.
    21                    If I use that abbreviation,
    22    will you understand that I'm referring to the
    23    International Islamic Relief Organization?
    24            A.      Yes.
    25            Q.      In the aftermath of the



   Golkow Litigation Services                                       Page 63
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 65 of 392
                                                   Confidentiality    Review

     1    September 11th attacks, was there an
     2    increased focus on potential terrorism
     3    financing risks raised to your attention as
     4    general manager of the bank?
     5            A.      Well, after -- after
     6    September 11, of course there was -- you
     7    know, there was a lot of inquiries and
     8    information acquired by the Central Bank
     9    about charities and individuals and also some
    10    cases, you know, more focus on certain
    11    things.
    12                    And so that was, you know --
    13    that was, you know, after -- we were -- we
    14    were -- you know, these things were -- you
    15    know, there's more inquiries coming from the
    16    Central Banks.
    17            Q.      And during that time period,
    18    1998 to 2002, was the Central Bank known as
    19    the Saudi Arabian Monetary Authority?
    20            A.      Yes, SAMA.
    21            Q.      All right.     And so the Saudi
    22    Arabian Monetary Authority was referred to as
    23    SAMA, correct?
    24            A.      Yes.
    25            Q.      And as a practical matter, SAMA



   Golkow Litigation Services                                       Page 64
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 66 of 392
                                                   Confidentiality    Review

     1    was the Central Bank of Saudi Arabia?
     2            A.      That is the -- now it's called
     3    Central Bank.      At that time they call it --
     4    so now it's Central Bank, yes.          But it's
     5    always -- always Central Bank of Saudi
     6    Arabia.
     7            Q.      And as the Central Bank, SAMA
     8    was the regulatory authority that was
     9    responsible for regulating banks in The
    10    Kingdom, including Al Rajhi Bank?
    11                    MR. CURRAN:     Objection to form.
    12                    You may answer.
    13                    THE WITNESS:      Yes, it is.
    14    QUESTIONS BY MR. CARTER:
    15            Q.      And in the -- in the documents
    16    that the bank provided to us in discovery, I
    17    saw some communications between you and SAMA
    18    relating to terrorism financing issues.
    19                    Do you recall being involved in
    20    those issues at the time period?
    21                    MR. CURRAN:     Objection as to
    22            form.
    23                    You may answer.
    24                    THE WITNESS:      I don't recall
    25            the one you talked specifically, but



   Golkow Litigation Services                                       Page 65
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 67 of 392
                                                   Confidentiality    Review

     1            definitely that time was -- you know,
     2            there's a lot of communication with
     3            the Central Bank about -- as I said,
     4            about everything about potential
     5            terrorist suspicious.
     6    QUESTIONS BY MR. CARTER:
     7            Q.      And during that time period,
     8    there were actions taken by governments to
     9    designate entities that were implicated in
    10    providing support to al-Qaeda.
    11                    Are you familiar with that
    12    activity in the post-9/11 time period?
    13            A.      Yes.    And what I can tell you
    14    that after September 11, you know, we as a
    15    bank, and other banks, you know, we -- there
    16    was a lot of inquiries coming from SAMA
    17    about, as I said before, individual and
    18    charities.     And -- and we -- we -- we
    19    actually work very hard to come back with and
    20    answer all these question on time, you know,
    21    very quickly.      And we are actually proud --
    22    proud of what we have done in term of putting
    23    all the resources and answering and -- you
    24    know, answering these questions to SAMA.
    25                    So this is -- you know, that



   Golkow Litigation Services                                       Page 66
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 68 of 392
                                                   Confidentiality    Review

     1    was -- and I -- and we understand later, you
     2    know, this Al-Haramain foundation has been
     3    closed down in Saudi Arabia.
     4                    Now, you know, but differently,
     5    you know, before that, you know, all -- you
     6    know, we as a bank work very, very closely
     7    with SAMA and giving all the -- and also at
     8    the same time, we -- you know, we understand
     9    that all this information being given with
    10    the Central Bank are shared with the US
    11    government, you know, officials.
    12                    So that was, you know -- I
    13    think it was a common effort between the two
    14    country, and as I said, we did -- we worked
    15    very hard, you know, and really putting all
    16    the resource, coming back on time, answering
    17    all the question, you know, giving all the
    18    individuals and charities needed to do more
    19    work to know -- to know more about the
    20    information.
    21                    As I said, I think we did a
    22    good job and we are happy that we have
    23    participated in -- in this effort for
    24    something very important.
    25            Q.      If we can mark the document at



   Golkow Litigation Services                                       Page 67
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 69 of 392
                                                   Confidentiality    Review

     1    Tab 83, and I think we'll be at ARB 26.
     2                    JON KNOWLES:      Sorry,
     3            Exhibit 83?
     4                    MR. CARTER:     Yeah, it's at
     5            Tab 83, and we'll be marking it as
     6            Exhibit, I think, ARB 26.
     7                    MR. CURRAN:     Just so the
     8            witness knows, the numbering, it's
     9            continuing from the Galloway
    10            deposition, correct?
    11                    MR. CARTER:     Correct.
    12                    (Al Rajhi Exhibit ARB 26 marked
    13            for identification.)
    14    QUESTIONS BY MR. CARTER:
    15            Q.      Mr. Al Rajhi, this is a press
    16    release issued by the United States
    17    Department of the Treasury reporting on the
    18    designation of the Somalia and
    19    Bosnia-Herzegovina offices of Al-Haramain
    20    Islamic Foundation.
    21                    Do you see that?
    22            A.      Yes.    This is -- did you say
    23    this is about Al-Haramain in Somalia?
    24            Q.      Yes.
    25            A.      Okay.



   Golkow Litigation Services                                       Page 68
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 70 of 392
                                                   Confidentiality    Review

     1                    MR. CURRAN:     Mr. Carter, I'm
     2            going to let the witness know.         So
     3            that screen shows part of the
     4            document.    If you need to look at the
     5            document, you can use this screen over
     6            here.
     7                    THE WITNESS:      Yeah.   Okay.
     8            So --
     9                    MR. CURRAN:     Yeah, you can
    10            follow along with Mr. Carter, but I
    11            noticed that doesn't cover the whole
    12            document.
    13                    THE WITNESS:      Yeah.   Okay.
    14    QUESTIONS BY MR. CARTER:
    15            Q.      Mr. Al Rajhi, do you recall in
    16    your capacity as general manager of Al Rajhi
    17    Bank being notified in 2002 that the United
    18    States had designated two branch offices of
    19    the Al-Haramain Islamic Foundation for
    20    supporting terrorism?
    21            A.      Yes, I'm aware about it.
    22                    (Al Rajhi Exhibit ARB 27 marked
    23            for identification.)
    24    QUESTIONS BY MR. CARTER:
    25            Q.      And if we can mark as the next



   Golkow Litigation Services                                       Page 69
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 71 of 392
                                                   Confidentiality    Review

     1    exhibit Number 87.
     2                    Mr. Al Rajhi, this is another
     3    press release issued by the United States
     4    Treasury Department in 2008 reporting on the
     5    designation of a remaining -- an additional
     6    office of Al-Haramain.
     7                    Do you see that?
     8            A.      Yes, I see in the -- treasury
     9    designation Al-Haramain Islamic Foundation.
    10            Q.      Okay.    And do you see that the
    11    statement indicates that between 2002 and
    12    2004, the United States had designated 13
    13    Al-Haramain Islamic Foundation branches?
    14            A.      Between 2002 and '4, the United
    15    States designated 13 official branch
    16    operating in Afghanistan...
    17                    So this is -- sorry, this does
    18    not say these are Al-Haramain branches,
    19    right.    Each of 13 -- if this is the
    20    Haramain -- okay.       Yes.
    21            Q.      Okay.    And do you recall in
    22    your role as general manager receiving
    23    notification in that 2002 to 2004 time period
    24    that there was a series of additional
    25    designations of Al-Haramain branch offices



   Golkow Litigation Services                                       Page 70
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 72 of 392
                                                   Confidentiality    Review

     1    covering, you know, the additional locations
     2    listed there?
     3                    MR. CURRAN:     Objection as to
     4            form.
     5                    You may answer.
     6                    THE WITNESS:      Yes, so what's
     7            the question?
     8    QUESTIONS BY MR. CARTER:
     9            Q.      Do you recall in your role as
    10    general manager receiving notice during the
    11    2002 to 2004 time period that there was --
    12    that there had been a series of additional
    13    designations by the United States of
    14    Al-Haramain offices?
    15            A.      No, I think when you -- this is
    16    from the news, yes, they have designated some
    17    Al-Haramain branches and closing branches.
    18    So we -- we knew this from the news, yes.            It
    19    not come to us like for official information,
    20    but we get it from the news.
    21            Q.      And the next paragraph down
    22    notes that the United States in 2004 had also
    23    designated the former head of Al-Haramain
    24    Islamic Foundation, Aqeel Abdulaziz Al-Aqil.
    25                    Do you see that?



   Golkow Litigation Services                                       Page 71
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 73 of 392
                                                   Confidentiality    Review

     1            A.      Yeah, several of these branch
     2    offices have been -- have also been
     3    designated.     We can see it here full?
     4                    MR. CURRAN:     Yeah, it's kind
     5            of -- yeah, you can use this screen.
     6            It's cut off on the other one,
     7            Mr. Carter.
     8                    THE WITNESS:      So --
     9                    MR. CURRAN:     The paragraph
    10            beginning "several of these branch
    11            offices."
    12                    THE WITNESS:      Yes.
    13    QUESTIONS BY MR. CARTER:
    14            Q.      And do you recall receiving
    15    notice in that 2004 time period that the
    16    United States had designated the head of
    17    Al-Haramain, Aqeel Al-Aqil, as well?
    18            A.      Yes, I have heard from the news
    19    we -- we would have this.
    20            Q.      And if we can mark --
    21                    MR. CURRAN:     Mr. Carter, what
    22            did you mark that last exhibit as?
    23                    MR. CARTER:     It would have been
    24            ARB 27.
    25                    MR. CURRAN:     Yeah, because I



   Golkow Litigation Services                                       Page 72
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 74 of 392
                                                   Confidentiality    Review

     1            think it may have been marked 87.
     2            So --
     3                    MR. CARTER:     No, it's at Tab 87
     4            in the exhibit folder.       It is
     5            Exhibit 27.     Yeah.
     6                    And if we can, can we mark as
     7            Exhibit 28 the document at Tab 88?
     8                    JON KNOWLES:      Give me one
     9            second.    80 is not coming up.       One
    10            second.
    11                    MR. CARTER:     That's not it.
    12            Scott can resend it.
    13                    JON KNOWLES:      Okay.   Because
    14            that's the Exhibit 80 I've got.
    15                    MR. CARTER:     It was Exhibit --
    16            88.   It was Tab 88.
    17                    JON KNOWLES:      Oh, I thought
    18            you -- okay.     My bad.    I got that.
    19            Okay.
    20                    MR. CURRAN:     Is that it,
    21            Mr. Carter?
    22                    MR. CARTER:     It is.
    23                    (Al Rajhi Exhibit ARB 28 marked
    24            for identification.)
    25




   Golkow Litigation Services                                       Page 73
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 75 of 392
                                                   Confidentiality    Review

     1    QUESTIONS BY MR. CARTER:
     2            Q.      And, Mr. Al Rajhi, this is
     3    another Treasury Department press release
     4    concerning designations of two offices of the
     5    IIRO and of the direct -- executive director
     6    of the IIRO Eastern Province branch, an
     7    individual named Abd Al Hamid Sulaiman
     8    Al-Mujil.
     9                    Do you see that?
    10            A.      Yes, I see it.
    11            Q.      And again, do you recall during
    12    this 2006 time period receiving information
    13    that the United States had designated
    14    branches of the IIRO and an official in its
    15    Eastern Province branch in Saudi Arabia?
    16            A.      No, I -- sorry, can you show me
    17    where is this?
    18            Q.      Are you referring to the
    19    official in the Saudi office?
    20            A.      Yes.
    21            Q.      In the first paragraph, the
    22    last sentence, it says, "Treasury
    23    additionally designated Abd Al Hamid Sulaiman
    24    Al-Mujil, the executive director of the
    25    Eastern Province branch of IIRO in The



   Golkow Litigation Services                                       Page 74
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 76 of 392
                                                   Confidentiality    Review

     1    Kingdom of Saudi Arabia."
     2                    MR. CURRAN:     I pointed to the
     3            first paragraph of the text.
     4                    THE WITNESS:      Okay.   US
     5            Treasury designated Abd Al Hamid
     6            Sulaiman.    Yeah.    Okay.
     7                    This is 2006, right?
     8    QUESTIONS BY MR. CARTER:
     9            Q.      Yeah.
    10                    And do you recall receiving
    11    notice in 2006 that the United States had
    12    designated branches of the IIRO and an
    13    official from the Eastern Province branch in
    14    Saudi Arabia?
    15            A.      Okay.
    16            Q.      Okay.    Do you recall receiving
    17    that information at the time?
    18            A.      When you say receiving it, from
    19    where I receive it?
    20            Q.      Well, I don't know.       I mean, if
    21    you -- obviously you've testified that the
    22    bank took seriously its obligations following
    23    September 11 to address issues related to
    24    terrorism financing and was engaged with
    25    SAMA.



   Golkow Litigation Services                                       Page 75
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 77 of 392
                                                   Confidentiality    Review

     1                    As part of that, do you recall
     2    receiving information that two offices of
     3    IIRO had been designated and that an official
     4    of the Eastern Province had been designated?
     5                    MR. CURRAN:     Objection as to
     6            form.
     7                    You may answer.
     8                    THE WITNESS:      Yeah, I don't --
     9            I don't recall, you know,
    10            US Department or someone sent this
    11            information to us, but we know -- we
    12            know about many of the things that you
    13            mention from the news.       You know, we
    14            follow the news, and we made an
    15            action.    We did an act.
    16                    We get it -- normally we have
    17            it, you know, from -- from -- you
    18            know, from the news, especially comes
    19            about designation or closing some of
    20            the branches.
    21    QUESTIONS BY MR. CARTER:
    22            Q.      Did Al Rajhi Bank have a
    23    mechanism in place at the time to monitor the
    24    news for information of this nature?
    25            A.      Yeah, if any information in the



   Golkow Litigation Services                                       Page 76
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 78 of 392
                                                   Confidentiality    Review

     1    public domain for -- you know, for customers,
     2    we are aware about it, we will -- we will use
     3    it.    We will collect it.
     4            Q.      Did Al Rajhi Bank have any
     5    mechanism in place before September 11, 2001,
     6    to monitor the news for information
     7    implicating its account holders in terrorist
     8    activity?
     9                    MR. CURRAN:     Objection as to
    10            form.
    11                    You may answer.
    12                    THE WITNESS:      No, I don't think
    13            that -- definitely after September 11,
    14            the bank became more active in trying
    15            to know -- you know, to know about
    16            any -- any designation, but I cannot
    17            recall what was -- what was before
    18            that, you know, how we were doing it.
    19    QUESTIONS BY MR. CARTER:
    20            Q.      Are you aware that during the
    21    1998 to 2002 time period Al Rajhi Bank
    22    maintained accounts for Al-Haramain Islamic
    23    Foundation?
    24            A.      Yes.    Yeah, I know.
    25            Q.      And how are you aware of that?



   Golkow Litigation Services                                       Page 77
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 79 of 392
                                                   Confidentiality    Review

     1            A.      I'm aware of that because
     2    things I have seen it after, you know.            But
     3    I -- you know, because they really can't just
     4    open an account like any charity, but
     5    different when there was some more inquiries
     6    after September 11 from the Central Bank,
     7    then I was aware about it and knowing about
     8    these accounts.
     9            Q.      Were you aware that Al-Haramain
    10    maintained accounts at Al Rajhi Bank before
    11    September 11, 2001?
    12                    MR. CURRAN:     Objection as to
    13            form.   Ambiguous.
    14                    You may answer.
    15                    THE WITNESS:      Yeah, they had an
    16            account.
    17                    Did you ask before or after?         I
    18            think they had before --
    19    QUESTIONS BY MR. CARTER:
    20            Q.      Yes.
    21            A.      Yes.
    22            Q.      I'm sorry.
    23                    Were you aware before
    24    September 11, 2001, that Al-Haramain had
    25    accounts at Al Rajhi Bank?



   Golkow Litigation Services                                       Page 78
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 80 of 392
                                                   Confidentiality    Review

     1            A.      Really, it's difficult to
     2    recall whether I -- but Haramain, yes,
     3    Haramain I would assume at that time, it's
     4    very active, big charity, so I would -- I
     5    would -- yes, I would -- I would know about
     6    that they have an account in Al Rajhi, even
     7    before September 11.
     8            Q.      During his deposition,
     9    Mr. Galloway testified that Al Rajhi Bank
    10    maintained 95 accounts for Al-Haramain that
    11    were active during the 1998 to 2002 time
    12    period.
    13                    Do you know whether that is
    14    accurate?
    15            A.      I don't know whether this is
    16    number correct or not or accurate, but -- but
    17    it's not unusual to have that big number of
    18    accounts for a charity.
    19            Q.      Do you recall conducting any
    20    inquiry after issues were raised about
    21    Al-Haramain following the September 11th
    22    attacks to determine the scope of Al Rajhi
    23    Bank's relationship with Al-Haramain?
    24                    MR. CURRAN:     Objection.     Vague.
    25                    You may answer.



   Golkow Litigation Services                                       Page 79
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 81 of 392
                                                   Confidentiality    Review

     1                    THE WITNESS:      The relationship
     2            is normal relationship.        It's like any
     3            charity.
     4    QUESTIONS BY MR. CARTER:
     5            Q.      At any point after 9/11 did you
     6    ask anyone to pull together information
     7    concerning the accounts that Al Rajhi Bank
     8    maintained for Al-Haramain during the
     9    pre-9/11 time period?
    10                    MR. CURRAN:     Objection.     Vague.
    11                    You may answer.
    12                    THE WITNESS:      You know -- you
    13            know, at this -- at this -- first,
    14            maybe I want to say things and then
    15            serious, but differently after
    16            September 11 there was a lot and a lot
    17            of inquiries from SAMA about
    18            Al-Haramain and maybe other charities
    19            and individuals.
    20                    So we were -- as I said before,
    21            we were very cooperative and working
    22            very hard and quick turnaround time.
    23            We put all of the resources needed to
    24            give this information to -- to SAMA
    25            when they ask.



   Golkow Litigation Services                                       Page 80
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 82 of 392
                                                   Confidentiality    Review

     1                    And also at the same time I
     2            remember that when there was some news
     3            that some of their Al-Haramain
     4            branches overseas has been closed
     5            down, that we, as a bank, you know,
     6            we -- we were proactive.        You know,
     7            we -- we have -- we have -- wanted to
     8            go to our authorities and ask, you
     9            know, whether these -- whether
    10            anything need to be done about
    11            Haramain KSA.
    12                    Because from what we knew, you
    13            know, and the news was -- so we were,
    14            you know, proactive -- proactive
    15            coming back and saying, you know, we
    16            have these things.      Is there any new
    17            instruction.     You know, that was, you
    18            know, the message -- so that the
    19            message, you know, we were trying to
    20            come back to -- go back to both to our
    21            regulator and also to the -- the
    22            government authority who was -- who
    23            can -- who they are responsible to
    24            give the permission.
    25




   Golkow Litigation Services                                       Page 81
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 83 of 392
                                                   Confidentiality    Review

     1    QUESTIONS BY MR. CARTER:
     2            Q.      And so we --
     3            A.      Sorry.
     4            Q.      No.    Can we --
     5                    MR. CURRAN:     You're entitled to
     6            finish your answer if you --
     7                    THE WITNESS:      No. I mean, the
     8            message is that we did everything that
     9            we can do, you know, to reach -- and
    10            trying to know.      Because it was a
    11            difficult time for the bank.         You
    12            know, it is -- I cannot -- I cannot do
    13            anything about these charity account
    14            without getting instruction from my
    15            regulator.     You know, I cannot -- you
    16            know, it's not up to the bank whether
    17            to -- so what we -- what we're able to
    18            do is writing letter and asking, you
    19            know, saying that, okay, we have these
    20            accounts with us, okay, and of course
    21            we know about the news.
    22                    And as I said, you know, we
    23            just -- you know, as a bank, as a
    24            responsible bank with all this news,
    25            we said, you know, this is the -- this



   Golkow Litigation Services                                       Page 82
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 84 of 392
                                                   Confidentiality    Review

     1            is what's happening, and our -- what
     2            we said, we know about this.         We said
     3            we have these accounts with
     4            Al-Haramain, and we wanted to check
     5            are you -- should we continue in a
     6            way.   Should we continue, you know, to
     7            as if -- the payments, it's still
     8            there or not.
     9                    (Al Rajhi Exhibit ARB 29 marked
    10            for identification.)
    11    QUESTIONS BY MR. CARTER:
    12            Q.      And if we can, can we mark as
    13    the next exhibit the document at Tab 32?            I
    14    think we're up to ARB 29.
    15                    Okay.    Hold on one second.
    16                    Mr. Al Rajhi, you mentioned a
    17    moment ago that you were involved in
    18    communicating to SAMA in response to media
    19    reports about Al-Haramain.
    20                    Is that correct?
    21            A.      Yes.
    22            Q.      And the document we just marked
    23    appears to be a letter sent on January 26,
    24    2004, to the Saudi Arabian Monetary Authority
    25    by you, correct?



   Golkow Litigation Services                                       Page 83
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 85 of 392
                                                   Confidentiality    Review

     1            A.      Okay.    Yeah, give me, please,
     2    just a minute just to go through it.
     3                    MR. CURRAN:     Mr. Carter, can
     4            you put up the Arabic as well, please?
     5                    MR. CARTER:     It should be
     6            behind it.
     7                    MR. CURRAN:     Okay.     So on this
     8            side here, Mr. Al Rajhi, you can look
     9            at the --
    10                    THE WITNESS:      Okay.    Yeah, this
    11            is -- okay.
    12                    MR. CURRAN:     Okay.     Got it.
    13            Thank you.     You can scroll yourself.
    14                    THE WITNESS:      Yes.
    15                    Yes.    Yes, this is what I was
    16            referring to before, you know, there
    17            was the news about closing these
    18            offices and wanted to know from SAMA.
    19    QUESTIONS BY MR. CARTER:
    20            Q.      This is a letter you sent
    21    because you're aware that the bank had
    22    accounts for Al-Haramain and you -- the bank
    23    had seen the reports about additional
    24    closures of Al-Haramain offices, correct?
    25            A.      Yes, that's correct.



   Golkow Litigation Services                                       Page 84
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 86 of 392
                                                   Confidentiality    Review

     1            Q.      And in the letter you asked
     2    whether the bank should continue dealing with
     3    Al-Haramain, correct?
     4            A.      Right.    Yes.
     5            Q.      Do you recall whether you ever
     6    received any response from SAMA?
     7            A.      No, I didn't recall if I
     8    received or not and we...
     9            Q.      Okay.    Can we mark --
    10            A.      Yeah.    Sorry.    But I know that,
    11    you know -- that the Saudi government lost
    12    Al-Haramain data.
    13            Q.      But again, you don't recall
    14    receiving any direct response to this
    15    January 2004 letter, correct?
    16            A.      No, I didn't --
    17                    MR. CURRAN:      Objection.    Vague.
    18                    From SAMA?     Was that the
    19            question, Mr. Carter?
    20                    MR. CARTER:      Correct.
    21                    THE WITNESS:      Yes, I don't
    22            recall whether I received or not.
    23                    (Al Rajhi Exhibit ARB 30 marked
    24            for identification.)
    25




   Golkow Litigation Services                                       Page 85
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 87 of 392
                                                   Confidentiality    Review

     1    QUESTIONS BY MR. CARTER:
     2            Q.      And if we can mark as the next
     3    exhibit the document at Tab 33.           I believe
     4    this will be ARB 30.
     5            A.      So I can't read it here.
     6                    MR. CURRAN:     They control what
     7            exhibits show up.
     8                    THE WITNESS:      Oh, in Arabic, I
     9            mean.   Here you see it here, but you
    10            cannot see it.      We just --
    11                    MR. CURRAN:     No, it will come
    12            up on this screen.
    13                    THE WITNESS:      Okay.
    14                    MR. CURRAN:     And you can scroll
    15            to the Arabic below.
    16                    THE WITNESS:      Okay.
    17                    MR. CURRAN:     You can go all the
    18            way to the bottom if you want.         You
    19            can do whatever you want.
    20                    THE WITNESS:      Yes.
    21    QUESTIONS BY MR. CARTER:
    22            Q.      And is this also a letter that
    23    you authored and sent to SAMA?
    24            A.      Yes.
    25            Q.      And this letter was sent on



   Golkow Litigation Services                                       Page 86
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 88 of 392
                                                   Confidentiality    Review

     1    January --
     2            A.      Yeah, it's prepared -- yes, I
     3    send it to --
     4                    MR. CURRAN:      Can you ask that
     5            question again, Mr. Carter?
     6    QUESTIONS BY MR. CARTER:
     7            Q.      Is this a letter that you sent
     8    to SAMA?
     9            A.      Yes, I did.
    10            Q.      And you signed the letter,
    11    correct?
    12            A.      I signed the letter, yeah.
    13    This -- this is my signature, yes.
    14            Q.      And this letter was sent by you
    15    to SAMA on January 4, 2003?
    16            A.      This is what's dated in the
    17    top.
    18            Q.      And in that letter you identify
    19    a number of charitable organizations that had
    20    accounts at Al Rajhi Bank, correct?
    21            A.      Yes.    Right.
    22            Q.      And the list includes six
    23    charitable organizations, and they are the
    24    Muslim World League, the International
    25    Islamic Relief Organization, the World



   Golkow Litigation Services                                       Page 87
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 89 of 392
                                                   Confidentiality    Review

     1    Assembly of Muslim Youth, Saudi Joint
     2    Committee for Relief of the Muslims of Bosnia
     3    and Herzegovina and Somalia, the Saudi Joint
     4    Committee for the Relief of Muslims of Kosovo
     5    and Chechnya, and the Al-Haramain Islamic
     6    Foundation.
     7                    Correct?
     8            A.      Right.
     9            Q.      And Al Rajhi Bank was
    10    maintaining accounts for all of those
    11    entities at the time, correct?
    12            A.      Yes.
    13            Q.      What prompted you to write this
    14    letter?
    15            A.      Well, I can't specifically
    16    recall right now, but must be -- it's
    17    either -- I think this should be -- this
    18    maybe should be relating to maybe some
    19    SAMA -- some SAMA inquiries about -- or some
    20    requirements for SAMA.
    21                    Because, again, after
    22    September 11, the -- the SAMA regulators
    23    start -- you know, not only asking about
    24    information but also new regulation came
    25    about charities, how the charity work.            For



   Golkow Litigation Services                                       Page 88
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 90 of 392
                                                   Confidentiality    Review

     1    example, you know, you see circular from the
     2    Central Bank at the time that you cannot
     3    transfer money for these charity outside The
     4    Kingdom.     It has to be only in the domestic.
     5                    Also there was some information
     6    about who are -- the authority can -- you
     7    know, who are the authority that can give the
     8    permission.
     9            Q.      Well, what prompted you to
    10    include these six organizations in your list,
    11    if you recall?
    12            A.      It's difficult to remember now.
    13    I can't remember now, but this is -- from
    14    what I see here -- from what I see here, this
    15    is prepared by our legal department at that
    16    time, and I have signed it, but I can't
    17    remember what's -- you know, what are these.
    18            Q.      And based on your understanding
    19    of the bank's business at the time, do you
    20    believe it would have maintained accounts
    21    during that period for additional charities
    22    that aren't on this list?
    23            A.      Can you ask -- can you ask
    24    again, please?
    25            Q.      Well, do you believe that this



   Golkow Litigation Services                                       Page 89
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 91 of 392
                                                   Confidentiality    Review

     1    list includes every charity for which
     2    Al Rajhi Bank maintained an account at that
     3    time?
     4            A.      No.    No.   There's many others.
     5            Q.      And given that there are many
     6    others, do you have any recollection as to
     7    why these six ended up being the focus of
     8    this letter?
     9            A.      No, I don't know.       As I said, I
    10    don't recall exactly, but as I said, could
    11    be -- the new circular came from the Central
    12    Bank, asked for, you know, certain
    13    requirements and maybe these ones based on
    14    our legal department review, this is like
    15    what you call it, maybe vague, you know,
    16    approval.
    17                    So, you know -- so they wanted
    18    to have certainty from regulator, you know,
    19    whether these approval the bank has in place
    20    is in complying with the -- with the -- with
    21    the SAMA circular.       That's what I can think
    22    of now.
    23                    Or could be some news about
    24    these -- these charities and get it from the
    25    news, whatever, and then they wanted to --



   Golkow Litigation Services                                       Page 90
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 92 of 392
                                                   Confidentiality    Review

     1    they wanted to, again, get the confirmation
     2    from Central Bank whether the bank should --
     3    this is -- you know, this is exactly what I
     4    said before, that, you know, when we -- when
     5    we hear about something or some development
     6    coming, we're always proactive.          We want to
     7    make sure that any charity have an account at
     8    Al Rajhi before that its license is valid,
     9    you know, it is, you know, asking whether we
    10    can do that.      So I wanted to make sure
    11    about -- you know, this is initiated by the
    12    bank.    Part of the bank, you know, wanted
    13    and, you know -- we are -- you know, we were
    14    assuring that we would like -- as ours we are
    15    to comply with the -- with the regulator --
    16    with the regulation.
    17            Q.      Okay.    And in the letter, you
    18    specifically asked SAMA for advice as to
    19    whether or not Al Rajhi Bank should stop
    20    dealing with the mentioned charities,
    21    correct?     In the last paragraph?
    22            A.      Yes.    Yes.   But --
    23            Q.      And so the bank had some
    24    concern as to whether or not it was
    25    appropriate to continue dealing with those



   Golkow Litigation Services                                       Page 91
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 93 of 392
                                                   Confidentiality    Review

     1    charities, correct?
     2            A.      Well, as I said, it's not --
     3    it's a simple action for the bank.           I mean,
     4    if the bank has consent, the bank, you know,
     5    cannot stop working with a charity unless,
     6    you know, you get approval from the Central
     7    Bank.    It's not up to the bank.
     8                    So our job, when we -- when
     9    we -- when there is -- as I said, you know,
    10    news about any organization or a new
    11    regulation came and this regulation, you
    12    know, we're not sure whether it apply here or
    13    not, our job to go and write to the Central
    14    Bank and ask them, you know, this is what we
    15    have.    This is our document.       Let us know
    16    whether -- what should we do.
    17            Q.      So, and the Central Bank is
    18    responsible for determining whether or not an
    19    entity is prohibited outright, correct?
    20            A.      Yes, the Central Bank.        It's --
    21    it's who came with the circular saying that
    22    if in order to open a charity, one, two,
    23    three, four things you have to do.           So it
    24    comes -- you know, because he supervises the
    25    bank so he's the one communicate to the bank



   Golkow Litigation Services                                       Page 92
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 94 of 392
                                                   Confidentiality    Review

     1    what's needed.      And this is why we're writing
     2    the letter to SAMA telling them, you know,
     3    what would they think about these charities.
     4            Q.       But in terms of who was
     5    responsible for implementing anti-money
     6    laundering procedures, that would fall to the
     7    bank itself, correct?
     8            A.       Yes, sure.    You are correct --
     9    to SAMA, yes.
    10            Q.       And given the concerns raised
    11    in this letter, did the bank do anything on
    12    its own to investigate the accounts it held
    13    for these entities to determine whether or
    14    not they reflected possible money laundering
    15    or counterterrorism financing risks?
    16                     MR. CURRAN:    Objection as to
    17            form.
    18                     You may answer.
    19                     THE WITNESS:     Yeah, I think
    20            again -- maybe I'm repeating myself
    21            again.
    22                     You know, when -- when
    23            something like this come, we cannot,
    24            you know -- what we can do is write --
    25            do like this, so that's number one.



   Golkow Litigation Services                                       Page 93
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 95 of 392
                                                   Confidentiality    Review

     1                    Number two, yes, the bank has
     2            in place a policy if any suspicious
     3            transaction get reported.        Now, I
     4            cannot tell you, you know, if any
     5            transaction here been reported during
     6            this time or not, but the bank has a
     7            system that when it's a really
     8            suspicious transaction, of these ones
     9            are others, you know, it would be
    10            reported to -- you know, to SAMA about
    11            these transaction, about these
    12            suspicious amount.
    13                    So that's -- yes, we do, we do
    14            that when there's something -- for any
    15            suspicious transaction, but the thing
    16            I cannot do, I can't just close that
    17            account without -- without -- you
    18            know, without getting approving, if
    19            they have -- if they have the
    20            permission.     If they have the
    21            permission, it's not up to me to
    22            decide to continue or to close the
    23            account.
    24    QUESTIONS BY MR. CARTER:
    25            Q.      Okay.    You do have the capacity



   Golkow Litigation Services                                       Page 94
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 96 of 392
                                                   Confidentiality    Review

     1    at that time to have someone conduct an
     2    inquiry to determine whether or not the
     3    accounts for those organizations were opened
     4    properly, correct?
     5            A.      Yes.
     6            Q.      And you did have the capacity
     7    during that time to ask someone to look at
     8    the transaction history for those accounts to
     9    determine whether or not there were
    10    accounts -- or transactions that may have
    11    been problematic, correct?
    12                    MR. CURRAN:     Objection as to
    13            form.
    14                    You may answer.
    15                    THE WITNESS:      Yeah, for -- I
    16            would -- okay.      Let me ask this
    17            question.    If it was a problematic or
    18            a charity, which there's a concern
    19            about it, yes, we would have with
    20            SAMA, most likely, would have looked
    21            at that previous transaction many
    22            years ago and go through it, and
    23            that's what -- you know, we -- in
    24            working with the SAMA about it.
    25                    So we do that for some -- some



   Golkow Litigation Services                                       Page 95
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 97 of 392
                                                   Confidentiality    Review

     1            charities.
     2    QUESTIONS BY MR. CARTER:
     3            Q.      So you mentioned the bank's
     4    desire to be proactive with regard to these
     5    issues.
     6                    Did you instruct anyone to
     7    conduct a review of the accounts for these
     8    entities to determine whether or not the
     9    accounts had been opened properly?
    10                    MR. CURRAN:     Objection as to
    11            form.
    12                    THE WITNESS:      I can't recall if
    13            I myself conducted any one, but the
    14            board, myself and the audit
    15            department, you know, they all do
    16            their job and make sure that the right
    17            people do the right -- conduct.
    18                    Now, I can't remember if the
    19            specific one being done or not.         It's
    20            difficult to remember.
    21    QUESTIONS BY MR. CARTER:
    22            Q.      So do you recall whether there
    23    was any action undertaken in this 2003 time
    24    period to conduct audits of these
    25    organizations?



   Golkow Litigation Services                                       Page 96
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 98 of 392
                                                   Confidentiality    Review

     1            A.      Audit?
     2                    MR. CURRAN:     Objection.     Vague.
     3                    You may answer.
     4                    THE WITNESS:      I wouldn't be
     5            surprised we have done.        I cannot
     6            confirm it.
     7    QUESTIONS BY MR. CARTER:
     8            Q.      And do you recall whether the
     9    bank directed anyone to review transactions
    10    carried out through the accounts to determine
    11    whether there were any transactions that
    12    raised red flags?
    13            A.      Yeah, as I --
    14                    MR. CURRAN:     Objection.     Vague.
    15                    You may answer.
    16                    THE WITNESS:      Yeah, as I said
    17            before, yes.     You know, it was
    18            actually a very busy time during
    19            this -- not only us, but also with the
    20            Central -- with the Central Bank.
    21                    And also we know all of this
    22            information is not only from SAMA.
    23            It's a common work between the Saudi
    24            government and the US government to
    25            have all the information in order



   Golkow Litigation Services                                       Page 97
CaseHighly
     1:03-md-01570-GBD-SN
             Confidential –Document
                             Subject10594-1 Filed 12/09/24
                                      To Further           Page 99 of 392
                                                   Confidentiality    Review

     1            to -- you know, to get -- you know, of
     2            any -- of -- if anyone thinks are
     3            terrorists or any of this being news.
     4                    So there was a lot -- a lot of
     5            work being done on this, going back,
     6            SAMA come to the big banks and take a
     7            lot of names, a lot of statements.          It
     8            was very busy time.
     9    QUESTIONS BY MR. CARTER:
    10            Q.      Well, aside from the activity
    11    that was ongoing with the US or Saudi
    12    governments, the bank had an independent
    13    obligation to ensure that its accounts
    14    weren't used for terrorism financing
    15    activities, correct?
    16                    MR. CURRAN:     Objection as to
    17            form.
    18                    You may answer.
    19                    THE WITNESS:      Yeah, this is
    20            correct.    Again, I'm not saying we are
    21            not doing.     I'm just giving an
    22            example, you know, but we are doing
    23            this.   We hired -- you know, we hired
    24            a number of consultants.        I can't
    25            remember the name, just to go through



   Golkow Litigation Services                                       Page 98
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 100 of Review
                                                    Confidentiality     392


     1             and check, not check all the -- check
     2             the transactions.
     3                     Of course our external auditor
     4             also make his own -- you know,
     5             international, they go and look at it.
     6             So we -- we have a lot of things to --
     7             you know, to make sure that, you know,
     8             there are no misuse of any of these
     9             transactions.
    10                     And as I said, there is -- you
    11             know, any suspicious ones, whether we
    12             know about it based on investigation
    13             or it's a new one, we report it to the
    14             Central Bank.
    15     QUESTIONS BY MR. CARTER:
    16             Q.      Mr. Al Rajhi, we requested in
    17     discovery copies of any audits or reviews of
    18     the Al-Haramain or IIRO accounts that were
    19     conducted between 2001 and 2004, and we
    20     haven't received any.        Our understanding is
    21     that they don't exist.
    22                     Do you have reason to believe
    23     that's incorrect?
    24                     MR. CURRAN:      Objection as to
    25             form.   Vague and ambiguous.



   Golkow Litigation Services                                         Page 99
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 101 of Review
                                                    Confidentiality     392


     1                     You may answer.
     2                     THE WITNESS:      Really, you know,
     3             I don't know.      But not necessarily
     4             also the audit for one customer.          You
     5             know, it could be -- it could be, you
     6             know, wide scope, for audit, not only
     7             for -- you know, for one foundation.
     8                     But, again, we're talking about
     9             something, you know, almost 20 years
    10             ago.    You know, I can't tell you that,
    11             you know, this is being done or not
    12             done.
    13                     And again, you know, my
    14             capacity as a general manager at that
    15             time or even at a later time when I
    16             was, you know, still called CEO, the
    17             audits -- the audit -- the audit
    18             committee, they are the -- you know,
    19             they are overseeing all these audit to
    20             be done to give the comfort for the
    21             bank.
    22     QUESTIONS BY MR. CARTER:
    23             Q.      Okay.    But sitting here today,
    24     you're unaware of any audit that was
    25     conducted in the 2001 to 2004 time period



   Golkow Litigation Services                                        Page 100
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 102 of Review
                                                    Confidentiality     392


     1     that encompassed any accounts of Al-Haramain
     2     or IIRO, correct?
     3                     MR. CURRAN:      Objection as to
     4             form.   Lack of foundation.
     5                     THE WITNESS:      Yeah, I can't --
     6             I can't -- as I said, you know, I
     7             can't remember to confirm it.          I
     8             cannot give you a clear answer, you
     9             know, whether this is being done or
    10             not.    I don't recall it.
    11     QUESTIONS BY MR. CARTER:
    12             Q.      And again, this letter was sent
    13     on January 4, 2003, and if we can go back to
    14     the document that was marked as ARB 29.
    15             A.      Yeah, but -- yeah.        Okay.
    16             Q.      Okay now?
    17             A.      Yes.
    18                     MR. CURRAN:      I can't read what
    19             this is.    Maybe you can.
    20                     THE WITNESS:      Yeah.
    21                     MR. CURRAN:      All right.
    22                     THE WITNESS:      This is -- okay.
    23     QUESTIONS BY MR. CARTER:
    24             Q.      And this is the other letter we
    25     discussed relating to Al-Haramain, correct?



   Golkow Litigation Services                                        Page 101
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 103 of Review
                                                    Confidentiality     392


     1             A.      Yes.
     2             Q.      And this was sent on
     3     January 26, 2004, correct?
     4             A.      January 2004.      Yeah.
     5             Q.      And in the first paragraph you
     6     specifically reference your earlier letter
     7     from a year ago in 2003, correct?
     8                     MR. CURRAN:      Objection as to
     9             form.
    10                     THE WITNESS:      This is
    11             January 2004, and I -- {speaking in
    12             Arabic}.    No, there must be
    13             something not -- you know, if you look
    14             at -- {speaking in Arabic}.         This is
    15             only one -- no, cannot be -- you know,
    16             it's so only when you look at the
    17             dates here and the Hijri dates --
    18             {speaking in Arabic}.
    19                     MR. CURRAN:      You can say --
    20                     THE WITNESS:      No, here -- here
    21             we have -- this is the first on 24,
    22             and then that one -- so there must be
    23             only 18 plus 2, 22 days difference.
    24             So how can become -- this must be not
    25             correct, the Gregorian date.



   Golkow Litigation Services                                        Page 102
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 104 of Review
                                                    Confidentiality     392


     1     QUESTIONS BY MR. CARTER:
     2             Q.      Okay.    So you believe that this
     3     is also a 2003 letter and it's just 22 days
     4     later, correct?
     5             A.      Right.     Yes.    Right.   Yes.
     6             Q.      Okay.
     7             A.      Because if you look at the
     8     Arabic dates, it's only this number of days
     9     difference.
    10             Q.      And so 22 days after your
    11     January 4, 2003 letter, you wrote to SAMA
    12     again asking specifically whether or not the
    13     bank should continue to deal with
    14     Al-Haramain, correct?
    15             A.      Yes.
    16                     MR. CURRAN:       Objection as to
    17             form.
    18                     You may answer.
    19                     THE WITNESS:       Yes.
    20     QUESTIONS BY MR. CARTER:
    21             Q.      And did you -- do you recall
    22     whether you received any response to that
    23     letter from SAMA?
    24             A.      The same thing, I can't
    25     remember now whether we receive or not.



   Golkow Litigation Services                                        Page 103
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 105 of Review
                                                    Confidentiality     392


     1                     (Al Rajhi Exhibit ARB 31 marked
     2             for identification.)
     3     QUESTIONS BY MR. CARTER:
     4             Q.      And if we can mark as the next
     5     exhibit the spreadsheet at Tab 3.           This is
     6     ARB 31.
     7                     Mr. Al Rajhi, this is a
     8     spreadsheet we prepared summarizing the
     9     account statements for Al-Haramain that we
    10     received in discovery from the bank, the time
    11     periods they were active and the deposits and
    12     the withdrawals that flowed through the
    13     accounts during the '98 to 2002 time period.
    14     And we have a bit of a discrepancy.            We
    15     identified 94 accounts, and Mr. Galloway
    16     identified 95.
    17                     And if you look at the second
    18     page of this spreadsheet -- I'm sorry, the
    19     final page.
    20             A.      The final one.
    21             Q.      Okay.    Our calculation is that
    22     those 94 accounts took in 2,146,119,285
    23     riyals during the 1998 to 2002 time period.
    24                     Do you see that?
    25             A.      Yeah, we just -- the name of



   Golkow Litigation Services                                        Page 104
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 106 of Review
                                                    Confidentiality     392


     1     the account, 94 accounts with Al-Haramain
     2     found that we have.
     3                     26 million here -- what is 26
     4     million --
     5             Q.      The total column at the bottom.
     6             A.      Sorry?
     7             Q.      There's a total column at the
     8     bottom.
     9             A.      Yeah, but the total number
    10     before only 26,000, right?         And 26 million --
    11     and, yeah.
    12             Q.      There's several pages preceding
    13     it.
    14             A.      Okay.    So I see this, yes,
    15     total 2.1 billion.       Yes, it says the number.
    16             Q.      And do you recall whether at
    17     any point as your role as general manager you
    18     asked someone to provide you with information
    19     concerning the total value of money that was
    20     passed through the Al-Haramain accounts?
    21                     MR. CURRAN:      Objection as to
    22             form.
    23                     You may answer.
    24                     THE WITNESS:      This is -- this
    25             is for how many years, this statement?



   Golkow Litigation Services                                        Page 105
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 107 of Review
                                                    Confidentiality     392


     1             I mean, this --
     2     QUESTIONS BY MR. CARTER:
     3             Q.      It's five -- it's five years.
     4     It's 1998 to 2002.
     5             A.      Oh, five years or more.         The
     6     '96 to 2004, that's when it is.
     7             Q.      No, it's 1998 to 2002.
     8             A.      Okay.    Four years.      So that's
     9     about 500 million a year, average.           Yeah.
    10                     MR. CURRAN:      Five years, 1998,
    11             beginning of '98 through the end of
    12             2002.
    13                     THE WITNESS:      So about 400
    14             million a year in this case if it's
    15             five years.
    16                     So what was the question?
    17     QUESTIONS BY MR. CARTER:
    18             Q.      I asked whether or not you had
    19     ever asked anyone at the bank to provide you
    20     with information concerning the total amount
    21     of money that had passed through the bank's
    22     Al-Haramain accounts?
    23             A.      No, I didn't.
    24             Q.      And do you have any reason to
    25     doubt that over that '98 to 2002 time period,



   Golkow Litigation Services                                        Page 106
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 108 of Review
                                                    Confidentiality     392


     1     the bank took in accounts -- took in deposits
     2     for Al-Haramain in excess of 2.1 billion
     3     riyals?
     4                     MR. CURRAN:      Objection as to
     5             form.
     6                     You may answer.
     7                     THE WITNESS:      You know, it's --
     8             it's not my job as the general
     9             manager, you know, to go account by
    10             account, charity by charity, and see
    11             how much being deposited and how much
    12             we -- but, again, the bank has --
    13             has -- has the proper controls.
    14                     I mean, looking at the money
    15             coming, transaction by transaction --
    16             of course based in the system and at
    17             that time.     Because we know that
    18             system over the years has been evolved
    19             and, you know, what -- what system
    20             today we have, we believe, is the
    21             best, you know, state of art in term
    22             of compliance control.        That's our
    23             system today.
    24                     Of course at that time it was
    25             not as sophisticated as today.          But at



   Golkow Litigation Services                                        Page 107
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 109 of Review
                                                    Confidentiality     392


     1             the same time, as a general manager, I
     2             wouldn't know whether Al-Haramain or
     3             any organization or any other charity
     4             or, you know -- but definitely we have
     5             all compliance people.        If they -- if
     6             they have noticed some of these
     7             transaction are not -- are suspicious,
     8             they would have done what they are
     9             expected to do, which is reporting it.
    10                     Now, is this amount big or
    11             small for a charity very -- at that
    12             time before -- before, you know, the
    13             started -- you know, before -- when it
    14             was very active, respected foundation.
    15             So people -- people, you know, in this
    16             country, you know, normally like in
    17             other country, you know, they -- you
    18             know, they -- they want to donate for
    19             good reason, and that's -- at that
    20             time it was, you know -- it seems to
    21             have -- you know, they have done
    22             positive.
    23                     But of course I wouldn't know
    24             myself that how much total money any
    25             foundation or any charity has.



   Golkow Litigation Services                                        Page 108
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 110 of Review
                                                    Confidentiality     392


     1     QUESTIONS BY MR. CARTER:
     2             Q.      I understand that as general
     3     manager you wouldn't know the particular
     4     details in realtime about an account.
     5                     But given what you've said
     6     about the bank's concerns about Al-Haramain
     7     following 9/11, did you as general manager
     8     ever ask anyone to provide you with
     9     information about the number of accounts and
    10     the amount of money that the bank had moved
    11     for Al-Haramain?
    12                     MR. CURRAN:      Objection as to
    13             form.
    14                     THE WITNESS:      What I know is
    15             that this information being collected
    16             and being provided to the Central
    17             Bank, the SAMA.      That's what I know.
    18             This is for sure.
    19                     Now, all these information, all
    20             these amount, all these statements
    21             went to SAMA at that time to -- you
    22             know, because when the suspicious
    23             started about -- about Al-Haramain.
    24             And we sent it in time.        We ask about
    25             any inquiries coming.        We put all the



   Golkow Litigation Services                                        Page 109
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 111 of Review
                                                    Confidentiality     392


     1             resource.    You know, any response come
     2             to us, we have a team and, as I said,
     3             you know, we're proud of the way we
     4             were doing things, we were fast, and
     5             we were coming back.       And, you know,
     6             we were happy from our contribution to
     7             help, you know, in understanding, you
     8             know, what's happening in these -- in
     9             these charities.
    10     QUESTIONS BY MR. CARTER:
    11             Q.      And when you sent your letter
    12     in 2003, SAMA would not have directly
    13     available to it information concerning the
    14     transactions that were carried out through
    15     the accounts, correct?
    16             A.      In 2003?
    17             Q.      Correct.
    18             A.      I don't know.      And I would -- I
    19     would assume -- again, I can't recall.            You
    20     know, we're talking about things more than
    21     20 years, you know, and they were not working
    22     in each statement or each account.           It's
    23     own -- it's most likely there is a contact
    24     between the relevant people in Central Bank
    25     and the relevant people in the bank.



   Golkow Litigation Services                                        Page 110
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 112 of Review
                                                    Confidentiality     392


     1                     But, again, from what I
     2     understand today, no information been given
     3     before that date.       That's what I would -- you
     4     know, how I expect.
     5             Q.      But as part of your assessment
     6     whether or not the bank should continue to
     7     deal with Al-Haramain, do you recall any
     8     effort in the 2003 to 2004 time period to
     9     conduct any audit of the 2 billion or so
    10     riyals that moved into and out of the
    11     Al-Haramain accounts of your bank?
    12                     MR. CURRAN:      Objection.     Lack
    13             of foundation.
    14                     You may answer.
    15                     THE WITNESS:      Yeah, can you ask
    16             again, please?
    17                     MR. CARTER:      Sure.    Can you
    18             read it back?
    19                     (Court Reporter read back
    20             question.)
    21                     THE WITNESS:      You know, as I --
    22             as I said before, I didn't remember
    23             whether we had done or not any
    24             specific audit for Al-Haramain, but --
    25             but as I answered before, we have sent



   Golkow Litigation Services                                        Page 111
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 113 of Review
                                                    Confidentiality     392


     1             all the information needed.         We have
     2             done a lot of auditing and checking.
     3             Some of these went -- but I can't give
     4             a specific answer about whether this
     5             has been done or not.
     6     QUESTIONS BY MR. CARTER:
     7             Q.      And do you recall whether the
     8     bank initiated any inquiry to determine
     9     whether or not the bank had complied with its
    10     own anti-money laundering protocols with
    11     regard to the opening and maintenance of the
    12     Al-Haramain accounts?
    13                     MR. CURRAN:      Objection as to
    14             form.
    15                     You may answer.
    16                     THE WITNESS:      You know, it's
    17             the same answer.      With the bank, you
    18             know, for their audit department, for
    19             their compliance, for the audit
    20             committee, for bringing a third party
    21             coming and auditing the bank, they
    22             would -- they would -- you know, they
    23             would do this -- this is a normal
    24             practice for the bank, you know, to
    25             check whether there are any missing or



   Golkow Litigation Services                                        Page 112
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 114 of Review
                                                    Confidentiality     392


     1             any enrollment need to be done.
     2             Specifically -- yeah, sorry.
     3     QUESTIONS BY MR. CARTER:
     4             Q.      So you don't know whether
     5     that -- any of that kind of work was done
     6     with regard to the Al-Haramain accounts?
     7                     MR. CURRAN:      Objection as to
     8             form.   Lack of foundation.
     9                     THE WITNESS:      I cannot -- as I
    10             said before, I don't recall -- I
    11             cannot confirm it.       I cannot say
    12             that it happened.       So I'm not -- you
    13             know, it's -- yes, I cannot confirm
    14             it.
    15                     (Al Rajhi Exhibit ARB 32 marked
    16             for identification.)
    17     QUESTIONS BY MR. CARTER:
    18             Q.      And if we can, can we mark as
    19     the next exhibit the spreadsheet at Tab 2?
    20     And this will be ARB --
    21                     JON KNOWLES:      32.
    22     QUESTIONS BY MR. CARTER:
    23             Q.      -- 32.
    24                     MR. CURRAN:      Mr. Carter, at
    25             some convenient point soon, we should



   Golkow Litigation Services                                        Page 113
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 115 of Review
                                                    Confidentiality     392


     1             consider taking a break.         I think it's
     2             been almost two hours.        I think maybe
     3             it's been over two hours.
     4                     MR. CARTER:      Sure.    Let me just
     5             ask a few questions about this, Chris,
     6             and then we'll go ahead.         Okay?
     7                     MR. CURRAN:      Sure.
     8     QUESTIONS BY MR. CARTER:
     9             Q.      Okay.    Mr. Al Rajhi, this is a
    10     spreadsheet that, again, we prepared
    11     summarizing the accounts for which we
    12     received statements from ARB relating to the
    13     Islamic -- the International Islamic Relief
    14     Organization at the time period they were
    15     active and the total deposits and withdrawals
    16     that flowed through those accounts.
    17                     And again, there's a bit of
    18     discrepancy.      Based on the review of the
    19     discovery, we've identified 287 accounts, and
    20     if I recall correctly, Mr. Galloway indicated
    21     that the bank had identified 308 accounts.
    22     This just covers the 287 that we identified.
    23                     And turning to the last page,
    24     our review reflects that about 2.974 billion
    25     riyals moved in to the 287 IIRO accounts



   Golkow Litigation Services                                        Page 114
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 116 of Review
                                                    Confidentiality     392


     1     between 1998 and 2002, and about 2.91 billion
     2     moved out of them.
     3                     Do you see those figures?
     4             A.      Yes.    Yes, I see it.
     5             Q.      And again, as I asked you about
     6     with Al-Haramain, do you recall ever
     7     requesting in the aftermath of 9/11 when
     8     concerns were raised about certain charities,
     9     that someone review the IIRO accounts and
    10     provide you information with regard to the
    11     number of accounts and the amount of money
    12     that moved through them?
    13                     MR. CURRAN:      Objection as to
    14             form.   Lack of foundation.
    15                     You may answer.
    16                     THE WITNESS:      This I will -- my
    17             answer would be the same as Haramain
    18             one.    I wouldn't know as -- you know,
    19             about -- about these amounts.          I
    20             haven't, you know -- but -- so, you
    21             know, I cannot -- it's not expected
    22             for -- for the -- for the general
    23             manager or the CEO to -- to see that
    24             amount and see how much money.          It's a
    25             process.    There's a system, process.



   Golkow Litigation Services                                        Page 115
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 117 of Review
                                                    Confidentiality     392


     1                     You know, we go and -- first,
     2             you know, these -- all -- you know,
     3             this is one of the organization all of
     4             the information gets sent to the SAMA
     5             from the beginning, you know.          So all
     6             the transaction.      And so I'm sure
     7             that, you know, between our people and
     8             SAMA, you know, they have sent all the
     9             information, all these details are
    10             available.
    11                     Again, if there was any
    12             suspicious transaction, could -- but
    13             not -- would have been reported, you
    14             know, because that transaction is a
    15             suspicious transaction.
    16                     Again, to -- you know, I would
    17             expect, again, that our audit
    18             committee and our audit department,
    19             our compliance people, we would do
    20             normal, you know, review and checking
    21             about -- because it's -- as I said
    22             before, you know, it's not only the
    23             bank consider themself like this, but
    24             even we bring third party to come and
    25             we always applied the best compliance



   Golkow Litigation Services                                        Page 116
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 118 of Review
                                                    Confidentiality     392


     1             standard at the time there.
     2                     Also we -- from time to time,
     3             you know, we have created systems.           We
     4             always invest in our system because --
     5             and making sure that our systems are
     6             capable.    And as we know these things
     7             are evolving, changing, so always we
     8             are -- and again, we are -- and happy
     9             today we believe that our -- you know,
    10             our governance is one of the best in
    11             compliance.
    12     QUESTIONS BY MR. CARTER:
    13             Q.      Mr. Al Rajhi, we've asked for
    14     Al Rajhi Bank to produce any audit from the
    15     1998 to 2004 time period that touched upon
    16     any of these IIRO accounts, and we haven't
    17     received any.      So it's our understanding that
    18     there are no audits related to these accounts
    19     that moved about 2.9 billion riyals.
    20                     Do you have contrary
    21     information to suggest that there was ever an
    22     audit touching on any of these accounts?
    23                     MR. CURRAN:      Objection as to
    24             form.   Lack of foundation and asked
    25             and answered.



   Golkow Litigation Services                                        Page 117
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 119 of Review
                                                    Confidentiality     392


     1                     You may answer.
     2                     THE WITNESS:      As, again, I
     3             cannot -- I cannot recall whether
     4             being done or not, number one.
     5                     Number two, all of these -- you
     6             know, all of this information about
     7             this customer is being sent on time,
     8             you know, to SAMA, okay, about -- you
     9             know, and again, if any of these
    10             transaction was suspicious, we would
    11             have reported these transactions.
    12                     Now, is there any audit being
    13             done specifically to one customer
    14             account, I cannot tell you whether
    15             this is being done or not.
    16     QUESTIONS BY MR. CARTER:
    17             Q.      And to be clear, I wasn't
    18     referring to just audits that were focused
    19     exclusively, but audits that in any way
    20     touched upon these accounts.
    21                     Are you aware of the existence
    22     of any audit of any of the IIRO accounts?
    23                     MR. CURRAN:      Objection.     Vague.
    24                     You may answer.
    25                     THE WITNESS:      No.   No way to



   Golkow Litigation Services                                        Page 118
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 120 of Review
                                                    Confidentiality     392


     1             remember this after 20 years whether
     2             that, you know, being done or not for
     3             a specific time.      No, I cannot
     4             remember.
     5     QUESTIONS BY MR. CARTER:
     6             Q.      And we've also asked for any
     7     suspicious activity reports relating to any
     8     of the 2.9 billion dollars {sic} in
     9     transactions that were carried out through
    10     these accounts, and we've not received any.
    11                     Do you know whether there were
    12     any suspicious activity reports ever filed in
    13     relation to these accounts?
    14             A.      No --
    15                     MR. CURRAN:      Objection as to
    16             form.
    17                     You may answer.
    18                     THE WITNESS:      Yeah, Mr. Carter,
    19             you know, the same.       It's really --
    20             you know, I'm not in a position now
    21             to -- to give you a specific answer
    22             for one specific account anything
    23             being reported or not.        No, I
    24             cannot -- you know, I cannot.          I'm not
    25             in the position to know whether it's



   Golkow Litigation Services                                        Page 119
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 121 of Review
                                                    Confidentiality     392


     1             being done or not.
     2     QUESTIONS BY MR. CARTER:
     3             Q.      And again, do you recall after
     4     September 11, 2001, whether you ever asked
     5     anyone at the bank to conduct any kind of
     6     review of the IIRO accounts to determine
     7     whether or not there were any risks or
     8     problems with the way they were opened or
     9     operated?
    10                     MR. CURRAN:      Objection as to
    11             form.
    12                     You may answer.
    13                     THE WITNESS:      No.   No.    You
    14             know, I know that for this charity,
    15             after September 11, all the
    16             information being discussed and being
    17             given and being provided to SAMA.
    18                     So if -- whether -- you know,
    19             when you give it to Central Bank for
    20             it to be reviewed and giving all the
    21             information, that's -- you know,
    22             whether you call it audit or not
    23             audit, but that's -- the job is being
    24             done.
    25




   Golkow Litigation Services                                        Page 120
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 122 of Review
                                                    Confidentiality     392


     1     QUESTIONS BY MR. CARTER:
     2             Q.      And what --
     3             A.      Yeah, sorry.
     4             Q.      I'm sorry.
     5                     What information related to
     6     these accounts do you recall having been
     7     given to SAMA?
     8             A.      What information?       What do you
     9     mean by "what information," Mr. Carter?
    10             Q.      You said "all of this
    11     information was given to SAMA."
    12                     What did you mean?
    13             A.      Well, I mean the statement of
    14     the accounts, you know, of any, you know,
    15     more information about for sometimes the
    16     statements -- again, I'm not saying this is
    17     what happened, but this is, you know -- could
    18     be operation things that you send the
    19     statements, then they are more interested in
    20     one transaction, they want to see the
    21     original or the transaction details of that
    22     transaction so they have full details about,
    23     you know, the beneficiary or about the
    24     payment or -- so -- so, you know, I need more
    25     details because it started with sending over



   Golkow Litigation Services                                        Page 121
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 123 of Review
                                                    Confidentiality     392


     1     everything about -- and then, of course, you
     2     keep receiving more inquiries and then -- as
     3     I said, you know, as a bank, it was very busy
     4     time and we have relocated big resource in
     5     the bank, and we did very good job in
     6     responding on time.        Because time was
     7     important at that time.         And we -- and we
     8     have been told that we need to get to this
     9     quick and we are reporting in time saying,
    10     you know, these are -- any future inquiry or
    11     more details inquiry.
    12                     So I don't know whether you
    13     want to call this audit or you want to call
    14     it not audit, or if this is enough or
    15     something, I cannot.        But I know we have done
    16     everything can be done about any of, let us
    17     say, charity that there is a suspicious about
    18     it.
    19             Q.      And I'm just -- again, I'm just
    20     trying to clarify, Mr. Al Rajhi.
    21                     During the 2001 to 2004 time
    22     period, do you recall whether all of the
    23     transaction information for the IIRO accounts
    24     was, in fact, sent to SAMA, or are you just
    25     speculating that it may have been?



   Golkow Litigation Services                                        Page 122
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 124 of Review
                                                    Confidentiality     392


     1                     MR. CURRAN:      Objection as to
     2             form.
     3                     But you may answer.
     4                     THE WITNESS:      Yeah, I would say
     5             most likely now after 20 -- because I
     6             know they were interested in charity,
     7             including this one, but if you asked
     8             me now, you know, this I need -- you
     9             know, but I would say most likely that
    10             was -- that was the case.
    11     QUESTIONS BY MR. CARTER:
    12             Q.      Do you recall when that would
    13     have occurred?
    14             A.      No, I can't recall which, but
    15     after September 11.
    16             Q.      And what about Al-Haramain?          Do
    17     you recall whether the bank sent all of the
    18     transaction information related to
    19     Al-Haramain to SAMA?
    20             A.      I know that, yes, SAMA was
    21     interested to know everything about the
    22     transaction for the Al-Haramain, and we have
    23     sent all information they were asking about.
    24             Q.      And when did that happen?
    25             A.      After September 11.        I can't



   Golkow Litigation Services                                        Page 123
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 125 of Review
                                                    Confidentiality     392


     1     recall, you know, which month, which years.
     2             Q.      And do you recall whether it
     3     happened at any point before 2004?
     4             A.      Yeah.    Most likely, yes,
     5     because, you know, 2000 -- I think by that
     6     time already being closed, so -- so -- so I
     7     would expect, yes, before 2004.
     8             Q.      The two letters we referred to
     9     earlier, your January 3rd -- your January 4,
    10     2003 and January 26, 2003 letter don't refer
    11     to any transaction information that had been
    12     provided to SAMA, correct?
    13             A.      Which letter are you referring
    14     to?
    15             Q.      The first is the January 6,
    16     2004 letter.
    17             A.      Yes.    No, that's --
    18             Q.      And January --
    19             A.      No, that's -- that's about
    20     something else.      Yeah, this is -- this is
    21     about, you know, as I said, you know,
    22     these -- their branches were under -- being
    23     closed overseas and wanted to know whether we
    24     continue doing business or not.           So this was
    25     not about -- about information, whether



   Golkow Litigation Services                                        Page 124
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 126 of Review
                                                    Confidentiality     392


     1     information you send or not send.           This is
     2     totally different -- different matter, I know
     3     it.
     4             Q.      In discovery we've sought any
     5     communications with SAMA related to these
     6     charities through 2004, and we've not seen
     7     any communication related to the provision of
     8     transaction information to SAMA for
     9     Al-Haramain or IIRO.
    10                     Do you know, in fact, whether
    11     or not that information was sent before 2004?
    12             A.      As I said, I think, yes.         But,
    13     again, you know, these things, normally they
    14     don't send a letter.        I didn't even -- I
    15     didn't need to see it.        It's the relevant
    16     people in SAMA working with the relevant
    17     compliance team in the bank, and working in
    18     this -- it's not -- it would not be -- it
    19     would not be like letter come to me and then
    20     of course it's working directly together.
    21             Q.      Do you know whether SAMA
    22     actually conducted any review of the
    23     transaction history for the Al-Haramain
    24     accounts?
    25             A.      Of course I -- you know, I --



   Golkow Litigation Services                                        Page 125
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 127 of Review
                                                    Confidentiality     392


     1     SAMA does not discuss with any bank, you
     2     know, what they review, what they have done.
     3     Our job to give them information with the
     4     full details and work closely with them for a
     5     little bit more information and more details
     6     to be given.
     7                     And then I know of course we
     8     knew that they have decided to close down
     9     Haramain.     Now, what information and what --
    10     this is normally given to the bank
    11     information.
    12                     MR. CARTER:      Okay.    Chris, this
    13             is a fine time for a break.         How long
    14             do you want to take?
    15                     MR. CURRAN:      I would like to
    16             keep it to just ten minutes, if that's
    17             okay.
    18                     THE WITNESS:      Yeah, for me.
    19                     MR. CARTER:      That's fine.
    20                     MR. CURRAN:      Okay.
    21                     VIDEOGRAPHER:      Off the record.
    22             4:49 p.m.
    23              (Off the record at 4:49 p.m.)
    24                     VIDEOGRAPHER:      On the record.
    25             5:03 p.m.



   Golkow Litigation Services                                        Page 126
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 128 of Review
                                                    Confidentiality     392


     1     QUESTIONS BY MR. CARTER:
     2             Q.      Mr. Al Rajhi, we've spoken a
     3     bit about the bank's interaction with SAMA
     4     relating to the charities.
     5                     Do you recall whether SAMA ever
     6     raised any concern to the bank about
     7     Al-Haramain during the 1998 to September 11,
     8     2001 time period?
     9             A.      I mean, SAMA, as I said, they
    10     were -- after September 11, they were, you
    11     know, coming to the banks and asking for all
    12     information.
    13                     So whether this, you call it
    14     concern, but definitely there was a concern,
    15     and this is why they were -- you know, they
    16     wanted to know everything about it.            They
    17     want to see every document.          They wanted to
    18     check of us.      So SAMA was active.
    19             Q.      I'm asking in the period before
    20     September 11, 2001, Mr. Al Rajhi.
    21                     Do you recall whether SAMA ever
    22     raised concerns to Al Rajhi Bank about
    23     Al-Haramain Islamic Foundation?
    24             A.      No.
    25                     MR. CURRAN:      Starting in 1998.



   Golkow Litigation Services                                        Page 127
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 129 of Review
                                                    Confidentiality     392


     1                     THE WITNESS:      Yeah.    No, I'm
     2             not -- I don't recall any -- before
     3             September 11, there was any concern
     4             from SAMA.     I think -- I'm not.
     5     QUESTIONS BY MR. CARTER:
     6             Q.      And you've had extensive
     7     dealings over your career with SAMA, correct?
     8             A.      Well, I did like for general
     9     manager for bank.
    10             Q.      Do you know whether SAMA was
    11     part of the Saudi government?
    12             A.      Part of the Saudi government?
    13     SAMA is the Central Bank of Saudi Arabia.
    14             Q.      Okay.    And given that it's
    15     Central Bank, it's your understanding that
    16     it's part of the Saudi government?
    17                     MR. CURRAN:      Objection as to
    18             form.
    19                     You may answer.
    20                     THE WITNESS:      Well, I'm not --
    21             I think, yes, Central Bank, they like
    22             to be independent, but they are part
    23             of the government.
    24     QUESTIONS BY MR. CARTER:
    25             Q.      And again, you have no



   Golkow Litigation Services                                        Page 128
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 130 of Review
                                                    Confidentiality     392


     1     recollection of having received yourself any
     2     information that SAMA expressed concerns
     3     about Al-Haramain at any point prior to
     4     2001 -- September 11, 2001, correct?
     5                     MR. CURRAN:      Objection as to
     6             form as to time frame.
     7                     You may answer.
     8                     THE WITNESS:      Yeah, I don't
     9             recall that I received any concern
    10             from SAMA before September 11 about
    11             Al-Haramain.
    12     QUESTIONS BY MR. CARTER:
    13             Q.      And in the aftermath of the
    14     September 11 attack, you went to SAMA in
    15     writing to request advice as to whether or
    16     not the bank should continue to deal with
    17     Al-Haramain, correct?
    18             A.      Yes.
    19             Q.      And do you recall SAMA ever in
    20     response to those letters in 2004 raising any
    21     objection to the bank continuing to deal with
    22     Al-Haramain?
    23                     MR. CURRAN:      Objection as to
    24             form.
    25                     You may answer.



   Golkow Litigation Services                                        Page 129
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 131 of Review
                                                    Confidentiality     392


     1                     THE WITNESS:      No, as I said, I
     2             didn't recall if SAMA answered this
     3             letter, but I'm not aware of any
     4             rejection came from SAMA prior to
     5             their closing their branches.
     6     QUESTIONS BY MR. CARTER:
     7             Q.      And you spoke at some length
     8     about the ways that the bank goes about
     9     diligenting its accounts, and I think you
    10     referred to suspicious activity reporting and
    11     functions of the audit committee, correct?
    12             A.      Yes.
    13             Q.      And do you agree that the
    14     effectiveness of the bank's anti-money
    15     laundering protocols depends on the personnel
    16     actually adhering to those protocols?
    17             A.      Yes, I would say the bank is
    18     always doing its best to adhere to the -- to
    19     these standards or protocols.
    20             Q.      Okay.    And those would include
    21     the requirements for onboarding new accounts,
    22     opening new accounts, the know your customer
    23     rules and the suspicious activity reporting
    24     obligations, correct?
    25                     You've frozen.       I'm sorry, you



   Golkow Litigation Services                                        Page 130
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 132 of Review
                                                    Confidentiality     392


     1     froze for a minute there, Mr. Al Rajhi, so I
     2     didn't quite catch your answer.
     3             A.      No, I was saying that, yes, the
     4     bank was always, you know, trying to make
     5     sure that it adhered to all these
     6     requirements.
     7             Q.      And failure to adhere to those
     8     requirements creates a money laundering
     9     vulnerability, correct?
    10                     MR. CURRAN:      Objection as to
    11             form.
    12                     You may answer.
    13                     THE WITNESS:      Yeah, everything,
    14             including money laundering, yes.
    15     QUESTIONS BY MR. CARTER:
    16             Q.      And again, do you recall during
    17     this time period that you were raising issues
    18     with SAMA about Al-Haramain in 2003 and 2004,
    19     whether you ever asked anyone to collect any
    20     suspicious activity reports that had been
    21     filed with regard to Al-Haramain
    22     transactions?
    23             A.      Yeah, I think I already
    24     answered this before.        You know, we were
    25     sending, you know, all the information based



   Golkow Litigation Services                                        Page 131
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 133 of Review
                                                    Confidentiality     392


     1     on SAMA request for everything about
     2     Al-Haramain.      So we -- you know, we were
     3     doing this.
     4                     (Al Rajhi Exhibit ARB 33 marked
     5             for identification.)
     6     QUESTIONS BY MR. CARTER:
     7             Q.      If we can mark as the next
     8     exhibit the document at Tab 15.           Which is
     9     going to be Exhibit ARB 33.
    10                     Is this a letter that you
    11     signed in February of 2004?
    12                     MR. CURRAN:      Mr. Carter, wasn't
    13             this -- let me ask the question.          Is
    14             this exhibit different from a very
    15             similar exhibit you used in the
    16             Galloway deposition?
    17                     MR. CARTER:      Chris, I think the
    18             issue is that given the scope of the
    19             changes, due to the removal of
    20             redactions in documents, we were
    21             having trouble figuring out which were
    22             identical or not identical and so
    23             we're just going to go ahead and mark
    24             things sequentially.
    25                     MR. CURRAN:      Okay.



   Golkow Litigation Services                                        Page 132
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 134 of Review
                                                    Confidentiality     392


     1                     THE WITNESS:      So this is the
     2             Arabic one here and --
     3                     MR. CURRAN:      Yeah, there's the
     4             Arabic.
     5                     THE WITNESS:      Okay.    Yes.
     6     QUESTIONS BY MR. CARTER:
     7             Q.      And did you, in fact, send this
     8     letter?
     9             A.      Yes, my name and my signature
    10     is there.
    11             Q.      Do you recall who actually
    12     prepared the draft of this letter that you
    13     signed?
    14             A.      Yeah, I can see here.        This is
    15     initialed by our legal department.
    16             Q.      And who in the legal department
    17     initialed it?
    18             A.      From what I can read here, the
    19     head of legal department.         His name is Saleh
    20     Jabur {phonetic} at that time.
    21             Q.      And is he still with the bank?
    22             A.      No, he's not.
    23             Q.      And this letter is addressed to
    24     the Minister of Islamic Affairs, Sheikh Saleh
    25     bin Abdul-Aziz bin Mohamed Al ash-Sheikh,



   Golkow Litigation Services                                        Page 133
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 135 of Review
                                                    Confidentiality     392


     1     correct?
     2             A.      Yes, it's correct.
     3             Q.      And in the letter you also
     4     refer to him as the general supervisor of the
     5     Al-Haramain Islamic Foundation.
     6                     Do you see that?
     7             A.      Yes.
     8             Q.      Do you recall what information
     9     the bank had at the time indicating that he
    10     was the general supervisor of the Al-Haramain
    11     Islamic Foundation?
    12             A.      I think this is, again, being
    13     prepared by our legal department because he
    14     has this position.       Must be, you know, what I
    15     would -- with this letter that be -- this is
    16     his -- he has this position, general
    17     supervision, Al-Haramain Islamic Foundation.
    18             Q.      In this time period when you
    19     wrote the letter in 2004, did you know Sheikh
    20     Saleh bin Abdul-Aziz bin Mohamed Al
    21     ash-Sheikh?
    22             A.      No.    Of course I know about
    23     him, but -- but so he was the minister,
    24     but -- but the question did I know him by
    25     this letter personally, no, I didn't know



   Golkow Litigation Services                                        Page 134
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 136 of Review
                                                    Confidentiality     392


     1     him.
     2             Q.      Okay.    Do you recall whether
     3     you had ever met him in person prior to this
     4     point in time?
     5             A.      During this period or after?
     6             Q.      Prior.
     7             A.      Prior.
     8                     Prior, no, I -- I didn't
     9     recall, you know.       It could be -- maybe in,
    10     you know, without noticing and some section
    11     or something like this, but I don't remember
    12     I met him in person.
    13             Q.      Do you know whether your
    14     father, Sulaiman Abdul Aziz Al Rajhi knew
    15     Minister of Islamic Affairs Sheikh Saleh bin
    16     Abdul-Aziz bin Mohamed Al ash-Sheikh during
    17     this period?
    18             A.      I don't know.
    19             Q.      So you don't know whether or
    20     not your father had ever met him at any point
    21     up to 2004?
    22             A.      Up to 2004, yes, I'm not -- I
    23     don't know that I had met him or not.
    24             Q.      And in the letter you advise
    25     Minister Al ash-Sheikh that, "since there is



   Golkow Litigation Services                                        Page 135
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 137 of Review
                                                    Confidentiality     392


     1     no permit from the competent agencies for the
     2     Al-Haramain Islamic Foundation to operate the
     3     charity work according to the documents
     4     provided by the Al-Haramain Islamic
     5     Foundation to the company when opening its
     6     accounts, please authorize your competent
     7     agency to issue the required permit."
     8                     Do you see that?
     9             A.      Yes.    Yes, I see it.
    10             Q.      And do you know what prompted
    11     you to write the letter raising that issue?
    12             A.      No, I think when I look at the
    13     date, 2004, this letter must be, again, a
    14     reaction from the bank and proactive from the
    15     bank after the closing down of Al-Haramain
    16     branches overseas.
    17                     So this letter must be from our
    18     legal department, you know.          And this is the
    19     same, as I said, we send also to SAMA at the
    20     same time, you know.        So that's -- that's why
    21     the letter is being sent.
    22             Q.      And according to the
    23     information provided by your legal
    24     department, the bank did not have any permit
    25     for Al-Haramain Islamic Foundation to conduct



   Golkow Litigation Services                                        Page 136
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 138 of Review
                                                    Confidentiality     392


     1     charity work when it opened the accounts for
     2     Al-Haramain, correct?
     3                     MR. CURRAN:      Objection as to
     4             form.   Lack of foundation.
     5                     You may answer.
     6                     THE WITNESS:      No, I -- I know
     7             that we have -- we have approval, you
     8             know, goes back to the beginning of
     9             Al-Haramain.     So there was -- there
    10             was a permit, permission from -- to
    11             have -- to have from the beginning.
    12                     Now, you are right.        Here there
    13             is no permit from the competent
    14             agencies for the Al-Haramain Islamic
    15             Foundation to operate.        You know, I
    16             didn't think this was accurate because
    17             the bank had the license but also at
    18             the same time SAMA came with the new
    19             circulars before this letter, you
    20             know, with a new regulation for the
    21             charities, including the -- you know,
    22             that's who are all involved.
    23                     That's all I know it's about
    24             Al-Haramain, so this letter is being
    25             sent, you know, to -- to get, in other



   Golkow Litigation Services                                        Page 137
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 139 of Review
                                                    Confidentiality     392


     1             words, new -- I would say new -- new
     2             approval or new permit office based on
     3             the news.
     4                     Because, you know, if you have
     5             a charity here and you know there are
     6             branches overseas being closed, then
     7             you ask yourself, you know, without
     8             still I need -- you go -- as part of,
     9             you know, becoming proactive, go back
    10             to the same one who gave us and say,
    11             okay, you know, do I need -- you know,
    12             is this approval still there, but
    13             maybe, yes, the words here, it's
    14             not -- there's no permit, I think it's
    15             not accurate.
    16     QUESTIONS BY MR. CARTER:
    17             Q.      Okay.    But you agree with me
    18     that the letter represents that there was no
    19     permit from the competent agencies for
    20     Al-Haramain Islamic Foundation to operate the
    21     charity work according to the documents
    22     provided by the Al-Haramain Islamic
    23     Foundation to the company when opening its
    24     accounts.
    25                     Correct?     It says that?



   Golkow Litigation Services                                        Page 138
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 140 of Review
                                                    Confidentiality     392


     1             A.      Yes.    Yeah.    It said that, yes.
     2             Q.      And the reference to the
     3     company there is a reference to Al Rajhi
     4     Bank, correct?
     5             A.      Al-Haramain Islamic Foundation,
     6     the -- yes, this is referring to the bank.
     7             Q.      Okay.    And the requirement for
     8     the bank to have a permit for charitable
     9     organizations in order to open an account
    10     wasn't a new requirement after 9/11.            It
    11     existed prior to 9/11, correct?
    12             A.      That -- the requirement was
    13     existing before September and the permission
    14     was before September 11.
    15             Q.      And are you aware that Minister
    16     of Islamic Affairs Saleh bin Abdul-Aziz Al
    17     ash-Sheikh has testified in this litigation?
    18             A.      No, I'm not familiar with this.
    19             Q.      And have you ever spoken to him
    20     about this litigation?
    21             A.      No, I never spoke to him about
    22     this litigation.
    23             Q.      If we can mark as the next
    24     exhibit the transcript at -- actually, I'm
    25     sorry, let's not mark this as an exhibit.             It



   Golkow Litigation Services                                         Page 139
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 141 of Review
                                                    Confidentiality     392


     1     contains confidential information,
     2     potentially FBI material.         So -- okay.     I'm
     3     sorry.    The exhibit is actually only the
     4     excerpted pages from the transcript, so it's
     5     fine, we can mark it as an exhibit.
     6                     MR. CURRAN:      I would like some
     7             clarification, Mr. Carter.         Did you
     8             say that this may be subject to the
     9             FBI protective order?
    10                     MR. CARTER:      I wasn't entirely
    11             sure, but the pages that we are
    12             marking are not.
    13                     MR. CURRAN:      Okay.    Well, we're
    14             at your mercy.      We can't confirm that
    15             right now, so...
    16                     JON KNOWLES:      What's the tab
    17             number?
    18                     MR. CURRAN:      I think that was a
    19             question for you, Mr. Carter.
    20                     MR. CARTER:      Yeah, we're just
    21             doubly confirming that we don't have
    22             any issue with the marking of this.
    23                     MR. CURRAN:      Okay.    While
    24             you're doing that, Mr. Carter, just to
    25             be clear, we have people in the room



   Golkow Litigation Services                                        Page 140
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 142 of Review
                                                    Confidentiality     392


     1             and presumably on the line who are not
     2             signed on to the FBI protective order.
     3                     MR. CARTER:      Yeah, understood.
     4                     MR. CURRAN:      Including the
     5             witness.
     6                     MR. CARTER:      To be safe, we're
     7             going to refrain from marking the
     8             exhibit right now.
     9     QUESTIONS BY MR. CARTER:
    10             Q.      But I'm going to represent to
    11     you that Minister Al ash-Sheikh was asked
    12     whether or not he ever held a position with
    13     the Al-Haramain Islamic Foundation, and he
    14     testified no, and was asked whether he was
    15     ever involved in any activities of the
    16     Al-Haramain Islamic Foundation, and testified
    17     no.
    18                     Is that testimony consistent
    19     with your understanding, Mr. Al Rajhi?
    20                     MR. CURRAN:      Objection as to
    21             form.
    22                     You may answer.
    23                     THE WITNESS:      No, I have no
    24             idea about how or whether he's
    25             involved or not, but I know, you know,



   Golkow Litigation Services                                        Page 141
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 143 of Review
                                                    Confidentiality     392


     1             we have received a letter from -- from
     2             him having this title.        So that's
     3             what -- you know, this is why we send
     4             the letter with the title because
     5             letter coming from -- you know, from
     6             him having -- having that -- you know,
     7             the same title we use in our letter we
     8             send it to him.
     9     QUESTIONS BY MR. CARTER:
    10             Q.      Okay.    And he also testified
    11     during his deposition that Al-Haramain had
    12     worked without a permit and was not licensed,
    13     and that as a result, it was ultimately shut
    14     down because it had been operating without a
    15     permit or a license.
    16                     Is that consistent with your
    17     understanding of Al-Haramain's status?
    18                     MR. CURRAN:      Objection as to
    19             form.
    20                     You may answer.
    21                     THE WITNESS:      No, you know,
    22             Al-Haramain had a license, as I said
    23             before.    So it was -- it had a
    24             license.    When they opened the account
    25             with us, there was a license which as



   Golkow Litigation Services                                        Page 142
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 144 of Review
                                                    Confidentiality     392


     1             I -- which as I refer to before.
     2     QUESTIONS BY MR. CARTER:
     3             Q.      The minister testified that
     4     Al-Haramain was instituting and worked
     5     without a license and performed work without
     6     governance.
     7                     Again, did you ever -- is it
     8     your understanding that Al-Haramain was
     9     operating without a license and governance?
    10                     MR. CURRAN:      Objection as to
    11             form.
    12                     And to be clear, my objection
    13             relates to this summary of a different
    14             witness' testimony, but the witness
    15             may answer.
    16                     THE WITNESS:      You know, I --
    17             again, I have -- I didn't know nothing
    18             about Al-Haramain -- how Al-Haramain
    19             operate or they have or they didn't
    20             have.   This is I'm not aware of it.
    21                     You know, again, you know,
    22             please, Mr. Carter, we are a bank, you
    23             know.   We do our job as a bank in
    24             working with Al-Haramain charity as
    25             well as many, many other charities.



   Golkow Litigation Services                                        Page 143
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 145 of Review
                                                    Confidentiality     392


     1             And our job is to do their banking
     2             facilities, the banking -- we will
     3             facilitate their banking work, but we
     4             didn't involve or we didn't have
     5             enough information about, you know,
     6             whether their -- you know, whether
     7             their -- you know, how -- their policy
     8             inside or their procedures or, you
     9             know, who is taking the title other
    10             than what -- what the bank document
    11             shows, which is -- which is normally
    12             part of opening the account for any
    13             charity.
    14     QUESTIONS BY MR. CARTER:
    15             Q.      Well, I'm asking, the minister
    16     has obviously offered testimony or has
    17     offered testimony, I'll represent to you, in
    18     this case, that Al-Haramain operated without
    19     a permit and a license, and if that is
    20     accurate, it would mean that Al Rajhi Bank
    21     was maintaining accounts for an entity that
    22     was not licensed to engage in charity work.
    23                     And is it your understanding
    24     that Al-Haramain was, in fact, licensed?
    25             A.      Yes, that's my understanding.



   Golkow Litigation Services                                        Page 144
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 146 of Review
                                                    Confidentiality     392


     1                     MR. SHEN:     This is Andy Shen.
     2             Objection to form.
     3                     (Al Rajhi Exhibit ARB 34 marked
     4             for identification.)
     5     QUESTIONS BY MR. CARTER:
     6             Q.      If we can mark as the next
     7     exhibit the document at Tab 99.
     8                     Mr. Al Rajhi, this is a letter
     9     that Al-Haramain -- or that Al Rajhi Bank
    10     produced that appears to be directed to you
    11     and from the Minister of Islamic Affairs.
    12                     Do you see that?
    13             A.      Yes.    Let me just -- I think I
    14     have it in Arabic here, just so -- yes.             Yes,
    15     I see it.
    16             Q.      Okay.    And this is -- this is a
    17     letter -- is this a letter responding to your
    18     inquiry about the permit for Al-Haramain?
    19             A.      Yes, he's -- he's referring to
    20     my letter, yes.
    21             Q.      And this -- the Minister of
    22     Islamic Affairs responds to your letter
    23     inquiring as to whether or not Al-Haramain
    24     was permitted, correct?
    25             A.      You know, I can't recall the --



   Golkow Litigation Services                                         Page 145
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 147 of Review
                                                    Confidentiality     392


     1     the number of the letter, but the meaning,
     2     yes.    Because he's referring to letter 633.
     3     I don't know what was the number of my
     4     letter.      So if it is the same letter, it must
     5     be, yes, they're the same.
     6             Q.      And in this letter the Minister
     7     of Islamic Affairs represents to you that, in
     8     fact, Al-Haramain Islamic Foundation is
     9     authorized to practice charity work?
    10             A.      Yes.
    11             Q.      And so on receipt of this
    12     letter, did you understand the Minister of
    13     Islamic Affairs had information available to
    14     him confirming that Al-Haramain was licensed
    15     to practice charity work?
    16             A.      Yeah, and his letter I think
    17     was seen and is authorized to -- I mean,
    18     that's what the letter says.          Authorized to
    19     practice charity work.        It is fine to open an
    20     account for it with the company according to
    21     the regulation and instruction of the Saudi
    22     Arabian -- Saudi Arabian Monetary Authority.
    23                     So maybe it is -- so, yes,
    24     here, he's saying it's -- you know, it's --
    25     it's a -- it's authorizing the bank to do.



   Golkow Litigation Services                                        Page 146
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 148 of Review
                                                    Confidentiality     392


     1                     (Al Rajhi Exhibit ARB 35 marked
     2             for identification.)
     3     QUESTIONS BY MR. CARTER:
     4             Q.      Okay.    And if we can mark as
     5     the next exhibit the document at Tab 17.
     6                     And there is also an Arabic
     7     version of this.
     8                     MR. CURRAN:      This is
     9             Exhibit 35?
    10                     MR. CARTER:      Yes.
    11                     THE WITNESS:      Yeah, here we
    12             have it in English.
    13                     Yes, this is from the justice
    14             ministry.
    15     QUESTIONS BY MR. CARTER:
    16             Q.      Do you recognize this document?
    17             A.      I'm sorry?
    18             Q.      Do you recognize this document?
    19             A.      Yes.    Yes, I recognize it.
    20             Q.      And what is it, as you
    21     understand it?
    22             A.      This is a letter from the
    23     Ministry of Justice talking about the Muslim
    24     World League and the World Assembly of Muslim
    25     Youth, Al-Haramain Islamic Foundation, the



   Golkow Litigation Services                                        Page 147
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 149 of Review
                                                    Confidentiality     392


     1     International Islamic Relief Organization.
     2     You know, he witness for -- as the Minister
     3     of Justice.
     4                     You know, in the top he said
     5     that the Minister of Justice of The Kingdom
     6     of Saudi Arabia confirm that the following
     7     are legally established in Saudi Arabia and
     8     are permitted to operate.
     9             Q.      And so this is a document from
    10     the Minister of Justice confirming that
    11     Al-Haramain Islamic Foundation was, in fact,
    12     licensed to do charity work, correct?
    13             A.      Well, again, you know, we have
    14     approval from the beginning from -- because
    15     SAMA letter is talking about getting the
    16     approval from either Labor Ministry and
    17     Social Affairs or from Islamic Ministry.
    18                     So we have -- you know, we
    19     have -- we have these Islamic Ministry of
    20     Islamic, you know -- before -- before the
    21     noise started coming for Al-Haramain after
    22     the closing of branches overseas, we have it
    23     even years before.
    24             Q.      And, Mr. Al Rajhi, I'm just
    25     trying to clear up some confusion in the



   Golkow Litigation Services                                        Page 148
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 150 of Review
                                                    Confidentiality     392


     1     record because there's testimony indicating
     2     that Al-Haramain Islamic Foundation operated
     3     without a license or a permit, and am I
     4     correct that the bank in 2004 received this
     5     document from the Minister of Justice
     6     indicating that Al-Haramain did, in fact,
     7     have a permit?
     8             A.      Yes, we have -- for
     9     Al-Haramain, this is letter there, but they
    10     have letter also came from -- which is more
    11     relevant to us.      Yes, so that's confirming,
    12     you know, there are -- you know, they are --
    13     you know, they are working -- you know, they
    14     are established in Saudi as they said that --
    15     and they said, you know, here, it's more
    16     general statements.        You know, it has to work
    17     according to the permit and talking to -- to
    18     operate under the laws and regulation.
    19                     The other one is -- yeah, the
    20     other one is more specific.          It's talking
    21     about that, you know, we can have an account
    22     with them.     And again, the second from SAMA
    23     is talking about we should get it from one of
    24     the -- you know, from at least two -- from
    25     other two organization.



   Golkow Litigation Services                                        Page 149
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 151 of Review
                                                    Confidentiality     392


     1             Q.      Okay.    So you -- in addition to
     2     this document from the Minister of Justice,
     3     you also had the letter from the Minister of
     4     Islamic Affairs indicating that Al-Haramain
     5     was, in fact, permitted, correct?
     6             A.      Yes, right.
     7             Q.      And I mentioned to you or you
     8     testified before that your letter to the
     9     Minister of Islamic Affairs included
    10     reference to him as the general supervisor of
    11     Al-Haramain because the bank had some
    12     information indicating that he held that
    13     role.
    14                     Correct?
    15             A.      Yes, some of -- yes.
    16                     (Al Rajhi Exhibit ARB 36 marked
    17             for identification.)
    18     QUESTIONS BY MR. CARTER:
    19             Q.      And if we can mark as the next
    20     exhibit the document at Tab 10.
    21                     This is another document
    22     Al Rajhi Bank produced in discovery dated
    23     January 29, 1997.       It appears to be a letter
    24     from then deputy minister of Islamic Affairs
    25     Saleh bin Abdul-Aziz bin Mohamed Al



   Golkow Litigation Services                                        Page 150
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 152 of Review
                                                    Confidentiality     392


     1     ash-Sheikh to the director general of
     2     Al Rajhi Banking.
     3                     Was that you at that time
     4     period?
     5             A.      Which year was it?        '97?
     6                     Yes -- yeah, '97, I was --
     7     yeah, this is me.
     8             Q.      Okay.    And so this was a
     9     letter deputy -- that then Deputy Minister Al
    10     ash-Sheikh sent to you, correct?
    11             A.      Yes, sent it to the bank and he
    12     put -- he put my -- to the attention and to
    13     the bank, yes.
    14             Q.      He addressed this to you,
    15     correct?
    16             A.      Yes, at that time I was the
    17     general manager, yes.        But, I mean, it's not
    18     personal.     It's being sent to me as the
    19     general manager of Al Rajhi Bank.
    20             Q.      Okay.    But the -- the way that
    21     he has addressed this is to you by title,
    22     correct?
    23             A.      Yeah.    Yeah, this is my title.
    24     I was the general manager of Al Rajhi Bank,
    25     so this is -- comes to me, but I just want to



   Golkow Litigation Services                                        Page 151
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 153 of Review
                                                    Confidentiality     392


     1     clarify, came to me as the general manager of
     2     Al Rajhi Bank, not to personal -- not to my
     3     own name.
     4             Q.      Understood.
     5                     And in the letter he indicates
     6     that it's fine to keep Al-Haramain Islamic
     7     Foundation's account         555/9 at your branch
     8     number 166.
     9                     Do you see that?
    10             A.      Yes.
    11             Q.      Do you recall what prompted
    12     this letter?
    13                     MR. CURRAN:      Objection.     Lack
    14             of foundation.
    15                     You may answer.
    16                     THE WITNESS:      Yeah, this is --
    17             it seems the bank wanted to have --
    18             you know, we asked that Al-Haramain to
    19             bring us something that they can, you
    20             know, show the government permission,
    21             and we received this letter from
    22             Al-Haramain.
    23     QUESTIONS BY MR. CARTER:
    24             Q.      This refers to a specific
    25     account at Al-Haramain.



   Golkow Litigation Services                                        Page 152
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 154 of Review
                                                    Confidentiality     392


     1                     Do you recall whether there was
     2     any particular issue or concern with that
     3     account?
     4             A.      No, I don't recall.
     5             Q.      And --
     6             A.      Maybe -- maybe this is the main
     7     account for them.       I'm not sure.
     8             Q.      And do you know how it came to
     9     be that the Deputy Minister of Islamic
    10     Affairs was the one who wrote to you to
    11     confirm it was okay to keep that Al-Haramain
    12     account open?
    13                     MR. CURRAN:      Objection.     Lack
    14             of foundation.
    15                     THE WITNESS:      So the question
    16             was why he send this letter or --
    17     QUESTIONS BY MR. CARTER:
    18             Q.      Yeah, why it came from him.
    19             A.      Because he's the deputy
    20     minister.
    21                     (Al Rajhi Exhibit ARB 37 marked
    22             for identification.)
    23     QUESTIONS BY MR. CARTER:
    24             Q.      Okay.    And if we can mark as
    25     the next exhibit a document at Tab 9.



   Golkow Litigation Services                                        Page 153
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 155 of Review
                                                    Confidentiality     392


     1                     And, Mr. Al Rajhi, this is,
     2     again, another document Al Rajhi Bank
     3     produced in discovery dated September 26,
     4     1998, again from then Deputy Ministry of
     5     Islamic affairs, Al ash-Sheikh, and addressed
     6     to the Director General of Al Rajhi Bank &
     7     Investment Corp.
     8                     And again, at this time, that
     9     was you, right?
    10             A.      Which date do we have?         2000,
    11     yes.    Sorry, what's the year we have here?
    12             Q.      The year is 1998.
    13             A.      '98, yes, this is -- I am the
    14     general manager.
    15             Q.      Okay.    And so this letter was
    16     addressed to you, correct?
    17             A.      Yes, this is addressed to me.
    18             Q.      Okay.    And in the -- in the
    19     signature line for Deputy Minister of Islamic
    20     Affairs, Saleh bin Abdul-Aziz bin Mohamed Al
    21     ash-Sheikh, he refers to himself as the
    22     general supervisor of the Al-Haramain Islamic
    23     Foundation.
    24                     Do you see that?
    25             A.      Yes, I see it.



   Golkow Litigation Services                                        Page 154
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 156 of Review
                                                    Confidentiality     392


     1             Q.      And is it your understanding
     2     that he was the general supervisory of
     3     Al-Haramain at the time he sent this letter?
     4             A.      Well, this is what I -- you
     5     know, this is what he put in his letter that
     6     he's the general supervisor for Al-Haramain.
     7             Q.      And the letter was sent to you
     8     on letterhead from the Al-Haramain general
     9     supervisor's office, correct?
    10             A.      Yes, this letter from
    11     Al-Haramain general supervisor.
    12             Q.      And the subject matter of the
    13     letter is a request to transfer nine accounts
    14     into the name of Al-Haramain Islamic
    15     Foundation.
    16                     Do you see that?
    17             A.      Yeah, he's told -- he's saying
    18     we're transferring the accounts of
    19     Al-Haramain attached statements, which are
    20     nine accounts in the name of Al-Haramain
    21     Islamic Foundation.
    22                     So, yes.     So he has a number of
    23     accounts which is -- which is he wants to
    24     transfer it to the name of Al-Haramain.
    25             Q.      Okay.    And so he's writing to



   Golkow Litigation Services                                        Page 155
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 157 of Review
                                                    Confidentiality     392


     1     request that the bank take action with regard
     2     to certain accounts for Al-Haramain, correct?
     3             A.      Yes.
     4             Q.      And in the letter he advises
     5     that the signatory authority for the accounts
     6     should be limited to persons authorized by
     7     Director General Sheikh Aqeel bin Abdulaziz
     8     Al-Aqil.
     9                     Do you see that?
    10             A.      Yes.    Yes.
    11             Q.      So in this letter, you agree
    12     that then Deputy Minister Al ash-Sheikh is
    13     representing himself to be the general
    14     supervisor of Al-Haramain and providing
    15     direction to you concerning activities to be
    16     undertaken as to Al-Haramain's banking
    17     accounts, correct?
    18             A.      Yeah, his letter was -- is
    19     saying that we will -- you know, you open
    20     these accounts and the directors who can sign
    21     this are -- that's what the letters say.
    22             Q.      So the letter is saying, I'm
    23     the general supervisor of Al-Haramain, and I
    24     want you to do some things with regard to
    25     these nine accounts, correct?



   Golkow Litigation Services                                        Page 156
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 158 of Review
                                                    Confidentiality     392


     1             A.      Yes.
     2             Q.      Okay.    And turning to the
     3     attached pages that describe the accounts.
     4     Is it -- is it your understanding that there
     5     were nine accounts that had been opened in
     6     the name of individual persons and then
     7     Al-Haramain was asking them to be transferred
     8     into the name of Al-Haramain?
     9                     MR. CURRAN:      Objection as to
    10             form.
    11                     THE WITNESS:      I just see it
    12             here.
    13                     You said -- no, it did not.          It
    14             did not say this here, these
    15             individual accounts.       This is the
    16             Haramain accounts.
    17     QUESTIONS BY MR. CARTER:
    18             Q.      Okay.    Just -- do you recall
    19     whether you were involved in facilitating the
    20     request made in this letter?
    21             A.      No, most -- these things
    22     normally doesn't come to me.          It would be
    23     done by the -- by the letter -- the relevant
    24     people.
    25             Q.      So you were -- you were a bit



   Golkow Litigation Services                                        Page 157
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 159 of Review
                                                    Confidentiality     392


     1     senior, I take it, to be receiving requests
     2     to change the names of accounts?
     3             A.      Yes, normally changing
     4     accounts, this will not come to me.
     5             Q.      Why is it that the minister
     6     of -- or deputy Minister of Islamic Affairs
     7     thought it appropriate to write to you?
     8             A.      I don't --
     9                     MR. CURRAN:      Objection as to
    10             form.
    11                     You may answer.
    12                     THE WITNESS:      Yeah, I don't
    13             know, you know.      Maybe -- maybe
    14             because of the title he has he thinks
    15             he like to write to me as the general
    16             manager, but I don't know.
    17                     But it's normal, you see
    18             sometimes letter -- many letter, you
    19             know, being addressed by different
    20             customers, this is not to -- what they
    21             believe the top man of the
    22             organization.      But this doesn't mean
    23             that it will be handled by the GM or
    24             the chairman of the board.         It will be
    25             handled by the right department.          Even



   Golkow Litigation Services                                        Page 158
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 160 of Review
                                                    Confidentiality     392


     1             that has been said.
     2                     That's not unusual for
     3             customers or -- you know, they do this
     4             kind of things.      So maybe they want to
     5             get more attention.       Maybe this is --
     6             I don't know.      Could be another
     7             reason.
     8     QUESTIONS BY MR. CARTER:
     9             Q.      Okay.    Do you recall when you
    10     had any conversations or communications with
    11     the deputy minister during this time period
    12     indicating that he should write you in
    13     relation to Al-Haramain?
    14             A.      No.
    15             Q.      Activity at the bank?
    16             A.      No.
    17                     (Al Rajhi Exhibit ARB 38 marked
    18             for identification.)
    19     QUESTIONS BY MR. CARTER:
    20             Q.      If we can mark as the next
    21     exhibit the document at Tab 4.
    22                     And this is an October 17, 1997
    23     letter also produced by Al Rajhi Bank.            And
    24     again, this is a letter from the deputy
    25     Minister of Islamic Affairs, Saleh bin



   Golkow Litigation Services                                        Page 159
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 161 of Review
                                                    Confidentiality     392


     1     Abdul-Aziz bin Mohamed Al ash-Sheikh,
     2     correct?
     3             A.      Yeah.    Can I see the Arabic
     4     maybe?
     5             Q.      Sure.
     6             A.      Yeah, sorry, what was the
     7     question?
     8             Q.      Okay.    This is a letter from --
     9     also from Deputy Minister Al ash-Sheikh?
    10             A.      Right.
    11             Q.      And this one issues on the
    12     letterhead of Ministry of Islamic Affairs,
    13     correct?
    14             A.      The letterhead, yes, it has the
    15     Ministry.
    16             Q.      And in the signature line, the
    17     deputy minister, again, refers to himself as
    18     the general manager of the Al-Haramain
    19     Islamic Foundation?
    20             A.      Yeah, that's what's being put
    21     in this letter.
    22             Q.      And he additionally says in
    23     this letter that Al-Haramain Islamic
    24     Foundation is "working under our
    25     supervision."



   Golkow Litigation Services                                        Page 160
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 162 of Review
                                                    Confidentiality     392


     1                     Do you see that?
     2             A.      Yes.
     3             Q.      And when he says "working under
     4     our supervision," do you mean -- do you
     5     understand him to have meant the supervision
     6     of the Ministry of Islamic Affairs?
     7             A.      And I think, yes, this is --
     8     for me, it looks like it's the supervision of
     9     the ministry itself.        I mean, I don't know.
    10     I cannot -- I cannot confirm this, but it
    11     could be this meaning.        It could be other
    12     meaning.     It's not clear, you know, words for
    13     me.   I cannot give a definite answer.
    14             Q.      As the bank obviously somehow
    15     received this letter and as a recipient, do
    16     you agree the bank's understanding would have
    17     been that Al-Haramain was working under the
    18     supervision of the Ministry of Islamic
    19     Affairs?
    20                     MR. SHEN:     Objection to form.
    21                     THE WITNESS:      Mr. Carter, this
    22             letter is not -- is not being sent to
    23             the bank.    This is maybe the bank --
    24             it's being sent to the passport
    25             office.



   Golkow Litigation Services                                        Page 161
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 163 of Review
                                                    Confidentiality     392


     1     QUESTIONS BY MR. CARTER:
     2             Q.      I see that, and I wanted to ask
     3     you a question about that.
     4                     Do you understand how this came
     5     to be in the possession of the bank?
     6             A.      No, I don't -- no, I don't -- I
     7     did -- yeah, this must -- most likely is
     8     being given by Haramain to -- you know, to
     9     the bank.     They wanted the bank to know that
    10     they are -- you know, they are -- they have
    11     the permission from Ministry of Islamic to
    12     operate.     That's -- that's what it come in my
    13     mind.
    14             Q.      And do you -- is there any way
    15     to tell from the document when the bank
    16     received this letter?
    17             A.      I see the dates in the
    18     signature, 18/6 and 16/6.         So that's --
    19     according to Hijri, October 1997.
    20             Q.      Well, that's when the letter
    21     was sent --
    22             A.      Yeah.
    23             Q.      -- to the director of the
    24     Riyadh Passports Administration.
    25                     Is there any marking on the



   Golkow Litigation Services                                        Page 162
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 164 of Review
                                                    Confidentiality     392


     1     letter that tells you when it came into the
     2     possession of Al Rajhi Bank?
     3             A.      No, I don't see it.
     4             Q.      Do you know whether there was
     5     ever any effort by employees at the bank
     6     subsequent to September 11, 2001, to request
     7     that Al Rajhi Bank provide earlier
     8     correspondence documenting its relationship
     9     with the Ministry of Islamic Affairs?
    10             A.      What do you mean by the
    11     documenting the relationship?          I don't
    12     understand, please.
    13             Q.      Do you know whether anyone went
    14     to Al-Haramain after 9/11 from the bank to
    15     request that Al-Haramain to provide copies of
    16     earlier documents that would show that the
    17     bank was operating with a permit and
    18     supervised by the Ministry?
    19             A.      I'm not aware of anyone of the
    20     bank agrees there or not.
    21                     (Al Rajhi Exhibit ARB 39 marked
    22             for identification.)
    23     QUESTIONS BY MR. CARTER:
    24             Q.      And if we can mark the next
    25     exhibit the document at Tab 5.



   Golkow Litigation Services                                        Page 163
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 165 of Review
                                                    Confidentiality     392


     1                     This is another document that I
     2     am provided in discovery, and I understand
     3     it's an Al Jazeera Arabic news article
     4     relating to the employment of Deputy Minister
     5     Al ash-Sheikh as general supervisor of
     6     Al-Haramain.
     7                     Do you -- do you know how this
     8     article came into the possession of Al Rajhi
     9     Bank?
    10             A.      I need to look at it.
    11                     So this is -- what's the date
    12     here?
    13             Q.      It's a 1997 article.
    14             A.      Yes.    Yeah.    Okay.
    15             Q.      And you had a chance to look at
    16     it?
    17             A.      Yes.
    18             Q.      And do you agree that the
    19     article discusses the assignment of deputy
    20     Minister of Islamic Affairs Al ash-Sheikh to
    21     supervise Al-Haramain Foundation?
    22             A.      Yeah, this is what the article
    23     say, that, you know -- that's what the
    24     article say.
    25             Q.      And --



   Golkow Litigation Services                                        Page 164
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 166 of Review
                                                    Confidentiality     392


     1             A.      Let me just scroll.        You know,
     2     so he talking here, he's the deputy minister.
     3     Yeah, then he said, yeah, according to this
     4     article, that he said he has been assigned to
     5     a supervise Al-Haramain.         That's what --
     6             Q.      And again, do you know -- do
     7     you know how this article came to be in the
     8     possession of Al Rajhi Bank?
     9             A.      No, I don't know.       I'm actually
    10     surprised -- no, I didn't know how it get to
    11     the bank.
    12             Q.      Did the bank have any protocol
    13     in place during the 1997 time period to
    14     collect media articles concerning prominent
    15     depositors?
    16             A.      Well, I --
    17                     MR. CURRAN:      Objection as to
    18             form.   Lack of foundation.
    19                     You may answer.
    20                     THE WITNESS:      Yeah, you know, I
    21             think the bank normally, you know,
    22             it's a good practice, any -- any news
    23             information about customer, then, you
    24             know, you -- you keep it to the
    25             customer file.      So this must be coming



   Golkow Litigation Services                                        Page 165
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 167 of Review
                                                    Confidentiality     392


     1             from that.
     2     QUESTIONS BY MR. CARTER:
     3             Q.      This is -- I think you're
     4     correct, that this is likely from the
     5     customer information file.
     6                     Is that -- is that your
     7     expectation based on the way the bank
     8     maintains records?
     9             A.      Yes.    Yeah, that's my
    10     expectation of it.
    11                     (Al Rajhi Exhibit ARB 40 marked
    12             for identification.)
    13     QUESTIONS BY MR. CARTER:
    14             Q.      And if we can mark as the next
    15     exhibit, the document at Tab 6.
    16                     And this is a 1999 circular to
    17     all government administrations, centers,
    18     companies and banks that was produced by
    19     Al Rajhi Bank dated June 1, 1999.
    20                     Do you see that?
    21             A.      Yeah.    This is coming from --
    22     from Yanbu, governor of Yanbu, yes.
    23             Q.      Okay.    This is a letter from
    24     the governor of Yanbu, Ibrahim bin Shakhbut
    25     al Sultan, correct?



   Golkow Litigation Services                                        Page 166
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 168 of Review
                                                    Confidentiality     392


     1             A.      Yes.
     2             Q.      And the letter issued on the
     3     letterhead of the Ministry of Interior,
     4     correct?
     5             A.      Yeah, well, from Medina --
     6     Medina, you know, governor of Medina which is
     7     Yanbu, a town in Medina.         But it went to
     8     Ministry of Interior because all -- all
     9     different governors report to the Ministry of
    10     Interior.
    11                     But this is from Yanbu, Yanbu,
    12     on behalf -- Yanbu -- it does say.           I don't
    13     know for sure, but it's Yanbu is part of the
    14     Medina district, so this is from their mayor
    15     or whatever you call it.
    16             Q.      And this concerns the opening
    17     of an Al-Haramain Foundation office in that
    18     province, correct?
    19             A.      Yes, this is talking about
    20     opening a branch in Yanbu city.
    21             Q.      And in the letter the governor
    22     of the province represents the Foundation is
    23     supervised by Deputy Minister of Islamic
    24     Foundation, Endowments, Da`Wah and Guidance,
    25     His Eminence Sheikh Saleh bin Abdul-Aziz Al



   Golkow Litigation Services                                        Page 167
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 169 of Review
                                                    Confidentiality     392


     1     ash-Sheikh, correct?
     2             A.      Yeah, that's what he said in
     3     his letter.
     4             Q.      And the governor of Yanbu at
     5     this time in June of 1999 closes by asking
     6     recipients to please cooperate with the
     7     Foundation in everything concerning -- that
     8     serves the common good, correct?
     9             A.      Yes.
    10             Q.      And what, if any, significance
    11     would Al Rajhi Bank have ascribed to that
    12     request in the 1999 time period?
    13             A.      What Al Rajhi did with this
    14     letter?
    15             Q.      Yeah, what would be the
    16     significance of this letter from the bank's
    17     perspective?
    18             A.      I think -- I think they just --
    19     this is opening account for this branch in
    20     Yanbu with Al Rajhi bank with that branch, I
    21     would assume.      Again, I can't recall, but
    22     that's what could be.
    23             Q.      Did you know Governor Ibrahim
    24     bin Shakhbut al Sultan during this time
    25     period?



   Golkow Litigation Services                                        Page 168
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 170 of Review
                                                    Confidentiality     392


     1             A.      No, I don't know him.
     2                     (Al Rajhi Exhibit ARB 41 marked
     3             for identification.)
     4     QUESTIONS BY MR. CARTER:
     5             Q.      And finally on this topic, can
     6     we mark the letter at Tab 8.
     7                     Again, this is a letter that
     8     Al Rajhi Bank produced to us dated June 7,
     9     1999, from the Prince of Tabuk, Fahd bin
    10     Sultan Abdul Aziz and addressed to His
    11     Eminence Sheikh Abdulaziz bin Mohamed Al
    12     ash-Sheikh, deputy Minister of Islamic
    13     Affairs and General Supervisor of Al-Haramain
    14     Islamic Foundation.
    15                     Do you see that?
    16             A.      Sorry, this is a letter from
    17     where?    From -- I can't read here in --
    18     ministry of -- I can't -- I can't see -- it's
    19     a court.     Maybe this is coming from Supreme
    20     Court in Tabuk.      And the top there is
    21     Ministry, but illegible.         What does that mean
    22     by "illegible"?
    23                     MR. CURRAN:      That means that
    24             the translator couldn't figure out
    25             what it said.



   Golkow Litigation Services                                        Page 169
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 171 of Review
                                                    Confidentiality     392


     1                     THE WITNESS:      Okay.    Okay.
     2             They could not find.       So they said in
     3             Supreme Court -- I can't read it on
     4             here, but here in English, I can see
     5             Supreme Court in Tabuk.
     6                     And this is being sent to
     7             Abdul-Aziz bin Mohamed Al ash-Sheikh.
     8             So this is what -- we're talking about
     9             different individual here?
    10     QUESTIONS BY MR. CARTER:
    11             Q.      The author --
    12             A.      I --
    13             Q.      So it's addressed to the deputy
    14     Minister of Islamic Affairs and General
    15     Supervisor of Al-Haramain, correct?
    16             A.      Yes.    No, I don't know
    17     because -- sorry, the name -- the name is not
    18     correct.     Abdul-Aziz, not correct.
    19             Q.      And it looks like someone
    20     potentially left out the Saleh bin
    21     Abdul-Aziz, correct?
    22             A.      It could be.
    23             Q.      Okay.    But again, this is a
    24     letter indicating that an official of the
    25     Ministry of Islamic Affairs is also the



   Golkow Litigation Services                                        Page 170
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 172 of Review
                                                    Confidentiality     392


     1     general supervisor of Al-Haramain?
     2             A.      Yeah, that -- again, here --
     3     yeah, that is this title.
     4             Q.      And this came from Prince of
     5     Tabuk, Fahd bin Sultan Abdul Aziz.
     6                     Do you know who that is?
     7             A.      This is -- no, I can't --
     8     Prince of Tabuk.       So this must be -- yeah,
     9     this is -- yes.      Well, here it's Prince Fahd
    10     bin Sultan Abdul Aziz.        He's Tabuk -- Prince
    11     of Tabuk, head of Tabuk affairs.
    12             Q.      Okay.    So this came, as you
    13     understand it, from the head of the
    14     governance in Tabuk, correct?
    15             A.      Yeah.    Well, this is what
    16     suggests this letter.        You know, this is --
    17     if this is accurate -- if it is correct, this
    18     is what's written here.
    19             Q.      And you -- again, do you have
    20     any understanding how this came to be in
    21     Al-Haramain's files or when it came to be --
    22     or I'm sorry.
    23                     Do you have any understanding
    24     of how this came to be in the bank's files
    25     or --



   Golkow Litigation Services                                        Page 171
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 173 of Review
                                                    Confidentiality     392


     1             A.       No, I don't know.      This is, it
     2     seems, you know, a letter sent to the
     3     prince -- but I don't know how it came to the
     4     file -- came to the bank files.           So it seems,
     5     you know, our branches or something they get
     6     a copy of this and they want to keep it in
     7     the customer file.
     8             Q.       But based on all of those
     9     documents, do you agree it would have been
    10     the understanding of Al Rajhi Bank that the
    11     deputy Minister of Islamic Affairs at that
    12     time was the general supervisor of
    13     Al-Haramain?
    14                      MR. SHEN:    Objection to form.
    15                      THE WITNESS:     Yeah, again, I'm
    16             not in a position to agree or not
    17             agree, but what I can say that all the
    18             letter -- you know, the letter came to
    19             us, had that title.
    20                      Now, what does it mean for
    21             them, it's not -- I cannot -- I think
    22             they should speak to themself.
    23                      MR. CARTER:     Chris, can we take
    24             just maybe a two- to five-minute
    25             break?



   Golkow Litigation Services                                        Page 172
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 174 of Review
                                                    Confidentiality     392


     1                     MR. CURRAN:      Sure.
     2                     MR. CARTER:      Okay.
     3                     VIDEOGRAPHER:      Off the record.
     4             6:04 p.m.
     5              (Off the record at 6:04 p.m.)
     6                     VIDEOGRAPHER:      On the record.
     7             6:12 p.m.
     8                     (Al Rajhi Exhibit ARB 42 marked
     9             for identification.)
    10     QUESTIONS BY MR. CARTER:
    11             Q.      Mr. Al Rajhi, we've been
    12     speaking a bit about the bank's interactions
    13     with Al-Haramain Islamic Foundation.
    14                     And if we can, I would like to
    15     mark as the next exhibit the document at
    16     Tab 22.
    17             A.      The Arabic.
    18                     Yes, I see it here.
    19             Q.      Okay.    And again, this is a
    20     document produced to us by Al Rajhi Bank, and
    21     it appears to be a letter from the Director
    22     General of Al-Haramain, Aqeel Al-Aqil,
    23     addressed to you.
    24                     Is that correct?
    25                     MR. CURRAN:      Objection as to



   Golkow Litigation Services                                        Page 173
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 175 of Review
                                                    Confidentiality     392


     1             form.
     2                     You may answer.
     3                     THE WITNESS:      Yes.    Yeah, the
     4             general manager of Al Rajhi Bank,
     5             which is me at that time.
     6     QUESTIONS BY MR. CARTER:
     7             Q.      And the date of this letter is
     8     September 9, 1999, correct?
     9             A.      Yes, that's what I see it in
    10     the translation.
    11             Q.      And the subject matter of this
    12     letter is a request to transfer an account at
    13     Al Rajhi Bank into the name of Al-Haramain
    14     Islamic Foundation instead of being under the
    15     name of the Office Director Sheikh Zayd bin
    16     Mohamed al Harithi.
    17                     Do you see that?
    18             A.      Yes, I see it.
    19             Q.      First, do you understand or
    20     have any understanding why Al-Haramain
    21     Director General Aqeel Al-Aqil addressed this
    22     letter to you?
    23                     MR. CURRAN:      Objection as to
    24             form.
    25                     You may answer.



   Golkow Litigation Services                                        Page 174
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 176 of Review
                                                    Confidentiality     392


     1                     THE WITNESS:      I think this is
     2             the same one before.       Normally this
     3             doesn't come to my office.         I don't
     4             handle it.     Go to the branch most
     5             likely or will be someone in the head
     6             office send directly to the branches.
     7                     And as I maybe said before, you
     8             know, it's not usual for many
     9             customers when they write a letter,
    10             you know, they write to the top
    11             person, executive, at that
    12             organization.
    13     QUESTIONS BY MR. CARTER:
    14             Q.      I'm sorry, do you think it was
    15     common for routine customers --
    16             A.      No.    No, I wouldn't say common
    17     or routine.     I'm saying it's not unusual to
    18     see some customers they do that, but I
    19     wouldn't say it's common.
    20             Q.      Did you know Aqeel Al-Aqil
    21     during this time period, 1998 to 2002?
    22             A.      No, I didn't know him.
    23             Q.      Do you recall whether you ever
    24     had occasion to meet him at any point at the
    25     end of 2002?



   Golkow Litigation Services                                        Page 175
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 177 of Review
                                                    Confidentiality     392


     1             A.      No, I didn't.      Even if I see
     2     him now, I don't know him, so I don't know
     3     even now how he looks.
     4             Q.      Do you recall -- do you recall
     5     whether your father Sulaiman al Rajhi knew
     6     Aqeel Al-Aqil during this time period?
     7             A.      Well, let me -- for me as I
     8     said, you know, I didn't -- I didn't recall
     9     that we say, use this word -- and for my
    10     father, I'm not aware if he knows him or not.
    11             Q.      And I'm sorry, do you recall
    12     whether or not you had any occasion to meet
    13     him prior to this time period?
    14             A.      I --
    15                     MR. CURRAN:      Objection as to
    16             form.
    17                     THE WITNESS:      No, I don't
    18             recall.
    19     QUESTIONS BY MR. CARTER:
    20             Q.      But in this case, he does
    21     address his letter to you relating to the
    22     name change for this account, correct?
    23                     MR. CURRAN:      Objection as to
    24             form.
    25                     You may answer.



   Golkow Litigation Services                                        Page 176
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 178 of Review
                                                    Confidentiality     392


     1                     THE WITNESS:      Yeah, the letter
     2             here is being sent to me, right.          But,
     3             again, mostly like -- not most likely.
     4             Normally I don't see these kind of
     5             requests.    It doesn't come to my
     6             office, to my attention.
     7     QUESTIONS BY MR. CARTER:
     8             Q.      And if it were addressed to
     9     you, do you know whether or not you would
    10     have actually read this letter?
    11             A.      No, if it doesn't come to my
    12     office.      Because as I said, again, you know,
    13     I -- I don't -- I now see the letter, but I
    14     don't recall anything about it.
    15                     But if this letter comes --
    16     goes to the branch, for example, the branch
    17     would send it to his supervisor and deal with
    18     it rather than he send it to me or his
    19     supervisor.     He doesn't need to send it to
    20     me.   He just deal with it in the right level
    21     in the organization.
    22                     So this doesn't -- this doesn't
    23     mean me as the general manager to do anything
    24     about it.
    25             Q.      At the -- near the bottom of



   Golkow Litigation Services                                        Page 177
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 179 of Review
                                                    Confidentiality     392


     1     the letter, there is a fax masthead.
     2                     Do you see that?
     3             A.      So it was this fax, yeah.         It
     4     looks.
     5             Q.      And --
     6                     MR. CURRAN:      Objection as to
     7             form.
     8                     You may answer.
     9                     THE WITNESS:      So what's the
    10             question?
    11     QUESTIONS BY MR. CARTER:
    12             Q.      Can you move down further on
    13     the version up here?
    14                     Okay.    And can you highlight
    15     there what I understand to be a fax
    16     transmittal?
    17             A.      Yes.
    18                     MR. CURRAN:      Look at the
    19             original Arabic because it's got more
    20             than is shown on the translation.
    21                     THE WITNESS:      Yeah.
    22     QUESTIONS BY MR. CARTER:
    23             Q.      Do you recognize the fax number
    24     that appears at the bottom of this?
    25             A.      No, I don't recognize it.



   Golkow Litigation Services                                        Page 178
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 180 of Review
                                                    Confidentiality     392


     1             Q.      Okay.    And on the basis of this
     2     letter -- I'm sorry, there are various cc's
     3     on the letter, the Taif Office for follow-up,
     4     interior committee, financial affairs and to
     5     the office in Emad.
     6                     Do you see those?
     7             A.      Yes, I see it.
     8             Q.      Okay.    And are those internal
     9     Al Rajhi Bank notations?         Or are those
    10     Al-Haramain notations?
    11             A.      This, for me, it looks like
    12     these could be for different -- for
    13     Al-Haramain Foundation, not for the bank.
    14             Q.      And on the face of this letter,
    15     it indicates that there is an account at the
    16     bank under the name of an individual that is
    17     being changed to the name of the Foundation.
    18                     Correct?
    19             A.      Yeah, I think from what I read
    20     here, they -- you know, the Foundation wanted
    21     to transfer account from name of individual
    22     to the name of Al-Haramain.
    23             Q.      And during this time period,
    24     would it have been proper for Al-Haramain to
    25     be conducting business through an account



   Golkow Litigation Services                                        Page 179
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 181 of Review
                                                    Confidentiality     392


     1     held in the name of an individual person?
     2                     MR. CURRAN:      Objection as to
     3             form.   Lack of foundation.
     4                     You may answer.
     5                     THE WITNESS:      Yeah, this is --
     6             I don't know about it.        This is
     7             Al-Haramain, the way they do their
     8             things.
     9                     But -- but, I mean, they have
    10             the -- but I think from the bank point
    11             of view, this is coming to the bank,
    12             you know, the -- the name of the
    13             individual and the charity say, we
    14             want to change this account from
    15             individual account to charity account.
    16             So I think the bank, what normally
    17             would do will apply its own protocol
    18             and controls and get whatever
    19             documentation they need.
    20                     And -- and if -- you know, in
    21             order to transfer you, he would have
    22             applied his external controls so he
    23             needs to be normally, I would assume,
    24             checked by maybe the legal department
    25             and also some authority to approve it.



   Golkow Litigation Services                                        Page 180
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 182 of Review
                                                    Confidentiality     392


     1                     And, you know -- and in this
     2             case, you know, as you know if I
     3             know -- if someone came to me and said
     4             that, okay, I'll come to the bank
     5             saying, I want to change from --
     6             account from individual to charity, I
     7             think this is -- this is -- means
     8             that, you know, you have more control
     9             under account when it's a charity
    10             rather than it's in an individual
    11             name.
    12     QUESTIONS BY MR. CARTER:
    13             Q.      And just as a general matter,
    14     though, during this time period based on your
    15     understanding of the protocols in place at
    16     the bank, would it have been appropriate for
    17     Al-Haramain to operate an account that was
    18     held in name of one of its individual
    19     officials rather than in the name of
    20     Al-Haramain itself?
    21                     MR. CURRAN:      Objection.     Lack
    22             of foundation.
    23                     You may answer.
    24                     THE WITNESS:      Yeah, again, you
    25             know, this is Al-Haramain.         And for



   Golkow Litigation Services                                        Page 181
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 183 of Review
                                                    Confidentiality     392


     1             me, of course, if we knew at that time
     2             they come with that account for
     3             Al-Haramain, we wouldn't accept that
     4             to be opened in the name of the
     5             individual.
     6                     So as a bank, you know, we
     7             would -- you know, we would -- we
     8             would not open account for individual
     9             if we know it's not for something.
    10                     But if he comes to me both to
    11             say, I want to change this account now
    12             to a charity, this is where, you know,
    13             we -- we -- we check it, we --
    14             normally the bank would have higher
    15             authority approval, and this is --
    16             give us more monitoring and control
    17             for the activity in this account if it
    18             is in the name of the charity than if
    19             it is in the name of an individual.
    20     QUESTIONS BY MR. CARTER:
    21             Q.      And if the bank received notice
    22     during this time period that Al-Haramain was
    23     operating accounts in the name of individual
    24     persons, based on your understanding of the
    25     bank's protocols, what should have been done?



   Golkow Litigation Services                                        Page 182
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 184 of Review
                                                    Confidentiality     392


     1                     MR. CURRAN:      Objection as to
     2             form.
     3                     You may answer.
     4                     THE WITNESS:      Yeah, you know,
     5             the -- you know, the bank, you know,
     6             it deals with the request of the
     7             customer and deal with it and try to
     8             correct it.     That's -- the bank just
     9             wants to make sure if this is -- you
    10             know, if he knows about it since now
    11             this letter came, I would assume --
    12             because again, these things I don't
    13             see it normally.      This is seen by the
    14             legal department, by higher authority,
    15             and they would do the right, you know,
    16             protocol to do this.
    17                     But, again, if -- if we know
    18             about it, our responsibility or our
    19             job to make sure that this is -- you
    20             know, we make the change after making
    21             sure that all -- you know, all the
    22             paper are signed by both the
    23             individual, by the charity, by -- and
    24             then protecting the customers,
    25             protecting the bank and then, you



   Golkow Litigation Services                                        Page 183
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 185 of Review
                                                    Confidentiality     392


     1             know, we will -- and then of course we
     2             will apply what needed to be apply in
     3             controlling the charity or monitoring
     4             the charity account.
     5                     (Al Rajhi Exhibit ARB 43 marked
     6             for identification.)
     7     QUESTIONS BY MR. CARTER:
     8             Q.      If we can mark as the next
     9     exhibit the Document Number 20.
    10                     And this is another letter from
    11     Aqeel Al-Aqil addressed to you by title just
    12     about a month later on October 13, 1999.
    13                     Do you see that?
    14             A.      So -- yes, yeah.       This is
    15     similar to the other one.
    16             Q.      Okay.    So this is -- you agree
    17     this is another instance where Al-Haramain is
    18     asking for an account that's held in the name
    19     of individual people to be changed into the
    20     name of Al-Haramain, correct?
    21             A.      Yes, this is correct.
    22             Q.      And again, given that this is
    23     the second request of this nature within a
    24     month, you know, what in your view should the
    25     bank have done in response to these



   Golkow Litigation Services                                        Page 184
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 186 of Review
                                                    Confidentiality     392


     1     communications indicating that Al-Haramain
     2     was using accounts in the name of
     3     individuals?
     4                     MR. CURRAN:      Objection as to
     5             form.
     6                     You may answer.
     7                     THE WITNESS:      You know, again,
     8             you know, I don't know about the
     9             details of these things.        You know,
    10             I'm not familiar with -- with these,
    11             but I don't know.       It could be.     I'm
    12             not saying this is the case, but it
    13             could be the bank, you know, not just
    14             some -- some -- if this is coming at
    15             the same time.      Some charity or some
    16             activities in these accounts and the
    17             bank who approached Al-Haramain and
    18             said, you know, this need to be
    19             corrected.
    20                     And I'm not saying this is the
    21             case because I didn't know about it, I
    22             haven't seen it.      But the bank, that's
    23             what's their job, you know, if they
    24             see an account which is not -- you
    25             know, approach the customer and they



   Golkow Litigation Services                                        Page 185
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 187 of Review
                                                    Confidentiality     392


     1             ask him to do -- to correct it and
     2             make it in the name of the charity.
     3                     And as I said before, you know,
     4             we -- we apply the best compliance.
     5             We -- we have our own monitoring for
     6             the account and find anything
     7             suspicious, that actually we report
     8             it.
     9                     You know, this -- you know, you
    10             see -- but at the same time, I'm not
    11             in a position, you know, to go and to
    12             close charity account without getting
    13             approval from SAMA.
    14                     So that's -- you know, so for
    15             me, you know -- you know, when they
    16             see these things, I can't talk to the
    17             client, I can't ask them to go and
    18             change.    Maybe I can't report it in
    19             some cases.     Again, I don't know
    20             what's happened in this case because
    21             I'm not aware of the details, and I
    22             just believe myself it could be --
    23             now, when I see these two things
    24             happening that close to each other, it
    25             could be -- it could be -- I'm not



   Golkow Litigation Services                                        Page 186
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 188 of Review
                                                    Confidentiality     392


     1             saying this is the fact.
     2                     This is the bank who -- who
     3             approached Al-Haramain that said, you
     4             know, you need -- you need to collect
     5             it and the bank received this letter
     6             as a -- as a response to the bank
     7             request.
     8     QUESTIONS BY MR. CARTER:
     9             Q.      You do agree with me, though,
    10     that it would be -- it was improper under the
    11     bank's own regulations for Al-Haramain to be
    12     operating accounts that were -- using
    13     accounts held in the name of individual
    14     people to carry out its financial activities?
    15                     MR. CURRAN:      Objection --
    16                     THE WITNESS:      Yeah.
    17                     MR. CURRAN:      -- to the form.
    18             Lack of foundation.
    19                     THE WITNESS:      Yeah, I agree
    20             with you, but, again, what can I do as
    21             a bank?    It's talking to the client,
    22             you know, and trying to fix it and
    23             rectify it.     That's what the bank
    24             would do.    Because that's what --
    25             that's in my hand to do with the



   Golkow Litigation Services                                        Page 187
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 189 of Review
                                                    Confidentiality     392


     1             client.    So -- which is, again, I'm
     2             not sure if the bank did it or not.
     3             As I said, I'm not aware of what did
     4             happen.
     5                     If we know about something like
     6             this, then we will -- you know, we
     7             will go on to the -- to the Foundation
     8             to ask them to rectify it.
     9                     (Al Rajhi Exhibit ARB 44 marked
    10             for identification.)
    11     QUESTIONS BY MR. CARTER:
    12             Q.      If we can mark as the next
    13     exhibit Number 24.       This is another internal
    14     letter concerning this account name change
    15     request.     Again, it was produced by the bank.
    16     It's from the director of Al Arbaeen -- Al
    17     Arbaeen Street Branch to the head of legal
    18     affairs and dated November 13, 1999.
    19                     Do you see that?
    20             A.      Yes.    So this also confirm what
    21     I said, the letter, they send it to my name.
    22     It was -- it went to the branch, and the
    23     branch acted on that letter even as -- you
    24     know, addressed to the general manager and to
    25     the legal department asked their -- for their



   Golkow Litigation Services                                        Page 188
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 190 of Review
                                                    Confidentiality     392


     1     guidance.
     2             Q.      So is your understanding that
     3     the request submitted in the letter addressed
     4     to you concerning this account          000/7 was
     5     referred to the branch manager, correct?
     6                     MR. CURRAN:      Well, objection as
     7             to form.
     8                     You may answer.
     9                     THE WITNESS:      Yeah, I'm just
    10             saying that I assume from the name
    11             here, I did not check, you know, the
    12             account number here, but I assume it's
    13             the same one, we have seen it before,
    14             the same account.       And that account,
    15             what you showed you before, a letter
    16             came, you know, from Al-Haramain this
    17             to the general manager.        And now I see
    18             who has acted on this letter is the
    19             branch manager.
    20                     So my understanding that, you
    21             know, this letter was in the branch
    22             and the branch, you know, based on
    23             this letter, okay, is sent to the head
    24             of legal department.
    25




   Golkow Litigation Services                                        Page 189
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 191 of Review
                                                    Confidentiality     392


     1     QUESTIONS BY MR. CARTER:
     2             Q.      And by sending the letter, he's
     3     asking for the opinion of the legal
     4     department about the request to change
     5     account      000/7 from the name of these
     6     individuals into the --
     7             A.      Right.
     8             Q.      -- name?
     9             A.      Right.
    10             Q.      You know, and on the basis of
    11     that, do you agree that this name change
    12     initiative did not happen at the urging of
    13     the bank but instead was initiated by
    14     Al-Haramain?
    15             A.      Yes, I agree with you.
    16             Q.      And in the closing paragraph --
    17     the second to last sentence of the letter,
    18     the director of the Al Arbaeen Street Branch
    19     notes that "the clients are recognized for
    20     their charity work and commitment and
    21     Al-Haramain Islamic Foundation is a
    22     distinguished client to the company's branch
    23     number 161 in Riyadh."
    24                     Do you see that?
    25             A.      These clients are recognized



   Golkow Litigation Services                                        Page 190
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 192 of Review
                                                    Confidentiality     392


     1     for their charity and commitment, and that
     2     Al-Haramain -- yes, I see it.
     3             Q.      Okay.    And he includes that in
     4     the concluding section of the letter
     5     requesting the legal department's views on
     6     whether or not the name change request can be
     7     facilitated, correct?
     8             A.      Right.
     9                     (Al Rajhi Exhibit ARB 45 marked
    10             for identification.)
    11     QUESTIONS BY MR. CARTER:
    12             Q.      And if we can turn to the next
    13     exhibit we'll mark at Tab 25.          This is an
    14     additional letter relating to this same
    15     account dated November 16, 1999, that is
    16     written by the head of legal affairs, Soliman
    17     bin Mohamed al Rishan on November 18, 1999.
    18                     Correct?
    19             A.      Just I want to read to -- in
    20     that case.
    21                     Yes.
    22             Q.      Okay.    And the opinion of the
    23     head of legal affairs is that under the
    24     manual, the normal protocol if the client
    25     wants to change the name of an account from a



   Golkow Litigation Services                                        Page 191
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 193 of Review
                                                    Confidentiality     392


     1     personal account to a legal person's account,
     2     is to close the old account and open a new
     3     account.
     4                     Correct?
     5             A.      Yes.
     6             Q.      And so Al-Haramain was seeking
     7     a departure from the bank's normal protocols
     8     in this circumstance, correct?
     9                     MR. CURRAN:      Objection as to
    10             form.
    11                     You may answer.
    12                     THE WITNESS:      So what was the
    13             second point?
    14     QUESTIONS BY MR. CARTER:
    15             Q.      Al-Haramain was requesting a
    16     departure from the normal procedure for
    17     transferring an account in the name of a
    18     person into a legal entity?
    19             A.      No, I wouldn't call it a
    20     departure, departure from the client.            You
    21     know, it's -- you know, some clients, even
    22     individuals sometimes, will be -- they want
    23     to -- they want to change and keep the same
    24     account for whatever reason.
    25                     So, you know -- so there is



   Golkow Litigation Services                                        Page 192
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 194 of Review
                                                    Confidentiality     392


     1     two problems.      The way I see it, you know,
     2     the data -- the way that close and open
     3     account, but if the customer wanted to have
     4     the same number account, this protocol been
     5     explained here by the legal department that
     6     could be applied to do that.
     7                     (Al Rajhi Exhibit ARB 46 marked
     8             for identification.)
     9     QUESTIONS BY MR. CARTER:
    10             Q.      If we can mark as the next
    11     exhibit the document at Tab 28.
    12                     And this is another letter from
    13     Aqeel Al-Aqil dated September 10, 2000.             This
    14     one is directed to the branch director, and
    15     it concerns changing four accounts that are
    16     held in the name of individual persons to
    17     Al-Haramain accounts.
    18                     Do you see that?
    19                     MR. CURRAN:      Objection as to
    20             form.
    21                     You may answer.
    22                     THE WITNESS:      Yeah, I see --
    23             I'm not sure about, but I see -- I
    24             don't know about account because
    25             almost the same names.



   Golkow Litigation Services                                         Page 193
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 195 of Review
                                                    Confidentiality     392


     1     QUESTIONS BY MR. CARTER:
     2             Q.      The account numbers referenced
     3     are different from the account number we've
     4     been discussing, correct?
     5             A.      Yeah, again, I don't remember
     6     that, the number account, but they are the
     7     same individuals having maybe more than one
     8     account, if this is different account.            So
     9     they're having more than one account, and
    10     this is also to fix it another account.
    11             Q.      So the prior letter concerning
    12     the account     000/7 involving these
    13     individuals, that request is submitted
    14     October of 1999.
    15                     This is nearly a year later and
    16     concerns the existence of four other accounts
    17     in the name of those individuals and a
    18     request to transfer those as well into the
    19     name of Al-Haramain.
    20                     Do you agree?
    21             A.      Yes.    Yes, I agree.
    22                     (Al Rajhi Exhibit ARB 47 marked
    23             for identification.)
    24     QUESTIONS BY MR. CARTER:
    25             Q.      And if we can mark as the next



   Golkow Litigation Services                                        Page 194
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 196 of Review
                                                    Confidentiality     392


     1     exhibit the document at Number 29.
     2                     This is another letter produced
     3     by the bank dated August 8, 2001, and it
     4     involves transferring another account into
     5     the name of Al-Haramain Islamic Foundation.
     6                     Do you see that?
     7             A.      Yes, I see it.
     8             Q.      And the handwritten note
     9     included on this document is directed to the
    10     Director of Companies Branches in the Central
    11     Region and indicates that our client, Sheikh
    12     Aqeel bin Abdul-Aziz Al-Aqil wants to
    13     transfer account number         /9666 from his name
    14     to be named Al-Haramain.
    15                     Do you see that?
    16             A.      Yes, I see it.
    17             Q.      And so this is another request
    18     for accounts held in the names of individual
    19     people to be transferred to Al-Haramain now
    20     in August of 2001, correct?
    21             A.      Yes, it is correct.
    22             Q.      So over the course of several
    23     years, the documents the bank has produced
    24     reflected there were numerous occasions in
    25     which Al-Haramain represented to the bank



   Golkow Litigation Services                                        Page 195
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 197 of Review
                                                    Confidentiality     392


     1     that accounts that were held in the name of
     2     individuals should be transferred over to the
     3     name of Al-Haramain, correct?
     4                     MR. CURRAN:      Objection as to
     5             form.   Lack of foundation.
     6                     You may answer.
     7                     THE WITNESS:      Yes.    I agree
     8             that this is a number of accounts
     9             being transferred to individual names
    10             to -- to Al-Haramain.
    11                     And again, you know, when
    12             it's -- you know, when we know about
    13             it, when they come, both, you know,
    14             the individuals and the charity, to
    15             the bank and then -- and telling the
    16             bank, this is -- you know, this is --
    17             these accounts are opened
    18             individually.      Because we open account
    19             individually, we cannot know whether
    20             this -- you know, has to do anything
    21             with Al-Haramain.
    22                     So when he said, okay, now I'm
    23             coming and they want to change it, the
    24             bank -- the bank, you know -- the
    25             responsibility in this case to



   Golkow Litigation Services                                        Page 196
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 198 of Review
                                                    Confidentiality     392


     1             apply -- it is the protocol if they
     2             want the customer to keep the same
     3             account, you know, asking or getting
     4             the right signature from, you know,
     5             both party.
     6                     And again, this is -- you know,
     7             this is another way.       It's not taking
     8             charity names to individual names.
     9             It's taking individual accounts to
    10             charity, which means that, you know,
    11             there they will have -- be under more
    12             control.
    13                     I agree that it's not the best
    14             practice from Al-Haramain to start
    15             with these individual names.         If it
    16             was from day one, you know, for -- for
    17             a charity account, but, again, the
    18             bank, when we know about it, I think
    19             what the bank did is the right thing
    20             in terms of rectifying and correcting
    21             these other things, keeping to the
    22             individual accounts.
    23     QUESTIONS BY MR. CARTER:
    24             Q.      Well, do you know whether if
    25     after receiving multiple requests of this



   Golkow Litigation Services                                        Page 197
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 199 of Review
                                                    Confidentiality     392


     1     nature the bank ever took action to insist
     2     that Al-Haramain close any accounts it was
     3     using that were held in the name of
     4     individuals and operate solely from accounts
     5     in its formal name?
     6             A.      I'm not -- I'm not -- I
     7     don't -- I'm not aware about this.           I don't
     8     know if this is also that the bank -- you
     9     know, one individual has seen this.            You
    10     know, this is -- if it comes -- if -- because
    11     best of us -- coming and change account from
    12     name to name, it is not something you see it.
    13     It is not something, you know, you see it
    14     here -- here we talk about individual to
    15     charity.
    16                     But you will see a lot of
    17     customers come to change from one name to a
    18     different name, maybe from an individual name
    19     to a company name or establishment name.
    20                     So of this type of request
    21     coming, it's not unusual.         Now, there's five,
    22     six cases or four cases, I don't know how
    23     many cases for Al-Haramain over period of one
    24     year to two years, does anyone in the head
    25     office notice this is -- and, you know, and



   Golkow Litigation Services                                        Page 198
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 200 of Review
                                                    Confidentiality     392


     1     for him, it seems, you know -- again, today
     2     we have 21 million customer accounts.            Al
     3     Rajhi Bank is taking over -- you know, more
     4     than 40 percent of the transaction the bank
     5     existed.     So really huge bank, big bank, big
     6     bank.
     7                     But again, talking about
     8     period, which is systems are not as accurate
     9     and as helping as it is today.          So, you
    10     know -- you know, what I can say, to the best
    11     of my knowledge, the bank dealt with this
    12     request not any different from getting it
    13     from other customer's request to make a
    14     change.
    15             Q.      So you view the way that the
    16     bank handled these requests from what you can
    17     see as being consistent with the way the bank
    18     operated generally?
    19             A.      And I -- I think from what I
    20     see from the legal department, it's -- the
    21     bank prefer that, you know, close the
    22     account, open an account.         But if a customer
    23     said I want to change account from -- let us
    24     say if I have an account in my name as
    25     individual and I want this account to



   Golkow Litigation Services                                        Page 199
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 201 of Review
                                                    Confidentiality     392


     1     continue but to be under a new company name
     2     and they have formed my new company, from
     3     what I can see, you can -- you can -- you can
     4     ask -- you can -- you know, you can follow a
     5     certain protocol the bank has and the certain
     6     documents to be signed by both party and the
     7     bank will -- will offer this service.            That's
     8     a -- you know, this is 20 years.           I don't
     9     know the details of it.         I'm not familiar how
    10     it works because it doesn't come to me.             But
    11     this is the way I can say when I see -- when
    12     I talk about when I see it now.
    13                     (Al Rajhi Exhibit ARB 48 marked
    14             for identification.)
    15     QUESTIONS BY MR. CARTER:
    16             Q.      And if we can mark as the next
    17     exhibit the document at Tab 13.
    18                     This is, again, another
    19     communication from Al-Haramain that was
    20     produced by the bank, also from Aqeel
    21     Al-Aqil.     This one is dated November 25,
    22     2000, and appears to be addressed to you.
    23                     Is that correct?
    24                     MR. CURRAN:      Objection as to
    25             form.



   Golkow Litigation Services                                        Page 200
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 202 of Review
                                                    Confidentiality     392


     1                     THE WITNESS:      Let me see it.
     2                     MR. CURRAN:      Withdraw that
     3             objection.     I see it's addressed to
     4             him by name.
     5                     THE WITNESS:      Okay.    Yes, I can
     6             see.
     7     QUESTIONS BY MR. CARTER:
     8             Q.      Okay.    And that's addressed to
     9     you by name, correct?
    10             A.      Yes, this letter is in my name.
    11             Q.      And, in fact, Aqeel Al-Aqil has
    12     addressed this to you as the Honorable
    13     Brother Abdullah bin Soliman al Rajhi,
    14     correct?
    15             A.      Yes, this is what he put in his
    16     letter.
    17             Q.      Isn't that familiar terminology
    18     you're referring to?
    19             A.      No.    I think he wanted to --
    20     you know, his excellency, honorable brother,
    21     I think it's -- you know, it's -- but it
    22     doesn't -- no -- wait.        In English, it's not
    23     like this.     In Arabic it's -- this is -- this
    24     is -- I think it's a -- the translation is
    25     not accurate.



   Golkow Litigation Services                                        Page 201
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 203 of Review
                                                    Confidentiality     392


     1             Q.      What do you think the
     2     appropriate translation is?
     3             A.      As I said, you know -- you
     4     know, his excellency, Abdullah is brother,
     5     okay, you know, in Arabic, you know, 'akh,
     6     you know, people address each other with the
     7     word of brother.
     8                     Okay.    So -- so this is -- he
     9     said, you know -- excellency, brother, His
    10     Excellency.     I don't know.      I think, yes, no,
    11     no.   I think it's just the same, but in
    12     Arabic it was used as a normal.           Now here it
    13     looks like, you know, recognition, but it
    14     is -- so this is -- I think he wanted to send
    15     then this very nicely, but again, this letter
    16     doesn't come to me.        This is -- goes to
    17     the -- normally come to the right department,
    18     doesn't come to my office, and they deal with
    19     it.
    20             Q.      But, again, you know, in this
    21     case, you know, he for some reason decided to
    22     address it to you, correct?
    23             A.      Yeah, he -- yeah, he decided
    24     this one to address this one, yes.
    25             Q.      And it concerns the opening of



   Golkow Litigation Services                                        Page 202
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 204 of Review
                                                    Confidentiality     392


     1     a new account for Al-Haramain, correct?
     2             A.      Right.     Yes.
     3             Q.      And then there's handwriting
     4     below.    That says, "Very urgent.         Please
     5     approve opening the required account.
     6     Kindest regards," and it's signed the
     7     director of branches division, Dr. Mansour
     8     bin Abdullah al Jarbu.
     9                     Do you see that?
    10             A.      Yes.
    11             Q.      Okay.    Who was Dr. Mansour bin
    12     Abdullah al Jarbu at Al Rajhi Bank in this
    13     time period?
    14             A.      Well, from whatever -- here,
    15     the director of branches division.           So
    16     he's -- he's the director of the branches.
    17             Q.      So is he in charge of all of
    18     the branches?
    19             A.      Yes, this would be charge --
    20     but also he has a boss to report to, which is
    21     deputy general manager.         So he's not -- you
    22     know, he doesn't report to me directly.             He
    23     report to someone between me and -- I mean,
    24     there was -- there would be someone between
    25     him -- between him and the -- and the general



   Golkow Litigation Services                                        Page 203
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 205 of Review
                                                    Confidentiality     392


     1     manager.     There would -- there's another
     2     individual with a title of deputy general
     3     manager.
     4             Q.      Okay.    But in terms of Dr. al
     5     Jarbu's role at this time, he was not the
     6     manager of a single branch; he had a role
     7     directing the branches in general, correct?
     8             A.      Yeah.    He's head office staff
     9     sitting in the head office, and he has
    10     supervision for all the branches.
    11             Q.      Okay.    And did he report to
    12     your deputy?
    13             A.      He report to my deputy, yes.
    14             Q.      And did his normal day-to-day
    15     responsibilities involve opening accounts?
    16             A.      No, I'm not aware at that time
    17     what exactly is his responsibility, but there
    18     will be different people reporting to the
    19     deputy general manager, you know.           This must
    20     be dealing with a certain -- certain request
    21     from the branches come to him.
    22             Q.      And do you have any
    23     understanding how this particular request
    24     ended up being referred to him for action?
    25             A.      Well, I think, again, the only



   Golkow Litigation Services                                        Page 204
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 206 of Review
                                                    Confidentiality     392


     1     way I see it is the branch send a letter to
     2     him because this is -- he sent it to the
     3     branch manager.      So this letter either came
     4     from the branch to him or came from someone
     5     in the head office, including maybe my office
     6     without I see it, you know, they just -- you
     7     know, they just sent it to the right -- to
     8     the proper -- the proper department to deal
     9     with it.     And it came to his desk or the
    10     customers are having, you know, approached
    11     him directly.
    12                     So I didn't know how, you
    13     know -- I wouldn't know that -- how -- you
    14     know, there's thousands of things like this,
    15     maybe happens every week and every day.             So
    16     it would be difficult for someone to, you
    17     know, guess what it could be, but it's
    18     normal.    You know, they ask for open an
    19     account, it could go to the branch, could
    20     come to someone in the head office and then
    21     he authorize them to open the account.
    22                     And also I didn't know -- and
    23     sometimes goes to the branch directly.            So I
    24     don't know in this case why, you know -- why
    25     the head of the branch give this -- you know,



   Golkow Litigation Services                                        Page 205
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 207 of Review
                                                    Confidentiality     392


     1     he dealt with it.
     2             Q.      The text of the letter, as we
     3     can see, is addressed to you as Brother
     4     Abdullah bin Soliman al Rajhi, and on the
     5     face we know that ensuing action was taken by
     6     the director of the branches division,
     7     Dr. Mansour bin Abdullah al Jarbu, correct?
     8             A.      Yes, it is to me, and Jarbu has
     9     dealt with it.      Yes.
    10             Q.      And he describes the approval
    11     for opening the required account is very
    12     urgent, correct?
    13             A.      For opening account, yes.         I
    14     mean, this is -- again, if a customer -- if
    15     someone called and want to open the account,
    16     he will -- you know, he will move it toward
    17     urgent.      You know, customers want the account
    18     to be opened.
    19                     So I -- you know, I -- I didn't
    20     think this is, you know -- because of
    21     Al-Haramain, how would we do it.           Think --
    22     you know, I don't know if we check if other
    23     letter came to me he would also see -- any
    24     customer want to open an account, you know,
    25     you need to open it quickly.



   Golkow Litigation Services                                        Page 206
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 208 of Review
                                                    Confidentiality     392


     1             Q.      An account opening could be
     2     handled at the branch level, correct?
     3             A.      Exactly right.       This is where
     4     I'm -- you know, I don't know why -- why
     5     this -- now when I look at it again, I don't
     6     know why they had to come because it could go
     7     to the branch directly and open the account.
     8     He doesn't need anyone in the head office to
     9     go and -- so it see -- unless, you know, they
    10     went to that branch and that branch, you
    11     know, did not accommodate the request, and
    12     they had to come to this -- to the head -- I
    13     don't know.     But normally they don't need to
    14     come to the head office.         They didn't need to
    15     send this letter.       You know, this is 2000,
    16     you know, so...
    17             Q.      We spent some time talking
    18     about various requests from Al-Haramain to
    19     transfer accounts from the names of
    20     individuals to the names of Al-Haramain, and
    21     you'll recall that one of those requests
    22     concerned an account in the name of Aqeel
    23     Al-Aqil?
    24             A.      One of the account being
    25     transferred, yes, in one of the ones, yes.



   Golkow Litigation Services                                        Page 207
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 209 of Review
                                                    Confidentiality     392


     1             Q.      Yeah.    And Aqeel was involved
     2     in some of the other requests as well, you
     3     recall?      Making the requests?
     4             A.      Making -- this one is asking
     5     for opening an account.
     6             Q.      Yeah, I'm talking about the
     7     earlier ones about -- indicating that there
     8     were accounts in the name of individuals that
     9     need to be changed into Al-Haramain's name.
    10                     Do you recall that?
    11             A.      Yeah, I recall the letter sent
    12     by him to change it from individual to the
    13     charity account.
    14             Q.      And are you aware that the
    15     discovery conducted in the litigation has
    16     included discovery concerning accounts that
    17     the bank maintained for Aqeel Al-Aqil?
    18                     MR. CURRAN:      Objection as to
    19             form.   Lack of foundation.
    20                     THE WITNESS:      So -- so what was
    21             the question?
    22                     MR. CURRAN:      He's asking you
    23             about the discovery in the litigation.
    24                     THE WITNESS:      Yes.
    25                     Yeah, what -- so what's -- I



   Golkow Litigation Services                                        Page 208
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 210 of Review
                                                    Confidentiality     392


     1             don't know.
     2     QUESTIONS BY MR. CARTER:
     3             Q.      Are you aware that the bank has
     4     produced records relating to accounts
     5     maintained for Aqeel Al-Aqil?
     6             A.      No, I'm not familiar with the
     7     details what's been -- which document being
     8     sent part of the discovery.
     9                     (Al Rajhi Exhibit ARB 49 marked
    10             for identification.)
    11     QUESTIONS BY MR. CARTER:
    12             Q.      Okay.    If we can, can we mark
    13     as the next exhibit the document at Tab 11.
    14                     MR. CURRAN:      And here is the
    15             Arabic if that helps.
    16                     THE WITNESS:      Okay.    It's
    17             different.     This is --
    18                     MR. CURRAN:      Mr. Carter, can
    19             you confirm that the Arabic here is
    20             for this document?
    21                     THE WITNESS:      He has it on the
    22             top.   Okay.    In this --
    23                     MR. CARTER:      Personally, Chris,
    24             I'm incapable of confirming that any
    25             Arabic document is anything, so -- but



   Golkow Litigation Services                                        Page 209
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 211 of Review
                                                    Confidentiality     392


     1             we can ask someone else if
     2             necessarily.
     3                     MR. CURRAN:      Do you think --
     4             I'll ask the witness.        Is this the
     5             same document?
     6                     THE WITNESS:      No.    Here -- no,
     7             I see a different -- a different --
     8                     MR. CURRAN:      Different account.
     9                     THE WITNESS:      Yeah, this is
    10             Abdul Hamad and this is Aqeel Aqeel.
    11                     MR. CURRAN:      The witness
    12             believes there's a mismatch here,
    13             Mr. Carter.
    14                     THE WITNESS:      The Arabic one,
    15             yes.
    16                     MR. CARTER:      Okay.    We're
    17             working through this real quick.          Hang
    18             on one second, Chris.
    19                     Chris, we're going to take a
    20             second.    I think the witness is
    21             correct that there was some mix-up and
    22             the Arabic document attached doesn't
    23             correspond to the translation.          And
    24             we're going to get that corrected.
    25             Just give it one second.



   Golkow Litigation Services                                        Page 210
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 212 of Review
                                                    Confidentiality     392


     1                     MR. CURRAN:      Sure.
     2                     COURT REPORTER:       Sean, did you
     3             want to go off the record?
     4                     MR. CARTER:      Yeah, I think it
     5             will just take a couple of seconds.
     6                     VIDEOGRAPHER:      Off the record.
     7             6:59 p.m.
     8              (Off the record at 6:59 p.m.)
     9                     VIDEOGRAPHER:      On the record.
    10             7:05 p.m.
    11     QUESTIONS BY MR. CARTER:
    12             Q.      Okay.    Mr. Al Rajhi, I
    13     apologize for that brief delay.           As I
    14     mentioned, we've received the account
    15     statements from the bank for a few accounts
    16     associated with Aqeel Al-Aqil, and I've
    17     marked the statements for one of those
    18     accounts as the next exhibit and ask if you
    19     can look and tell me whether you recognize
    20     that as a Al Rajhi Bank account statement.
    21                     MR. CURRAN:      We're just opening
    22             up, I guess, the new Exhibit 49.          Or
    23             the new Arabic part of it.
    24                     JON KNOWLES:      Yes, sir.
    25                     MR. CURRAN:      Okay.



   Golkow Litigation Services                                        Page 211
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 213 of Review
                                                    Confidentiality     392


     1                     THE WITNESS:      Yeah, this is --
     2             yes, this is -- this is a bank
     3             statement.
     4     QUESTIONS BY MR. CARTER:
     5             Q.      Okay.    And if I understand
     6     correctly, the second column from the left
     7     reflects the date of the relevant activity?
     8             A.      The -- yes, you have the
     9     date -- two dates.
    10             Q.      On the left, I have the Islamic
    11     calendar date, and to the right of that I
    12     have the Gregorian date?
    13             A.      Yes.    Yeah, you're right.
    14             Q.      Okay.    So the first entry here
    15     corresponds to January 10, 1998?
    16             A.      January -- yeah, '98
    17     January 10, yes.
    18             Q.      Okay.    And this, you agree, is
    19     an Al Rajhi account for Aqeel Al-Aqil?
    20             A.      Yes, that's how it looks.         Yes.
    21             Q.      Okay.    And paging to the end of
    22     this exhibit, the final date for which we
    23     have activity is April 15, 2002, correct?
    24             A.      This is 2015.      No, I have --
    25     yeah, 2015, right.       Arabic 2015.



   Golkow Litigation Services                                        Page 212
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 214 of Review
                                                    Confidentiality     392


     1             Q.      No, I think the 15 refers to
     2     the day, right?      I think the sequence here is
     3     the first two digits in the Gregorian is the
     4     year, the second two is the month and the
     5     last two is the day.
     6             A.      No, because you see it here,
     7     the left -- the left one, the day, right?
     8                     MR. CURRAN:      He's saying next
     9             to year.
    10                     THE WITNESS:      2002.    And then
    11             15.   Because the one -- okay.         This is
    12             the -- okay.     Yes.
    13     QUESTIONS BY MR. CARTER:
    14             Q.      Okay.    So were we in agreement
    15     that this account statement covers the period
    16     January 10, 1998, through April 15, 2002?
    17             A.      Yes.    That's in the top saying
    18     this.
    19             Q.      And so the account was opened
    20     and active at least throughout that period,
    21     correct?
    22             A.      Yes.
    23             Q.      Okay.    And am I correct that
    24     the three columns to the left, the first --
    25     on the furthest left is withdraws, the second



   Golkow Litigation Services                                        Page 213
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 215 of Review
                                                    Confidentiality     392


     1     column in the middle is deposits, and the
     2     column to the right reflects the resulting
     3     account balance?
     4             A.      Medina --
     5                     MR. CURRAN:      So I guess it's
     6             the left side of the Arabic but it's
     7             the right side of the --
     8                     THE WITNESS:      Yeah.
     9                     MR. CURRAN:      Yeah.
    10                     THE WITNESS:      Yeah, one debit,
    11             one credit, yes.
    12     QUESTIONS BY MR. CARTER:
    13             Q.      Okay.    And just going to second
    14     page of this 41455, there are a series of
    15     cash deposits into this account -
    16     440,000-plus riyals, 676,000-plus riyals,
    17     1.259 million riyals, 684,000 riyals, 690,000
    18     riyals.
    19                     Do you see all of those?
    20             A.      Yes, I see it.
    21             Q.      And so just in this section,
    22     this reflects very large cash deposits into
    23     this account held in the name of Aqeel
    24     Al-Aqil, correct?
    25             A.      Yes.



   Golkow Litigation Services                                        Page 214
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 216 of Review
                                                    Confidentiality     392


     1             Q.      And those continue on the next
     2     page?
     3             A.      Yes.    Now --
     4             Q.      And they continue still on the
     5     pages that follow?
     6             A.      Is the date here?       No.    What's
     7     the date here?
     8                     Okay.    This is 2000.      Yeah, I
     9     can see here up to -- yeah, so I can see from
    10     2000, after 2000, only the -- so it's almost
    11     the account is not active since 2000, right?
    12             Q.      Yeah, there is -- there is some
    13     credit card deductions after that point,
    14     correct?
    15             A.      Yes.
    16             Q.      And those are carried out
    17     through the account, right?
    18             A.      What's the --
    19             Q.      And there's a cash deposit in
    20     February of 2001?
    21             A.      February 2001.
    22             Q.      So still --
    23             A.      1,200 riyal.      A very small
    24     amount.
    25             Q.      Yeah.



   Golkow Litigation Services                                        Page 215
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 217 of Review
                                                    Confidentiality     392


     1                     So you agree with -- you would
     2     agree that there were some very large cash
     3     deposits into this account between the period
     4     of 1998 and 2000?
     5             A.      '98 and maybe '99, yes.         But
     6     not 2000.
     7             Q.      And that included at one point
     8     a single cash deposit of 1.259 million
     9     riyals?
    10             A.      Yes.
    11             Q.      And quite a number of other
    12     very sizeable.
    13                     And based on your account
    14     statement, it appears that the total activity
    15     in the account throughout this time period
    16     involved deposits on the order of 19,848,000
    17     riyals and withdrawals on the order of
    18     19,790,000 riyals, correct?
    19             A.      Yes.
    20             Q.      And are you generally, given
    21     your work in the banking industry, familiar
    22     with the approximate riyal-to-dollar
    23     conversion rate during this time period?
    24             A.      I believe it is the same rate
    25     as today, that the 3 -- $1, 3.175, yeah.



   Golkow Litigation Services                                        Page 216
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 218 of Review
                                                    Confidentiality     392


     1             Q.      3.715?
     2             A.      3.75.
     3             Q.      Oh, 3.75.
     4                     So a little under 3 riyals to
     5     the dollar, correct?        Or 4 riyals to the
     6     dollar?
     7             A.      Yeah, under 4, yeah, one
     8     quarter, yes, under four, yes.
     9             Q.      So this account in terms of
    10     dollars during this 1998, 1999 or so period,
    11     took in something on the order of $5 million
    12     in deposits and processed $5 million in
    13     withdrawals, right?
    14             A.      Yeah, it might be 5 million,
    15     yes.    I think -- yes, about 4 million, not 5
    16     million.     About 4 million.      I think.     Yeah,
    17     divide 920 by 3.75.
    18             Q.      You know, when I divided the
    19     19,790,501 riyals by 3.75, I get a little
    20     north of $5.279 million.
    21             A.      Okay.
    22             Q.      So a little more than
    23     $5 million.
    24                     And under -- do you know
    25     whether under the bank's money laundering



   Golkow Litigation Services                                        Page 217
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 219 of Review
                                                    Confidentiality     392


     1     protocols in place at the time the personnel
     2     at the bank responsible for its anti-money
     3     laundering practices were obligated to
     4     monitor accounts to determine whether or not
     5     the transactions were inappropriate for the
     6     type of account?
     7             A.      Yes, this is -- these
     8     statements going back to almost 25 years ago,
     9     which is at that time cash transaction was
    10     maybe revealed in the system.          It's not like
    11     today.    I know when they look at today, it
    12     looks like something strange, but at that
    13     time it was -- you know, this country was
    14     very much cash transaction country.            And, you
    15     know, if you -- you know, if you -- it's not
    16     big amounts for -- for -- to see an account
    17     having that much of money.
    18                     And also, again, it was
    19     manual -- manual -- you know, the system was
    20     not -- was not that strong as it is today.
    21     And this is why also you can see that in the
    22     early years most of these transaction and in
    23     the last two years it was -- that could
    24     become also from the bank notified the
    25     customers or it could be, you know, the



   Golkow Litigation Services                                        Page 218
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 220 of Review
                                                    Confidentiality     392


     1     customers -- so must -- something has
     2     happened that we see that.         I don't know what
     3     it could be, because I don't have the details
     4     that -- in the last two years, these big
     5     transactions aren't there anymore.           So
     6     something has been done.
     7             Q.      Well, but you don't have any
     8     actual knowledge that something was done;
     9     you're just speculating based on the
    10     activity?
    11             A.      Yes.    Yes.    No, definitely, I
    12     don't know the details.         I'm not -- what I
    13     see, you know, in the first two years was big
    14     amount and then in the last two years, the
    15     amount became much, much lower.           So I would
    16     assume that something has been done.
    17             Q.      And when it denotes a cash
    18     deposit, that is a deposit of physical money,
    19     correct?
    20             A.      Cash deposits means cash, yeah.
    21     Cash deposits.
    22             Q.      Okay.    So physical money,
    23     right?
    24             A.      Yes, physical money.        Yeah.
    25             Q.      Okay.    So if we're looking at,



   Golkow Litigation Services                                        Page 219
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 221 of Review
                                                    Confidentiality     392


     1     for instance, page 41455 of this account
     2     statement, which beginning with the second
     3     entry on that page, which is the first cash
     4     deposit on this page, through the bottom, it
     5     spans a period of May 5th to May 16th.
     6                      So about 11 or 12 days, right?
     7             A.       Sorry, May -- May 5th -- let me
     8     just go back.      May 5th?     You say -- which
     9     year?
    10             Q.       May 5, 1999.
    11             A.       I see here generally -- what's
    12     the number, please?
    13             Q.       I'm sorry, the number of the
    14     page?    41455.
    15             A.       No.   No.
    16                      MR. CURRAN:     That was the one
    17             above.
    18                      THE WITNESS:     So that's
    19             different -- because here we have the
    20             dates.    Where is the date here?        It
    21             doesn't show the date.        We don't have.
    22             Because there it's showing different
    23             dates 4145.
    24                      Now, 41455 is about the period
    25             of January 1, '98 to December 2002.



   Golkow Litigation Services                                        Page 220
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 222 of Review
                                                    Confidentiality     392


     1             Okay.   And then you have here the
     2             March here, 15 March, right.
     3     QUESTIONS BY MR. CARTER:
     4             Q.      And it's not March.        Let's go
     5     up and talk about the specific transaction
     6     events, and the second event listed there is
     7     a cash deposit of 440,792 riyals on May 5,
     8     1999.
     9                     Right?
    10             A.      Yes.    Yes.
    11             Q.      And the bottom one is May 16,
    12     1999, and that's a cash deposit in the amount
    13     of 402,576 riyals.
    14             A.      Okay.    Yes.
    15             Q.      Okay.    And so during this
    16     period, you agree with me that this
    17     concerns -- we're looking just at a period
    18     from May 5, 1999, to May 16, 1999, so 11 or
    19     12 days, right?
    20             A.      Yes, right.
    21             Q.      And during that time, there are
    22     ten cash deposits made into Aqeel Al-Aqil's
    23     account, right?
    24             A.      Right.
    25             Q.      And the smallest of those is



   Golkow Litigation Services                                        Page 221
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 223 of Review
                                                    Confidentiality     392


     1     399,000 riyals, right?
     2             A.      The smallest is, yes, 399,000.
     3             Q.      Okay.    Which is north of
     4     $100,000, correct?
     5             A.      Right.
     6             Q.      Okay.    And the largest is
     7     1.259 million riyals, correct?
     8             A.      1.25, right.
     9             Q.      And that's north of $300,000?
    10             A.      Yes, that's correct.
    11             Q.      And there are numerous other
    12     cash deposits in the 400,000 riyal range and
    13     in the 600,000 riyal range, right?
    14             A.      Yes, it's right.
    15             Q.      And each of the 400,000 cash
    16     deposits is over $100,000, and the 600 is
    17     somewhere north of $150,000, right?
    18             A.      Yes.
    19             Q.      And so during this period of
    20     just 11 days, Aqeel Al-Aqil deposited in
    21     physical cash millions of riyals into his
    22     account, right?
    23             A.      Yes, that's right.
    24             Q.      Based on your understanding of
    25     the bank's anti-money laundering protocols at



   Golkow Litigation Services                                        Page 222
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 224 of Review
                                                    Confidentiality     392


     1     the time, should the deposits by Aqeel into
     2     his personal account with this kind of cash
     3     have triggered any sort of reporting
     4     requirement?
     5             A.      Mr. Carter, if this is today, I
     6     assure you this will -- you know, will ring,
     7     you know, and something will be done about
     8     it.   But we're talking about 24 years ago.
     9     And at that time, you know, it's -- it's
    10     different the amount of cash.          We're talking
    11     about '99.     It's -- you know, we are at that
    12     time a very much cash transaction society.
    13                     Actually, if anything, the
    14     government, the Central Bank and the banks,
    15     including Al Rajhi Bank, we worked very hard
    16     based on strategy, you know, the government
    17     has to move the society from cash to be more
    18     payment.     And today we -- you know, today I
    19     think one we are the most advanced -- I
    20     wouldn't say most advanced, but very much
    21     advanced in terms of, you know, making
    22     payments go for -- you know, to get -- to get
    23     away from the cash payment.
    24                     25 years ago -- and again, this
    25     is not only, you know, Saudi.          You know,



   Golkow Litigation Services                                        Page 223
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 225 of Review
                                                    Confidentiality     392


     1     globally it was -- it was -- it was -- maybe
     2     here we are more than maybe certain
     3     countries, but many of countries in the
     4     region, you know, that it was like this, it
     5     was cash driven.
     6                     So I think if you look at the
     7     number today and you ask question about
     8     something we are in '23 or something happened
     9     25 years ago, without, you know, considering
    10     the difference in the time, I think this is
    11     will not give the right picture.           That's --
    12             Q.      That's what --
    13             A.      Yeah.
    14             Q.      You think --
    15             A.      Go ahead.
    16             Q.      You think the difference in
    17     time explains the value of the transactions
    18     or the fact that he was operating in cash?
    19                     MR. CURRAN:      Objection as to
    20             form.
    21                     THE WITNESS:      No, I think it's
    22             operating in the cash more.         Of course
    23             the value has a difference, but a
    24             small operating -- it's about
    25             operating in cash, not about the



   Golkow Litigation Services                                        Page 224
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 226 of Review
                                                    Confidentiality     392


     1             value.    You know, operate --
     2     QUESTIONS BY MR. CARTER:
     3             Q.       Even in -- sorry.
     4                      Even in a cash society, someone
     5     depositing into their personal account what
     6     looks to be about 6 million riyals in the
     7     course of a handful of days would have been
     8     unusual in 1999, wouldn't it?
     9             A.       Well, you know, I -- you know,
    10     we are a bank have million of customers and
    11     at that time, '99 was almost manual system
    12     and we have hundreds of branches.           Now -- and
    13     at that time, again, I agree with you, if you
    14     look at it now, you know, it's a big amount.
    15     But you can see also see from the same
    16     statement how things has changed over the
    17     years, you know, just the few years after
    18     this one.
    19                      So, you know, at that time I
    20     can tell you that it's not unusual that much
    21     that you see a lot of individuals will be --
    22     you know, people used it to -- at that time
    23     was to buy and sell some lands in cash just,
    24     you know, people cash -- they give cash and
    25     go to the -- change the title and deed and



   Golkow Litigation Services                                        Page 225
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 227 of Review
                                                    Confidentiality     392


     1     they give the cash and they go put this in
     2     his bank account.       And I have seen, you know,
     3     transactions where people have -- at the time
     4     they just change buying houses use the cash.
     5                     So...
     6             Q.      Turning to the next page,
     7     41456, the fifth entry down is a cash deposit
     8     for a little over 443,000 riyals -- I'm
     9     sorry, the one above that.         The fourth.      I'm
    10     sorry.
    11                     The fourth one down is cash
    12     deposit for a little over 443,000 riyals, and
    13     you see in the note field it specifically
    14     refers to Al-Haramain Islamic Foundation?
    15             A.      Yes.
    16             Q.      Okay.    And if we turn to
    17     page 41460?
    18             A.      Yes.
    19             Q.      You see there are a series of
    20     deposits into Aqeel's accounts that include a
    21     notation "Al-Haramain Islamic Foundation"?
    22             A.      Right.
    23             Q.      And so this indicates within
    24     the own -- the bank's own records that Aqeel
    25     was depositing Al-Haramain Islamic fund



   Golkow Litigation Services                                        Page 226
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 228 of Review
                                                    Confidentiality     392


     1     foundations {sic} into his bank account,
     2     right?
     3             A.      Is this the same account that
     4     the bank received a letter to change it from
     5     his name to Al-Haramain name or not?
     6             Q.      It is not.      This account was
     7     never changed during the '98 to 2002 time
     8     period.
     9             A.      Well, again, I'm not familiar
    10     with the details of this account, but here
    11     where we -- it reads this money was deposited
    12     for Al-Haramain Islamic Foundation, but,
    13     again, I don't know the details of it.
    14             Q.      So do you agree, given the
    15     amount of cash and the number of cash
    16     transactions, along with the fact that a
    17     number of them were specifically referenced
    18     as Al-Haramain Islamic Foundation monies,
    19     that it would have been relatively easy for
    20     someone at the bank who is paying attention
    21     to this account to realize that this was
    22     using -- being used by Aqeel for some other
    23     purpose other than his own personal affairs?
    24                     MR. CURRAN:      Objection as to
    25             form.



   Golkow Litigation Services                                        Page 227
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 229 of Review
                                                    Confidentiality     392


     1                     You may answer.
     2                     THE WITNESS:      So, Mr. Carter,
     3             this -- this cash being brought to the
     4             branch.    Now, when someone -- he put,
     5             you know, cash deposit into
     6             Al-Haramain, I don't know how -- you
     7             know, I don't know how -- how -- you
     8             know, how he came to this.         So it
     9             could be -- I'm not suggesting it's
    10             the case because why we would not see
    11             it in other and now we see it.
    12                     It could be, you know, he's
    13             working in Haramain, so this is the --
    14             someone in the branch assumed for this
    15             transaction Al-Haramain Islamic
    16             Foundation.     It could be he himself
    17             when he visit, he went to the branch
    18             to write this is to move to
    19             Al-Haramain.     So I have no idea
    20             about -- about why it's there.
    21                     Now, again, you know, we have
    22             millions of customers, millions of
    23             accounts.    This is '99.      No system --
    24             if the branch manager visit branch or
    25             missed, you know -- you know, missed



   Golkow Litigation Services                                        Page 228
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 230 of Review
                                                    Confidentiality     392


     1             this some big transaction or some
     2             transaction came to Haramain, it's --
     3             you know, at that time -- at that time
     4             with the manual system at the bank,
     5             you know, could be -- could be -- and
     6             again, this is not only -- you know,
     7             and now I just want to repeat,
     8             especially, you know, easy to look at
     9             it -- you know, look at it at what it
    10             was at that time.
    11                     Banks globally, you know,
    12             not -- you know, I think coming now
    13             and look at the Al Rajhi, one customer
    14             25 years and say, why did not this,
    15             why no, why in '23 standards, and this
    16             is '24.    So you need to see also what
    17             was -- you know, what was things and
    18             other banks and also other countries.
    19                     And then in the -- you know, we
    20             are in different world today.          Banking
    21             is totally different today.         The
    22             governance, compliance are different.
    23             Cash monitoring today is much, much
    24             different than what it used to be
    25             before.



   Golkow Litigation Services                                        Page 229
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 231 of Review
                                                    Confidentiality     392


     1                     Systems today can help you a
     2             lot.   You don't rely on, you know --
     3             especially like Al Rajhi Bank, the big
     4             retail branches, you know, we have
     5             today -- as I said, you know, we have
     6             more than 20 million customers and
     7             also we are one of the biggest in
     8             terms of small and big businesses.
     9                     And so, you know, it's very
    10             important, you know, to see this
    11             within the time it was there.          You
    12             know, I agree with you, today look at
    13             it, it looks, oh -- it looks
    14             something.     But -- and again, and I
    15             would assume, if we look at other
    16             accounts, we might also have --
    17             differently, not other accounts, you
    18             know, at that time, most of the
    19             customers, most of the businesses,
    20             most of the individuals, if you look
    21             at their account, cash transaction,
    22             cash deposit was much, much more than
    23             before.
    24                     Actually, at that time, you
    25             know, we were expanding and expanding



   Golkow Litigation Services                                        Page 230
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 232 of Review
                                                    Confidentiality     392


     1             and then opening new branches and ATMs
     2             because cash today we're starting to
     3             closing some of our ATMs machine
     4             because, you know, people are moving
     5             more to the plastic cards and more
     6             relying on getting away from the cash.
     7                     So it's good to see it in this
     8             context.
     9     QUESTIONS BY MR. CARTER:
    10             Q.      Am I correct that during this
    11     time period, 1998, '99 and perhaps 2000, in
    12     order to make a physical cash deposit, the
    13     person would have to have gone to an Al Rajhi
    14     Bank branch, correct?
    15             A.      The person will go -- yes and
    16     no.   Some customers, big customers, the bank
    17     could offer them the same as where they take
    18     the cash from them, as I recall.           And I don't
    19     have the details, but I know that if big
    20     customers, sometimes the bank could go and
    21     collect the cash.
    22             Q.      So someone at the bank had to
    23     interface with the clients for purposes of
    24     dealing with this -- these kinds of cash
    25     transactions?



   Golkow Litigation Services                                        Page 231
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 233 of Review
                                                    Confidentiality     392


     1             A.      No, I think at that time, you
     2     know, what -- what most of the business
     3     that -- the customer come himself with the
     4     cash, and then he would be in a line waiting
     5     for his queue, and then he will deposit the
     6     cash and get the deposit slip for the cash he
     7     deposited.
     8             Q.      And so if we look at those
     9     transactions that we discussed earlier from,
    10     you know, May 5th of '99, to May 16th, there
    11     were sort of two ways those -- that
    12     approximate 6 million riyals in cash could
    13     have been deposited at Al Rajhi Bank in those
    14     11 days during the time period.           Either Aqeel
    15     or someone else brought the actual money to
    16     the bank and handed it over to a bank
    17     employee at the branch.
    18                     Right?
    19             A.      Yes.
    20             Q.      Okay.    And there would be a
    21     branch manager on a daily basis?
    22             A.      Yes.
    23             Q.      Okay.    And the only alternative
    24     is that someone from the bank would have gone
    25     to get the cash from Aqeel and take it back



   Golkow Litigation Services                                        Page 232
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 234 of Review
                                                    Confidentiality     392


     1     to the bank and deposit it?
     2                     MR. CURRAN:      Objection as to
     3             form.
     4                     You may answer.
     5                     THE WITNESS:      Yeah, that's --
     6             that's -- could be very few customers
     7             based on their activity or the
     8             bank could have -- again, I don't
     9             remember whether this was during this
    10             period or not, but it could happen for
    11             some customers.
    12     QUESTIONS BY MR. CARTER:
    13             Q.      We talked some about the
    14     current monitoring protocols and the things
    15     you can do with electronic systems, and I'm
    16     just trying to be clear, that an employee of
    17     the bank would necessarily have been aware of
    18     all of these cash transactions coming in?
    19             A.      Yes.
    20                     MR. CURRAN:      Objection as to
    21             form.
    22                     You may answer.
    23                     THE WITNESS:      Yeah, yeah,
    24             you're right, but to -- he will see
    25             the staff -- tons of customers doing



   Golkow Litigation Services                                        Page 233
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 235 of Review
                                                    Confidentiality     392


     1             the same thing, they were bringing a
     2             lot of cash.     It's not only one
     3             customer.    I don't know which branch
     4             is this one.     Let me just try to read
     5             the branch -- does this show us the
     6             branch here on the statement?
     7                     So this is -- so some of the
     8             branches I can't see the branch name.
     9             Oh, Al Olaya.      Yeah, this is a bigger
    10             branch.    This is, actually, not far
    11             away from where we're having our
    12             meeting here.      It's -- especially at
    13             that time in the '99, 2000, it was to
    14             be -- still is, but it used to be even
    15             more, very important commercial,
    16             active area.
    17                     So this branch, you know, he
    18             will see -- they will see big number
    19             of customers who they will come with
    20             the cash and they deposit because it
    21             is a business area and they have, you
    22             know, activities in that branch.
    23     QUESTIONS BY MR. CARTER:
    24             Q.      Did you believe that that
    25     branch encountered a lot of customers in the



   Golkow Litigation Services                                        Page 234
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 236 of Review
                                                    Confidentiality     392


     1     1999 period who in an 11-day period deposited
     2     cash in the equivalent of $5 million into
     3     their personal account?
     4                     MR. CURRAN:      Objection as to
     5             form.
     6                     THE WITNESS:      Yeah, I don't
     7             know, but I'm saying, you know, Al
     8             Olaya branch, which is based in the
     9             city, bigger branch at that time
    10             beginning in 19 -- in 2000.         So it is
    11             a bigger branch, so that's what I
    12             said.
    13     QUESTIONS BY MR. CARTER:
    14             Q.      But are you aware whether any
    15     of Aqeel Al-Aqil's cash deposits were ever
    16     reported as suspicious?
    17             A.      I am not aware of any
    18     transaction being reported or not.           And any
    19     transaction, when there's a suspicious
    20     transaction, normally it goes without --
    21     without I know about it.         Just go by -- you
    22     know, by the -- the -- the right department
    23     who supports to look at this and send it
    24     without -- comes to -- I didn't see it.
    25             Q.      And on the page we looked at



   Golkow Litigation Services                                        Page 235
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 237 of Review
                                                    Confidentiality     392


     1     previously that indicated Al-Haramain Islamic
     2     Foundation in the notes related to the
     3     deposits 41460 --
     4             A.      This is we're talking July '99,
     5     right?
     6             Q.      Yeah.
     7                     During that time period, when
     8     you're working as general manager, do you
     9     know from your work at that time how that
    10     Al-Haramain Islamic Foundation notation would
    11     come to be included in this data field?
    12             A.      Come to -- sorry, not get the
    13     question.
    14             Q.      Do you know how the reference
    15     to Al-Haramain Islamic Foundation would have
    16     come to be included in this record of the
    17     bank?
    18             A.      No, I wouldn't know.
    19             Q.      So you don't know whether or
    20     not that would have required someone at the
    21     branch level to include that notation?
    22             A.      Yes, I wouldn't know if someone
    23     need -- I think most likely, you know, these
    24     are -- most likely the teller staff who do
    25     the transaction, he will -- he would will --



   Golkow Litigation Services                                        Page 236
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 238 of Review
                                                    Confidentiality     392


     1     he will explain the transaction.
     2                     So, you know, and he would put
     3     Al-Haramain, again, at this -- and the
     4     customer would inform him that, you know, to
     5     put this or he linked this transaction
     6     something to do with Al-Haramain.
     7                     But it's normally done by the
     8     teller staff in the branch.          In this case
     9     that's what they record.
    10                     MR. CARTER:      Chris, we're going
    11             to go shift to a somewhat different
    12             topic for -- in a second here.          So,
    13             you know, if it's a convenient time
    14             for a break, that's fine.
    15                     MR. CURRAN:      Let me ask the
    16             witness.
    17                     Do you want to take a break or
    18             continue?
    19                     THE WITNESS:      We can continue.
    20                     MR. CURRAN:      We're okay to
    21             continue.
    22                     MR. CARTER:      Okay.    Okay.   I
    23             could use a two-minute bathroom break,
    24             so why don't we do that and we'll come
    25             right back.



   Golkow Litigation Services                                        Page 237
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 239 of Review
                                                    Confidentiality     392


     1                     THE WITNESS:      Okay.
     2                     MR. CURRAN:      Okay.
     3                     THE WITNESS:      Good idea.
     4                     VIDEOGRAPHER:      Off the record.
     5             7:40 p.m.
     6              (Off the record at 7:40 p.m.)
     7                     VIDEOGRAPHER:      On the record.
     8             7:47 p.m.
     9     QUESTIONS BY MR. CARTER:
    10             Q.      Mr. Al Rajhi, just to close up
    11     our discussion of this topic about the Aqeel
    12     Al-Aqil account.
    13                     I believe you testified earlier
    14     in the day that that were protocols at place
    15     in Al Rajhi Bank in this 1998, '99 time frame
    16     for reporting suspicious transactions; is
    17     that correct?
    18             A.      That's what I recall.
    19             Q.      Okay.    And again, we've looked
    20     at this series of transactions in which there
    21     were ten deposits into Aqeel's account over
    22     the course of 11 or 12 days in physical cash
    23     totaling upwards of 6 million riyals,
    24     correct?
    25             A.      Yes, that's what you showed me



   Golkow Litigation Services                                        Page 238
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 240 of Review
                                                    Confidentiality     392


     1     before.
     2             Q.      And if that kind of activity
     3     weren't sufficient to trigger a requirement
     4     to report a suspicious activity, what would
     5     it be during this time period?
     6                     MR. CURRAN:      Objection.     Lack
     7             of foundation.
     8                     You may answer.
     9                     THE WITNESS:      You know, I'm not
    10             familiar, you know, with these
    11             transaction, how it works, what the
    12             size of -- of average transaction each
    13             branch.    So I would assume, again,
    14             that the different branches, different
    15             location has different limit of amount
    16             shows suspicious transaction.
    17                     But I know today, this looks
    18             these amount is very big money, but at
    19             that time, you know, it would --
    20             deposit in cash of this size, it's not
    21             very much unusual.
    22                     And again, you know, Al Rajhi
    23             Bank is a very, very big branch.          It's
    24             400 branches, a big number of staff.
    25             Systems at that time, it's not as good



   Golkow Litigation Services                                        Page 239
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 241 of Review
                                                    Confidentiality     392


     1             as it is today.
     2                      So -- and cash, it was not as
     3             it is cash today.       So it was not -- so
     4             at that time maybe there was some
     5             focus and maybe more than cash because
     6             it was not that -- it's not like it is
     7             today.
     8                      And actually, you know, if
     9             you -- at '90s, many people when they
    10             give a charity, they come and bring
    11             cash, bank -- you know, they didn't --
    12             they didn't -- you know, many people,
    13             they didn't -- they didn't have
    14             checkbooks.     You know, at that time
    15             who have checkbooks, very few people.
    16             So people normally will take cash and
    17             deposit.
    18                      And so this is -- this is
    19             different.     Today we're in different
    20             world.
    21     QUESTIONS BY MR. CARTER:
    22             Q.       I understand that, Mr. Al
    23     Rajhi.
    24                      And if these were a series of
    25     deposits of $50 into Mr. Aqeel's personal



   Golkow Litigation Services                                        Page 240
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 242 of Review
                                                    Confidentiality     392


     1     account over ten days, we maybe wouldn't be
     2     talking about this.        But we're talking about
     3     millions of riyals being deposited in cash
     4     over a period of ten days by someone who is
     5     later designated as a terrorist sponsor by
     6     the United States.
     7                     And, you know, in that context,
     8     you know, do you believe that the bank
     9     fulfilled its AML obligations in its handling
    10     of this Aqeel account?
    11                     MR. CURRAN:      Objection as to
    12             form.   Lack of foundation.
    13                     You may answer.
    14                     THE WITNESS:      Yeah, at that
    15             time he was not -- he was -- he was
    16             not -- there was not an issue with him
    17             as an individual.       He was not
    18             designated.     He was -- and again, if
    19             I'm -- if I'm not mistaken also, he
    20             could be a businessman.        He could have
    21             his own businesses, which is, you
    22             know -- so at that time he was, you
    23             know, an average individual.
    24                     This is why maybe explain that
    25             you have seen after -- that his



   Golkow Litigation Services                                        Page 241
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 243 of Review
                                                    Confidentiality     392


     1             account, you know, we don't see these
     2             kind of transactions.        When the
     3             suspicious started, most likely,
     4             that's where you have seen -- we
     5             didn't see these number of
     6             transaction.     Just between '99 and '22
     7             or '21, big change in the way this
     8             account has been operating.
     9     QUESTIONS BY MR. CARTER:
    10             Q.      Well, in the time period that
    11     we're talking about, the bank did have
    12     information available to it that Aqeel was
    13     the director of Al-Haramain Foundation,
    14     correct?
    15             A.      Sorry, what was the question?
    16             Q.      The bank did have information
    17     available to it indicating that Aqeel was the
    18     director of Al-Haramain Foundation?
    19             A.      At this time, at '99?
    20             Q.      Yes.
    21             A.      Yes, at '99, yes, he -- but
    22     this account was not -- yeah, but this
    23     account was -- his personal account was not a
    24     Haramain account.
    25             Q.      Correct.



   Golkow Litigation Services                                        Page 242
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 244 of Review
                                                    Confidentiality     392


     1                     And so what the bank knew about
     2     him personally is that his job was the
     3     director of Al-Haramain Islamic Foundation,
     4     right?
     5                     MR. CURRAN:      Objection as to
     6             form.   Lack of foundation.
     7                     You may answer.
     8                     THE WITNESS:      Yes.    Yes.   He is
     9             and the bank of course when it comes
    10             to Al-Haramain, that his office is in
    11             Al-Haramain.
    12     QUESTIONS BY MR. CARTER:
    13             Q.      And part of the bank's due
    14     diligence in assessing whether or not a
    15     transaction being carried out by any
    16     individual are suspicious is understanding
    17     who that person is and what they do, correct?
    18                     MR. CURRAN:      Objection as to
    19             form.
    20                     You may answer.
    21                     THE WITNESS:      Yeah, but at the
    22             time the KYC is not like today at all.
    23                     You know, today if you open an
    24             account with a KYC, you will know how
    25             much income, how much -- you know, how



   Golkow Litigation Services                                        Page 243
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 245 of Review
                                                    Confidentiality     392


     1             much business he has, what the -- and
     2             this is all being put in the system.
     3             At that time, no, it doesn't.
     4                     So if he's a businessman and he
     5             opened an account and he -- every time
     6             he deals with different individual in
     7             the branches because he can't -- he or
     8             his representative can take a queue
     9             and then he ended in one teller, and
    10             that teller take the deposits, and
    11             KYC, it's basic.      It hasn't -- the
    12             system is basic and he deposit this
    13             money in this time, I wouldn't be
    14             surprised.     Because asking a branch,
    15             maybe -- maybe he did it with maybe
    16             different, five, six, seven tellers.
    17             Some of our branches at that time they
    18             have seven, eight, nine, ten tellers.
    19             And it's all manual.       It's all manual.
    20                     So, again, I think we need --
    21             we need -- when we look at this, we
    22             need to see how things operate at that
    23             time, what are the systems, you know,
    24             what are the KYC being that -- you
    25             know, it was -- and again, the KYC,



   Golkow Litigation Services                                        Page 244
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 246 of Review
                                                    Confidentiality     392


     1             this is not only Al Rajhi.         This is
     2             everywhere.     Globally, it was like
     3             this.   It was a basic.
     4     QUESTIONS BY MR. CARTER:
     5             Q.      Well, if we look at the next
     6     page of this, 41456, you'll be concentrating
     7     on the roughly 6 million riyals that came
     8     into the account over 11 days, it all
     9     continues throughout the remainder of May of
    10     1999, through May 27th, including --
    11             A.      So you're referring to what
    12     period?
    13             Q.      I'm referring to the period of
    14     May 17, 1999, to May 27, 1999.
    15                     So this is a continuation of
    16     the same month we were looking at, and
    17     there's another --
    18                     MR. CURRAN:      Yeah, the witness
    19             does not have the document in front of
    20             him, as you can see, Mr. Carter.
    21                     MR. CARTER:      Okay.    It's 41456
    22             is the page we're on.
    23                     MR. CURRAN:      Are you asking for
    24             the exhibit to be shown, Mr. Carter?
    25                     MR. CARTER:      Yeah, sorry.



   Golkow Litigation Services                                        Page 245
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 247 of Review
                                                    Confidentiality     392


     1     QUESTIONS BY MR. CARTER:
     2             Q.      Okay.    So we've talked about
     3     the period between May 5 to May 16, and now
     4     this section is the period, the same year
     5     1999, from May 17 to May 27.
     6                     And on the prior page -- or I'm
     7     sorry, at the top, this period, the account,
     8     you know, starts in 6 million riyal range and
     9     ends up, as a result of deposits, in the 15
    10     million riyal range.
    11                     So literally within the month
    12     of May, your records reflect that the Aqeel
    13     Al-Aqil account exploded from a negative
    14     balance to 15 million riyals via about 10
    15     million riyals in cash deposits and a 5
    16     million riyal collection check.
    17                     And you believe that that kind
    18     of activity would have been viewed as normal
    19     during the time period we're talking about?
    20                     MR. CURRAN:      Objection as to
    21             form.   Lack of foundation.
    22                     You may answer.
    23                     THE WITNESS:      So, Carter, you
    24             know, as I said, it's -- you know,
    25             it's -- you know, at that time it's



   Golkow Litigation Services                                        Page 246
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 248 of Review
                                                    Confidentiality     392


     1             not unusual for customer to deposit
     2             this much of money between checks and
     3             cash of 15 million riyal in ten days.
     4             It's not every customers, but many,
     5             many, many customers they have similar
     6             to this behavior of accounts.
     7                     So and, again, we talking about
     8             '99.   So it's not like -- you know,
     9             it's -- as I said, the society was a
    10             cash society, and I think we did -- as
    11             a financial society, we did a very
    12             good job at Al Rajhi contributing a
    13             lot to this because of our size and,
    14             you know, our customer base.         That
    15             today we didn't see these kind of
    16             transactions and these cash deposits.
    17                     But at that time, yes, you
    18             know, businesses, real estate people,
    19             people go and buy lands and real
    20             estate and they exchange cash, and at
    21             the end of the day, they deposit the
    22             cash, millions they deposit, in the
    23             branch.
    24     QUESTIONS BY MR. CARTER:
    25             Q.      And isn't it the bank's



   Golkow Litigation Services                                        Page 247
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 249 of Review
                                                    Confidentiality     392


     1     responsibility to understand where the money
     2     came from even during this period?
     3             A.      It is their responsibility, and
     4     the bank definitely reports certain things
     5     when they see -- when they see, you know,
     6     suspicious transactions.
     7                     But, again, you know, you're
     8     asking me why these big number of cash is
     9     being deposited in ten days, you know, the
    10     bank did not do anything.         I said this is not
    11     unusual for a customer and that -- you know,
    12     individual customers who deposit these
    13     monies, especially when at that time no
    14     system, it's all manual, and a bigger branch
    15     like this, they come and they visit the
    16     counter, and there's a number of tellers.             At
    17     this time he visit teller, another time he
    18     visit another tellers, and there could be --
    19     it could be not picked up.
    20                     And also at that time I think
    21     the whole -- you know, everyone, you know,
    22     cash transaction was not as scarce as it is
    23     today.    It was -- you know, it was just --
    24     and again, a number, in Saudi Arabia, you
    25     know, at that time there was not any tax --



   Golkow Litigation Services                                         Page 248
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 250 of Review
                                                    Confidentiality     392


     1     you know, any tax, whatever, whatever, VAT or
     2     income tax or even sale tax.          Now -- of
     3     course now we have -- you know, we have
     4     taxes, we have -- at that time there was not.
     5                     So even for people for -- you
     6     know, at that time that people -- you know,
     7     it's not like about -- you know, we were
     8     trying to avoid and collect unofficial
     9     amounts.
    10                     So that's -- that was -- and
    11     this is -- you know, this kind of customer
    12     behaving like this, you would find it in
    13     Al Rajhi bank and you'll find it in local
    14     banks.    And, again, globally and regionally,
    15     you will see these kind of transactions at
    16     that time.     Of course today is different.
    17             Q.      And again, I'm just trying to
    18     understand.     You said there was a requirement
    19     in place for bank personnel to report
    20     suspicious transactions, and if this series
    21     of transactions resulting in deposits of 15
    22     million riyals in a personal account in less
    23     than a month, 10 million of it being in cash,
    24     didn't trigger any suspicious activity report
    25     requirement, what would?



   Golkow Litigation Services                                        Page 249
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 251 of Review
                                                    Confidentiality     392


     1                      MR. CURRAN:     Objection.     Asked
     2             and answered.
     3                      You may answer.
     4                      THE WITNESS:     No, I think -- I
     5             think I already answered this
     6             question.    You know, it's the same
     7             thing.    You know, it's -- you know, I
     8             actually can't -- I mean, I tried to
     9             explain it and tried to take you -- to
    10             what it was -- things there, you know,
    11             at that time.      Where -- again, we're
    12             talking about 24 years ago.
    13                      And today -- today -- today I
    14             assure you, you know, something like
    15             this wouldn't -- wouldn't let -- the
    16             system would pick it up and will show
    17             because, you know, you didn't see
    18             these big cash deposits from an
    19             individual like what it was 24,
    20             25 years ago.
    21                      Okay.   The systems are -- our
    22             KYC data is much, much more details
    23             today.    You know, you have -- you have
    24             a lot of information, which is before
    25             it was just, you know -- you know,



   Golkow Litigation Services                                        Page 250
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 252 of Review
                                                    Confidentiality     392


     1             maybe basic his name and his ID number
     2             and that's it.
     3                     And again, because, you know,
     4             this is not only with us here.          This
     5             is many other places.        So this is --
     6             you know, this kind of transaction you
     7             will not see it today.
     8                     (Al Rajhi Exhibit ARB 50 marked
     9             for identification.)
    10     QUESTIONS BY MR. CARTER:
    11             Q.      Shifting gears, if we can mark
    12     as the next exhibit the document at Tab 101.
    13                     Mr. Al Rajhi, this is a page
    14     that we retrieved from the Sulaiman Al-Rajhi
    15     Charitable Foundation web page.
    16                     Have you seen this before?
    17             A.      No, I haven't.
    18             Q.      Are you familiar with the
    19     Sulaiman Al-Rajhi Charitable Foundation?
    20             A.      Yes, I'm familiar.
    21             Q.      This --
    22                     MR. CURRAN:      I'm sorry,
    23             Mr. Carter.     Is this document also in
    24             Arabic?
    25                     THE WITNESS:      No.



   Golkow Litigation Services                                        Page 251
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 253 of Review
                                                    Confidentiality     392


     1                     MR. CARTER:      No.   Sorry.    The
     2             web page was in English.
     3                     MR. CURRAN:      The web page is in
     4             English -- but the witness can -- fair
     5             enough.
     6     QUESTIONS BY MR. CARTER:
     7             Q.      What is your understanding of
     8     the Sulaiman Al-Rajhi Charitable Foundation?
     9             A.      You want just -- can I just go
    10     through this to understand what is written
    11     here?
    12             Q.      Sure, you can read it.
    13             A.      Yes.
    14             Q.      And this document indicates
    15     that the Sulaiman Al-Rajhi Charitable
    16     Foundation was founded but a joint committee
    17     between the brothers Saleh, Abdullah and
    18     Sulaiman and Mohammed Abdul Aziz Al Rajhi in
    19     the year 1983.
    20                     Do you see that?
    21             A.      Yes, I see it.
    22             Q.      And are you familiar with the
    23     founding of the charitable foundation through
    24     a joint committee that's described in that
    25     sentence?



   Golkow Litigation Services                                        Page 252
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 254 of Review
                                                    Confidentiality     392


     1             A.      Sorry, joint committee.         So
     2     what's the question?
     3             Q.      Are you familiar -- are you
     4     familiar or aware of the fact that the
     5     brothers Saleh, Abdullah, Sulaiman and
     6     Mohammed Abdul Aziz Al Rajhi formed a
     7     charitable foundation in 1983?
     8             A.      No, I think -- I think at that
     9     time -- I'm not familiar.         This goes back to
    10     almost 40 years ago.        So I'm not -- and a lot
    11     of things has changed, you know, during this
    12     40 years.
    13                     But I didn't think there was
    14     any charity -- charity -- what you call, a
    15     foundation by the name of foundation.            This
    16     was -- it's like, you know -- this is what it
    17     say, the four brothers and in that time they
    18     used together giving -- you know, having this
    19     charity office to -- to help and at that time
    20     in the beginning.       And of course later my
    21     father has -- has his own charity office.             We
    22     call it under his foundation being
    23     established.
    24             Q.      So as I understand what you
    25     just said, in this 1983 time period, the



   Golkow Litigation Services                                         Page 253
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 255 of Review
                                                    Confidentiality     392


     1     brothers form some sort of charity office to
     2     engage in philanthropic activities?
     3             A.      Yes, I would -- yeah, whether
     4     it's office or they just work and then -- I
     5     don't know anything.        Was it an office or
     6     they just worked together, you know, someone
     7     do it in their behalf, I -- I don't know.
     8     But, again, it's 40 years ago, I don't know
     9     what was -- you know, how it works.
    10             Q.      Okay.
    11             A.      But I know there was not --
    12     there was not foundation -- by a foundation.
    13     It was -- you know, it was individual work
    14     together they do it.        At least this is what
    15     is being written here.
    16             Q.      Okay.    And during the -- you
    17     mentioned as well that your father Sulaiman
    18     Abdul Aziz Al Rajhi had a charity office
    19     prior to the existence of the foundation,
    20     correct?
    21             A.      Yes.
    22             Q.      And do you know when his
    23     charity office was established?
    24             A.      No, I don't know which year
    25     it's been established.



   Golkow Litigation Services                                        Page 254
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 256 of Review
                                                    Confidentiality     392


     1             Q.      Do you know whether his charity
     2     office was operating in the 1998 to 2002 time
     3     period?
     4             A.      19 -- charity, you mean charity
     5     office in 1988?      Yes.    Yeah, in --
     6             Q.      Okay.    I asked about whether or
     7     not the Sulaiman Abdul Aziz Al Rajhi
     8     charity's office was operating in the 1998 to
     9     2002 time period.
    10             A.      Yeah, 1998, yes, I would assume
    11     is.   Well, let me -- you know, my father and
    12     also his brothers, you know, they -- they
    13     were poor.     You know, their childhood was
    14     very, very difficult childhood.           You know,
    15     they went through -- which is they cannot
    16     find enough to eat.        They have to move from
    17     where they stayed, you know, left their town,
    18     you know, because they're poor.
    19                     So my -- and my father
    20     intention was from the beginning, you know,
    21     when he had some wealth, for him it was
    22     always in his mind, you know, because he
    23     survived.     He suffered.      You know, he lived
    24     this child -- you know -- you know, the
    25     difficult position for his childhood, so he



   Golkow Litigation Services                                        Page 255
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 257 of Review
                                                    Confidentiality     392


     1     wanted to give back.
     2                     So I know starting from the
     3     early days he starting, you know, giving --
     4     so, you know, working and then making a
     5     charity, it was during -- it was, as I said,
     6     from what I read here in the beginning, it
     7     was between the four brothers and then has
     8     his own charity office, again, and after he
     9     had his foundation.
    10             Q.      In the 1998 to 2000 period, was
    11     your father carrying out his charitable work
    12     through his own office?
    13             A.      That's -- that's what -- again,
    14     I don't have the details, but that's what I
    15     think.
    16             Q.      And do you know during that
    17     time period was he also engaged in any
    18     charity work via a joint office with his
    19     brothers?
    20             A.      During this period '98 to 2002?
    21             Q.      Correct.
    22             A.      Again, I don't have a date, but
    23     most likely not.
    24             Q.      So as best as you can recall
    25     Sulaiman Abdul Aziz Al Rajhi, your father,



   Golkow Litigation Services                                        Page 256
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 258 of Review
                                                    Confidentiality     392


     1     during this period was carrying out his
     2     charitable activities via his charity office?
     3             A.      Yes, that's what I can recall.
     4             Q.      And that charity office was not
     5     formally established as a foundation until
     6     2000 according to this document, correct?
     7             A.      Yes.    According to this
     8     document, which you just showed me, yes.
     9             Q.      And during the 1998 to 2002
    10     time period, did your father's charity office
    11     have a license to engage in charitable work?
    12             A.      No, nothing -- you didn't
    13     realize this.      If you are an individual, you
    14     want to give from your own money charity, and
    15     you have someone or you have your office to
    16     do that, you realize this when you are
    17     collecting money from other people.            But if
    18     you're not -- if you are just paying from
    19     your own money, no need for license.
    20             Q.      But during that time period,
    21     there was no legal entity established as a
    22     foundation in the 1998 to 2002 time period,
    23     correct?
    24                     MR. CURRAN:      Objection as to
    25             form.   Lack of foundation.



   Golkow Litigation Services                                        Page 257
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 259 of Review
                                                    Confidentiality     392


     1                     You may answer.
     2                     THE WITNESS:      Yeah, I think
     3             from what -- what you have shown now,
     4             they had it in 2000, but '98, he did
     5             not have official foundation.
     6     QUESTIONS BY MR. CARTER:
     7             Q.      Okay.    And so all of those
     8     activities during that time, the charitable
     9     activities, would have been carried out
    10     through his charity office?
    11             A.      Yes.
    12                     MR. CURRAN:      I'm sorry, during
    13             what period?
    14                     MR. CARTER:      I'm sorry, the '98
    15             to 2000.
    16                     MR. CURRAN:      Okay.    Again, from
    17             what I see now the document, this
    18             would suggest the dates, but -- and
    19             again, having that license 2000
    20             with -- with -- all the activity
    21             weren't there, I have no information.
    22             I don't have enough details.
    23                     But, again, you know, as
    24             individual, you want to give from your
    25             own money as a charity, you know, you



   Golkow Litigation Services                                        Page 258
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 260 of Review
                                                    Confidentiality     392


     1             can have your charity office or you
     2             can do it yourself directly.
     3     QUESTIONS BY MR. CARTER:
     4             Q.      And have you ever been involved
     5     in the activities of your father's charity
     6     office when it was in existence?
     7                     MR. CURRAN:      Objection.     Vague.
     8                     You may answer.
     9                     THE WITNESS:      No, I was not in
    10             this charity office.
    11     QUESTIONS BY MR. CARTER:
    12             Q.      Did you ever have any informal
    13     involvement in the activities of the charity
    14     office?
    15             A.      Informal, what do you mean by
    16     "informal"?
    17             Q.      Did you -- did you ever provide
    18     any assistance to facilitate its activities?
    19             A.      No.    This charity office, it's
    20     a separate office located near to his home
    21     and he has some people working for him, so I
    22     was not involved.
    23             Q.      So physically the office was
    24     located near to his home in --
    25             A.      Yes.



   Golkow Litigation Services                                        Page 259
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 261 of Review
                                                    Confidentiality     392


     1             Q.      -- in the '98 to 2000 time
     2     period?
     3             A.      Yes.
     4             Q.      And was it located in a
     5     facility associated with Al Rajhi Bank?
     6             A.      No, it was not.       His office --
     7             Q.      And if I'm understanding you
     8     correctly, he was operating the charity
     9     office from '98 until the formal
    10     establishment of the foundation in 2000 and
    11     then operating as the foundation after that
    12     point in time?
    13             A.      Well, this is what the document
    14     you have shown me suggests.
    15             Q.      You don't have any independent
    16     recollection of that?
    17             A.      No.    You know, with these -- I
    18     know this is -- this is -- it was a charity
    19     office, and then he has his own charity
    20     office, charity foundation.          So I know this
    21     was, but the date -- the exact dates, 2000,
    22     2001, this is -- I don't recall the exact
    23     dates.
    24             Q.      And did the charity office or
    25     foundation during the 1998 to 2002 time



   Golkow Litigation Services                                        Page 260
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 262 of Review
                                                    Confidentiality     392


     1     period ever serve as a vehicle for you to
     2     conduct charitable activities?
     3             A.      No.
     4             Q.      You've never contributed any
     5     money during that time period to the charity
     6     office or the foundation?
     7             A.      No, I did not.       It was always
     8     my father's money.
     9             Q.      And, you know, during the 1998
    10     to 2002 time period, did you have any
    11     interactions with the personnel at the
    12     charity office for the foundation?
    13             A.      Yes, I would -- I would --
    14     yeah, I would have some -- I would have some
    15     contact with them or -- I know them there.
    16             Q.      Okay.    And was there any
    17     particular reason you would have contact with
    18     them, or is it just because they worked for
    19     your father?
    20             A.      No, no, it could be sometimes
    21     that things has to do with my father, you
    22     know, charity things, in term of, you know,
    23     something about -- you know, it's a -- of
    24     course -- I think most likely it would be
    25     like -- like things related to my father,



   Golkow Litigation Services                                        Page 261
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 263 of Review
                                                    Confidentiality     392


     1     some of his charity work.
     2             Q.      Were you ever involved in
     3     working with your father to identify entities
     4     to receive support via his charity office or
     5     foundation?
     6             A.      Sorry, can you ask again?
     7             Q.      Did you ever have any
     8     involvement in helping your father identify
     9     entities or causes --
    10             A.      No.
    11             Q.      -- to receive support?
    12             A.      No.    I never.
    13             Q.      Did you ever assist your father
    14     in conducting an evaluation of an entity or
    15     cause he was thinking about supporting?
    16             A.      Well, yes, I could have some
    17     discussion, you know, just -- just, I mean,
    18     like, you know, spending more money for
    19     education or something like this.           Just
    20     general, but -- but it was always arranged by
    21     his, you know -- by his -- by the people
    22     working for him in the charity office.             And
    23     if anything, it was, you know, just
    24     unofficial.
    25                     You know, with my father, not



   Golkow Litigation Services                                        Page 262
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 264 of Review
                                                    Confidentiality     392


     1     with the staff there, just, you know, it
     2     could be general discussion that, you know,
     3     for example, you know, because he -- he --
     4     he -- he made his own -- part of his charity
     5     he has his own university, which is teaching
     6     medical.     In his old town, the town he
     7     suffered and he left because he could not
     8     find -- he -- he started up a university in
     9     association with the -- with the one -- one
    10     very famous medical school in Holland.
    11     And -- and today this university is
    12     graduating a lot of -- a lot of doctor and
    13     majority of them they don't -- they come as a
    14     sponsor by -- by the charity.          They don't pay
    15     their fees because they can't afford it.
    16             Q.      In the -- in the period '99 --
    17     1998 until the foundation was formally
    18     established in 2000, do you recall the
    19     employees -- who the employees were working
    20     in the charity office?
    21                     MR. CURRAN:      Objection.
    22             Foundation.
    23                     You may answer.
    24                     THE WITNESS:      Yeah, I think --
    25             no, no, I don't know all of the



   Golkow Litigation Services                                        Page 263
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 265 of Review
                                                    Confidentiality     392


     1             employees, but I know at least, you
     2             know, the two names are familiar with
     3             the -- their name to me, are the two
     4             in charge of the office.
     5     QUESTIONS BY MR. CARTER:
     6             Q.      And who are those two?
     7             A.      This is Abdul Rahman Al Rajhi,
     8     and another one called Saleh Al-Habdan.
     9             Q.      Okay.    And am I correct that
    10     Abdul Rahman Al Rajhi's full name is Abdul
    11     Rahman bin Abdullah Al Rajhi?
    12             A.      Yes, you are right.
    13             Q.      And he is the son of your
    14     father's brother, correct?
    15             A.      No.    He -- no, he -- he's
    16     not -- he's -- he's not son of any of the
    17     four brothers.
    18             Q.      Okay.    Is he related to you?
    19             A.      Oh, yes.     He is -- he is -- he
    20     is married to my half -- half-sister.
    21             Q.      And do you recall when he began
    22     working in the charity office?
    23             A.      Do I recall when?
    24             Q.      Yeah.
    25             A.      No.    I know many, many years



   Golkow Litigation Services                                        Page 264
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 266 of Review
                                                    Confidentiality     392


     1     before, but I don't recall when.
     2             Q.      And do you recall whether he
     3     had a title within the charity office?
     4             A.      No, I don't know what will be
     5     his title, but he -- he's I think -- he is
     6     number one at the time.         I didn't think now
     7     for many years -- I think he left now for
     8     many years.     I'm not sure again.        But I
     9     think -- I think now he's not working there.
    10     I think.     I'm not sure.
    11             Q.      Do you recall -- do you recall
    12     whether he continued to work for the
    13     foundation after it was formed in 2000
    14     through 2002?
    15             A.      No, I don't -- I don't recall
    16     whether he -- I think -- I think most likely
    17     by 2000 he was working.
    18             Q.      And you also mentioned I think
    19     Saleh bin Sulaiman Al-Habdan?
    20             A.      Yes.
    21             Q.      Okay.    And did he have any
    22     familial relation to you?
    23             A.      What's -- what's the question?
    24             Q.      Was he in any way related to
    25     you?



   Golkow Litigation Services                                        Page 265
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 267 of Review
                                                    Confidentiality     392


     1             A.      No.    No, he is not.
     2             Q.      I've seen a reference to him in
     3     a document as the imam of the Al Rajhi
     4     mosque.
     5                     Do you know whether he had a
     6     role serving as the imam at a family mosque?
     7             A.      Yes, he was, and maybe he's
     8     still the imam of the mosque.
     9             Q.      And do you know him personally?
    10             A.      I know -- I met him a number of
    11     times, yes.
    12             Q.      Do you know anything about his
    13     background or religious training?
    14             A.      No, I don't know much about his
    15     background other than he's working in the
    16     charity.     I think before he was -- he was a
    17     teacher, something like this before he worked
    18     for my father.
    19             Q.      And do you know anything about
    20     the educational background of Abdul Rahman
    21     bin Abdullah Al Rajhi?
    22             A.      No.    I think he finished -- he
    23     graduated, but I don't know what -- what
    24     school or from where he graduated.
    25             Q.      And you don't know what area he



   Golkow Litigation Services                                        Page 266
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 268 of Review
                                                    Confidentiality     392


     1     focused his studies on?
     2             A.      I'm not sure.      I'm not sure.
     3     No.
     4             Q.      Okay.
     5             A.      But, yeah, I think he was -- I
     6     think -- I think he was a teacher, again,
     7     before he worked for my father.
     8             Q.      And do you recall when Saleh
     9     bin Sulaiman Al-Habdan first became the imam
    10     at the Al Rajhi mosque?
    11             A.      Many, many years ago, but I
    12     don't recall which year.
    13             Q.      Before the 1998 time period
    14     we're talking about?
    15             A.      Yeah.    Yes.    He would be before
    16     '98, '98.
    17             Q.      There are references in some of
    18     the documents relating to the charity office
    19     to an individual named Abdullah bin Ibrahim
    20     Al-Misfer.
    21                     Do you know who that is?
    22             A.      No, I don't know.
    23             Q.      So you don't recall ever
    24     communicating with Abdullah Al-Misfer in any
    25     way?



   Golkow Litigation Services                                        Page 267
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 269 of Review
                                                    Confidentiality     392


     1             A.      I don't recall that I have
     2     communicated with him.
     3             Q.      There -- did you know an
     4     individual named Saleh Al-Hussayen?
     5             A.      Saleh, L?
     6             Q.      Al, S-a-l-e-h, Hussayen?
     7             A.      Like Hussain or Hussayen?
     8             Q.      Hussayen, I think.
     9             A.      Yeah, Saleh Hussayen, yes --
    10     yeah, I am familiar with him.          I know him.
    11             Q.      Okay.    Who is he, as you
    12     understand it?
    13             A.      Saleh Hussayen, he -- he's
    14     government -- in the minister position.             He
    15     worked for Al Rajhi Bank when it's -- when it
    16     started '98 in the Sharia committee of
    17     Al Rajhi Bank at that time for some time.
    18                     MR. CURRAN:      Excuse me.     You
    19             said -- you said when the bank started
    20             in '98.    Did you mean '88?
    21                     THE WITNESS:      I mean '88.
    22                     MR. CURRAN:      Okay.
    23                     THE WITNESS:      Yeah, sorry, I
    24             mean '88, 1988, when the bank started.
    25




   Golkow Litigation Services                                        Page 268
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 270 of Review
                                                    Confidentiality     392


     1     QUESTIONS BY MR. CARTER:
     2             Q.      So Saleh Al-Hussayen worked in
     3     the Sharia committee at the bank when it
     4     started in 1998?
     5             A.      Yes.
     6             Q.      And based on his role on the
     7     Sharia committee, I understand that he was an
     8     Islamic scholar of some sort?
     9             A.      Well, I don't know the
    10     definition -- what do you mean by Islamic
    11     scholars?     I think everyone have it
    12     different.     But I know -- I know before that
    13     he was a senior in the government and also
    14     after -- after this, he was handling the two
    15     holy mosques for the government.           He was on
    16     top of this organization taking care of the
    17     two holy mosques in the government.
    18                     And he's -- he has the
    19     reputation of a person who is humble and
    20     modest.
    21             Q.      And do you know how your father
    22     came to know him?
    23             A.      No, I don't know.       But -- but
    24     he's -- you know, he's a respected
    25     individual, but I don't know how -- how he



   Golkow Litigation Services                                        Page 269
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 271 of Review
                                                    Confidentiality     392


     1     first knew him.
     2             Q.      And do you know whether your
     3     father had a -- a personal relationship with
     4     Saleh Al-Hussayen?
     5                     MR. CURRAN:      Objection.     Vague.
     6                     You may answer.
     7                     THE WITNESS:      What do you mean
     8             by "personal relationship"?
     9     QUESTIONS BY MR. CARTER:
    10             Q.      Did -- do you know whether they
    11     were friends?
    12             A.      No.    Personal, I mean, not --
    13     not friends.      I mean, other than he -- he
    14     served on the Sharia, and he knows my father,
    15     but -- but I cannot call them they are
    16     friends.
    17             Q.      Do you know whether your father
    18     ever consulted with him on religious issues?
    19             A.      I don't know.
    20             Q.      Do you know whether --
    21             A.      It was -- sorry.       Sorry to say
    22     this.    When he was on the Sharia board of
    23     Al Rajhi Bank, of course his job with other
    24     board, Sharia board, is to -- you know, to
    25     approve whatever product, whether it's to



   Golkow Litigation Services                                        Page 270
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 272 of Review
                                                    Confidentiality     392


     1     comply with the Sharia principles or not.
     2             Q.      So his role on the Sharia board
     3     was to help advise the bank as to whether
     4     proposed products complied with Islamic law,
     5     correct?
     6             A.      Yes, right.
     7             Q.      And, you know, besides the role
     8     on the Sharia board, do you know whether he
     9     had any involvement in serving as an advisor
    10     to your father on religious issues?
    11             A.      I'm -- I'm not aware about it.
    12             Q.      Do you know whether he was ever
    13     involved with either the charity office or
    14     the foundation?
    15             A.      It could be.      I remember my
    16     father at the time he made committee for the
    17     charity because, you know, when the people
    18     who work there, it's like a committee, you
    19     know, review these requests.          So it could be
    20     he worked on one of these committees for a
    21     time.
    22             Q.      Okay.    Do you recall when this
    23     committee was formed?
    24             A.      No.    No.   I didn't -- I don't
    25     recall when, but I -- but, you know, imam



   Golkow Litigation Services                                        Page 271
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 273 of Review
                                                    Confidentiality     392


     1     there is some committee at the time my father
     2     made, as I said, to -- to help him in
     3     reviewing the requests coming from the people
     4     who are working there before -- before it's
     5     approved.
     6             Q.      And do you recall who any of
     7     the other members of that committee were?
     8             A.      No.
     9                     MR. CURRAN:      Objection.
    10             Foundation.
    11                     You may answer.
    12                     THE WITNESS:      I don't recall
    13             others.
    14     QUESTIONS BY MR. CARTER:
    15             Q.      Okay.    Do you recall whether
    16     that committee was operating during the 1998
    17     to 2002 time period?
    18             A.      I don't know.
    19             Q.      Do you recall how many people
    20     served on the committee?
    21             A.      No, I don't know.
    22             Q.      And do you recall anything
    23     about backgrounds of any of the people who
    24     were on the committee?
    25             A.      Yes, I didn't have the -- I



   Golkow Litigation Services                                        Page 272
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 274 of Review
                                                    Confidentiality     392


     1     don't recall the details.
     2                     (Al Rajhi Exhibit ARB 51 marked
     3             for identification.)
     4     QUESTIONS BY MR. CARTER:
     5             Q.      Okay.    If we can mark as the
     6     next exhibit the documents at Tab 93.
     7                     Mr. Al Rajhi, this is a
     8     printout that Al Rajhi Bank provided to us
     9     for transfers from an account Al Rajhi Bank
    10     held for the Saar Foundation to Al-Haramain
    11     Islamic Foundation or principals such as
    12     Aqeel Al-Aqil.
    13                     Have you had occasion to see
    14     this information before?
    15             A.      No.    I'm sorry, I not
    16     understand.     What's this?
    17             Q.      I understand it to be an
    18     extract from the bank's central banking
    19     system itemizing transfers from an account
    20     held in the name of the Saar Foundation to
    21     Al-Haramain Islamic Foundation or at least in
    22     one case Aqeel Al-Aqil.
    23                     MR. CURRAN:      Yeah.    Mr. Carter,
    24             I think you're mistaken.         I don't know
    25             the source of your understanding, but



   Golkow Litigation Services                                        Page 273
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 275 of Review
                                                    Confidentiality     392


     1             our information is that this account
     2             reflects Sulaiman Al Rajhi's
     3             foundation, not Saar.        I'm not
     4             aware --
     5                      MR. CARTER:     Okay.    I'm sorry.
     6             Let me -- let me clarify then.
     7     QUESTIONS BY MR. CARTER:
     8             Q.       This is an account for the
     9     Sulaiman Abdul Aziz Al Rajhi Foundation.
    10             A.       Yes.
    11             Q.       And it reflects transfers from
    12     that account to Al-Haramain and Aqeel
    13     Al-Aqil.
    14             A.       Well, yeah.     This is a
    15     statement here, I can see it.
    16                      MR. CURRAN:     Yeah, you scroll,
    17             but it's the same document.
    18                      THE WITNESS:     Yeah, but here.
    19             So I don't see the dates here.          No
    20             dates?
    21     QUESTIONS BY MR. CARTER:
    22             Q.       I believe that the -- and I
    23     apologize, I can only look at the English
    24     version.     And in my English version, the
    25     dates are reflected in the fourth column from



   Golkow Litigation Services                                        Page 274
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 276 of Review
                                                    Confidentiality     392


     1     the left.     It says "ACC date."
     2             A.      Yeah.    So this is '98.       All
     3     right.    '98, '99, '99, 2000, 2000.         Okay.
     4     And here we're talking about?
     5             Q.      So during this period of
     6     between '98 and 2000, were you aware that
     7     your father's charitable foundation was
     8     providing support to Al-Haramain Islamic
     9     Foundation?
    10             A.      Well, this is what I see now,
    11     but I'm not familiar with it.
    12             Q.      Okay.    And did you have any
    13     knowledge that during this time period, and
    14     in particular in May of 2000, your father's
    15     charitable foundation made a transfer to
    16     Aqeel Al-Aqil?
    17             A.      No, I am not -- I'm not aware
    18     about it.
    19             Q.      Do you know whether your father
    20     knew Aqeel Al-Aqil?
    21             A.      I don't know if he knows him.
    22             Q.      And at least a few of these
    23     contributions appear to occur in May of 1999,
    24     the same time Aqeel was depositing large sums
    25     of cash in his account, correct?



   Golkow Litigation Services                                        Page 275
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 277 of Review
                                                    Confidentiality     392


     1                     MR. CURRAN:      Objection.     Lack
     2             of foundation.
     3                     You may answer.
     4                     THE WITNESS:      I don't know --
     5             understand.     I don't know.
     6     QUESTIONS BY MR. CARTER:
     7             Q.      Do you recall -- again, do you
     8     recall at all during this period when you
     9     were aware that your father was providing
    10     support to Al-Haramain?
    11             A.      Well, I think this is what it
    12     show, this statement, but I'm not familiar
    13     with it, again, and know whether the charity,
    14     how much money they give to -- to different
    15     charity.     I'm not -- I have no information
    16     about it.
    17             Q.      Okay.
    18             A.      It's -- yeah, to '98 and '99,
    19     2000, before -- before Al-Haramain started to
    20     having a problem from what I read here.
    21                     (Al Rajhi Exhibit ARB 52 marked
    22             for identification.)
    23     QUESTIONS BY MR. CARTER:
    24             Q.      Okay.    On that -- on that
    25     issue, can we mark as the next exhibit the



   Golkow Litigation Services                                        Page 276
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 278 of Review
                                                    Confidentiality     392


     1     document at Tab 94?
     2                     Mr. Al Rajhi, this is, again,
     3     an extract that Al Rajhi Bank has produced to
     4     us in response to a request for details of
     5     contributions from your father's charitable
     6     foundation to Al-Haramain.
     7                     And it reflects contributions
     8     between 2000 and as late as August 27, 2002.
     9                     Do you see that?
    10             A.      Yes.
    11             Q.      And I think we discussed
    12     earlier that the United States government had
    13     taken action against Al-Haramain and
    14     sanctioned two of its offices in March
    15     of 2002.
    16                     Do you recall that?
    17             A.      Yes.
    18                     MR. CURRAN:      Objection.     Lack
    19             of foundation.
    20                     You may answer.
    21                     THE WITNESS:      Right.
    22     QUESTIONS BY MR. CARTER:
    23             Q.      You told me, if I recall
    24     correctly, that you -- the bank was
    25     monitoring information during that time



   Golkow Litigation Services                                        Page 277
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 279 of Review
                                                    Confidentiality     392


     1     period and received contemporaneous
     2     information about the actions taken as to
     3     Al-Haramain.
     4                     Is that -- is that correct?
     5                     MR. CURRAN:      Objection.     Lack
     6             of foundation.
     7                     You may answer.
     8                     THE WITNESS:      Yeah, when it was
     9             in the news, 2004 -- 2003.
    10     QUESTIONS BY MR. CARTER:
    11             Q.      Okay.    Just --
    12             A.      But, Mr. Carter, this is -- of
    13     course this is not from the bank.           These
    14     payments are from the charity -- from what I
    15     understand from you, this is coming from a
    16     charity office of -- not from the bank.
    17             Q.      Okay.    It's coming from the
    18     charity office of your father via an account
    19     at the bank.
    20                     Do you agree with that?
    21             A.      I don't know if it was account,
    22     but, yes, an account -- having an account was
    23     opened and had been -- never been closed --
    24     being closed with its -- when the government
    25     closed their office, but it was open during



   Golkow Litigation Services                                        Page 278
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 280 of Review
                                                    Confidentiality     392


     1     2001 and '2.
     2             Q.      Okay.    As I'm just --
     3             A.      This account -- you know, the
     4     bank would receive money from -- you know,
     5     from different -- from different people, not
     6     only from the charity office.
     7             Q.      Again, I just want to make sure
     8     we're clear about what this document is.
     9                     This is a document reflecting
    10     transfers from your father's charitable
    11     foundation account at Al Rajhi Bank for the
    12     benefit of Al-Haramain.
    13                     Do we agree about that?
    14             A.      Yeah, this is what -- what I
    15     understand from you based on -- because I see
    16     it only in English in front of me.           This is
    17     what it is suggesting, yes.
    18             Q.      And the document we have in
    19     front of us --
    20             A.      And another statement, do we
    21     have it in the statement?
    22                     MR. CURRAN:      Yeah, this is an
    23             English-only document, Mr. Carter?
    24                     THE WITNESS:      And I don't see
    25             the statement, the bank statement



   Golkow Litigation Services                                        Page 279
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 281 of Review
                                                    Confidentiality     392


     1             itself.    Right?
     2                     MR. CARTER:      No, there's a --
     3             oh, wait.    Yeah, this is how this
     4             document was produced to us, Chris.
     5                     THE WITNESS:      Okay.
     6                     MR. CURRAN:      Based on the --
     7             how do you know it's the charity
     8             office account?
     9                     MR. CARTER:      Because it was
    10             produced in response to those
    11             requests.
    12                     Yeah, and, I mean, there's also
    13             an account number that's designated
    14             that corresponds to some statement
    15             records and then these transactions
    16             are reflected in statement records as
    17             well.
    18                     But the statements, as you
    19             recall, are many pages and this is a
    20             concise extract, so it seemed helpful.
    21                     MR. CURRAN:      Okay.    So there is
    22             a statement in Arabic, but it's not
    23             being presented here.
    24                     THE WITNESS:      Yes.    Okay.
    25




   Golkow Litigation Services                                        Page 280
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 282 of Review
                                                    Confidentiality     392


     1     QUESTIONS BY MR. CARTER:
     2             Q.      Okay.    And at least based on
     3     the English document we have here, it appears
     4     that there were transfers from the -- your
     5     father's charity foundation account at the
     6     bank for the benefit of Al-Haramain in
     7     between June of 2002 and August of 2002,
     8     correct?
     9             A.      Yes, that's what this document
    10     say.
    11                     (Al Rajhi Exhibit ARB 53 marked
    12             for identification.)
    13     QUESTIONS BY MR. CARTER:
    14             Q.      And just going back, if we can
    15     mark as exhibit -- the next exhibit, the
    16     document at Tab 30.
    17                     I understand this to have been
    18     a notification from SAMA in March of 2002
    19     distributed to several banks, including Al
    20     Rajhi, reporting on the freezing of accounts
    21     associated with three entities, and two of
    22     them are offices of Al-Haramain.
    23                     Do you see that on the second
    24     page?
    25                     MR. CURRAN:      Objection as to



   Golkow Litigation Services                                        Page 281
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 283 of Review
                                                    Confidentiality     392


     1             form.   Lack of foundation.
     2                     THE WITNESS:      So the closure
     3             of --
     4                     MR. CURRAN:      We have the Arabic
     5             as well, if you need it.
     6                     THE WITNESS:      So this is -- so
     7             this letter came from where?
     8                     MR. CURRAN:      Can you show the
     9             first page, Mr. Carter?        Or I guess we
    10             can scroll to it here.
    11                     THE WITNESS:      Yeah.
    12                     MR. CARTER:      If you -- if you
    13             page to the third page.
    14                     THE WITNESS:      Third page.
    15                     MR. CARTER:      I think it was
    16             produced possibly out of order.          It's
    17             a communication from the bank
    18             self-supervisory committee chairman to
    19             several people, including Saleh M.
    20             Jarbu at Al Rajhi Bank.
    21                     THE WITNESS:      Yes.
    22                     You have stated -- of subject.
    23             Three names received from SAMA, we
    24             have instruction from SAMA that in
    25             addition to account freeze, any



   Golkow Litigation Services                                        Page 282
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 284 of Review
                                                    Confidentiality     392


     1             financial transactions to and from,
     2             name should be immediately blocked on
     3             the report to SAMA.
     4                      This is -- which date was it?
     5             7 March 2002.      Okay.   We see the
     6             names.
     7     QUESTIONS BY MR. CARTER:
     8             Q.       Yeah.   The names on the next
     9     page.
    10             A.       Yeah.   This is the branch in
    11     Albania.     Okay.   This is the branches of
    12     Al-Haramain, yes.
    13             Q.       And so we -- there was some
    14     confusion earlier about whether or not
    15     Al Rajhi Bank had received notification of
    16     the actions taken against the two branches of
    17     Al-Haramain in 2002, and based on this
    18     document, you agree that the bank did receive
    19     that information at the time it happened?
    20             A.       Whether this suggests that,
    21     yes, it came about -- this is not about
    22     Al-Haramain Saudi.       This is about overseas
    23     branches of Al-Haramain.
    24             Q.       Correct.
    25                      And you received information



   Golkow Litigation Services                                        Page 283
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 285 of Review
                                                    Confidentiality     392


     1     about the action taken against those branches
     2     when it happened in 2002, right?
     3             A.      Right.     But, again, this is not
     4     Al-Haramain Saudi.
     5             Q.      And during this 2002 time
     6     period, was your father still working with
     7     the bank?
     8             A.      Which year?
     9             Q.      2002.
    10             A.      Yes, he's still working.         He
    11     still was the chairman.
    12                     (Al Rajhi Exhibit ARB 54 marked
    13             for identification.)
    14     QUESTIONS BY MR. CARTER:
    15             Q.      If we can go back, there's a
    16     second statement relating to an account in
    17     the name of Aqeel Al-Aqil.         It's at Tab 12.
    18     If we can mark that.
    19                     Mr. Al Rajhi, this is an
    20     additional account statement for Aqeel
    21     Al-Aqil from Al Rajhi Bank, and I would just
    22     like to direct your attention to page 41471.
    23             A.      41471?     Yes.
    24             Q.      And a little more than halfway
    25     down the page, it indicates there was 220,000



   Golkow Litigation Services                                        Page 284
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 286 of Review
                                                    Confidentiality     392


     1     riyal withdrawal from Aqeel's account by
     2     Abdul Rahman Abdul Aziz al Rajhi on
     3     February 24, 1999.
     4                     Do you see that?
     5             A.      Yes, I see it.
     6             Q.      Do you have any understanding
     7     as to whether or not Abdul Rahman Abdul Aziz
     8     Al Rajhi had some sort of relationship with
     9     Aqeel Al-Aqil?
    10             A.      I don't know who is Abdul
    11     Rahman Abdul Aziz Al Rajhi.
    12             Q.      Okay.    Do you think this is
    13     likely a reference to Abdulrahman --
    14     Abdulrahman bin Abdullah Al Rajhi?
    15             A.      No.    This is different name.
    16     This is Abdul Rahman Abdul Aziz Al Rajhi,
    17     different from Abdul Rahman Abdullah, so I
    18     don't know if he's the same person.
    19             Q.      Is it possible it's the same
    20     person and it's just entered wrong?
    21                     MR. CURRAN:      Objection as to
    22             form.
    23                     You may answer.
    24                     THE WITNESS:      Yeah, I don't
    25             know because I have my uncle, Hamad



   Golkow Litigation Services                                        Page 285
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 287 of Review
                                                    Confidentiality     392


     1             Abdulaziz Al Rajhi in Jeddah, he's a
     2             big businessman.      You know, he's a
     3             businessman, so this is what, a debit
     4             or credit?     A withdrawal by checks.
     5             So he --
     6     QUESTIONS BY MR. CARTER:
     7             Q.      A withdrawal.
     8             A.      So this one he debited from
     9     Aqeel and credit to Rahman Al Rajhi, right?
    10     That what it suggest?
    11             Q.      Yeah.
    12             A.      So I don't know if this is the
    13     same Abdul Rahman Abdullah al Rajhi but also
    14     could be different individual which is in
    15     Jeddah-based Rahman, which is my half --
    16     half-uncle, and he's a businessman in Jeddah.
    17     If this is commercial transaction between two
    18     of them or anything else, I don't know.
    19                     But, again, I don't know
    20     whose -- I don't know which one we're talking
    21     about Rahman Abdul Aziz.
    22             Q.      And so the other individual
    23     with the similar name is your father's
    24     half-brother?
    25                     MR. CURRAN:      Objection to form.



   Golkow Litigation Services                                        Page 286
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 288 of Review
                                                    Confidentiality     392


     1                     You may answer.
     2                     THE WITNESS:      The other one
     3             which is -- which is this Abdul Rahman
     4             Abdul Aziz al Rajhi you mean or --
     5     QUESTIONS BY MR. CARTER:
     6             Q.      Yes.
     7             A.      Yeah, Abdul Rahman Abdul Aziz
     8     al Rajhi, if this is the man, he's a
     9     half-brother for my father.
    10             Q.      Okay.
    11             A.      But he has nothing to do with
    12     my father's business.        You know, he's totally
    13     separate, and he's based in Jeddah.
    14                     But again, you know -- you
    15     know, our family is thousands of people, so
    16     there's a lot of people that can -- may be
    17     the same name with the three letter, so I
    18     will not confirm that he is the same person.
    19             Q.      Over the course of the
    20     statement, there's a quite a number of
    21     withdrawals, many of which are just described
    22     Abdul Rahman Al Rajhi.        And again, you don't
    23     know whether or not the Abdul Rahman Abdullah
    24     al Rajhi worked in the charity office had any
    25     association with Aqeel Al-Aqil.



   Golkow Litigation Services                                        Page 287
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 289 of Review
                                                    Confidentiality     392


     1                     Do you?
     2             A.      No, I don't know.
     3                     (Al Rajhi Exhibit ARB 55 marked
     4             for identification.)
     5     QUESTIONS BY MR. CARTER:
     6             Q.      Just we can mark as the next
     7     exhibit the series of documents at Tab 92.
     8                     Mr. Al Rajhi, this is just a
     9     handful of checks related to the transfers --
    10     relating to transfers to Al-Haramain.             And
    11     then on the last page, there is a letter
    12     dated April 6, 1999, from Abdul Rahman bin
    13     Abdullah Al Rajhi.
    14                     MR. CURRAN:      I think you just
    15             have the translator statement on the
    16             screen, Mr. Carter.
    17                     MR. CARTER:      Sorry, the prior
    18             page.   I didn't mean the translator.
    19             Before the Arabic.       That's the one.
    20                     THE WITNESS:      This is in
    21             Arabic?
    22                     MR. CURRAN:      Yeah.
    23                     THE WITNESS:      '99.    Okay.
    24     QUESTIONS BY MR. CARTER:
    25             Q.      Okay.    And this is a letter



   Golkow Litigation Services                                        Page 288
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 290 of Review
                                                    Confidentiality     392


     1     from Abdul Rahman bin Abdullah al Rajhi in
     2     1999 and the letterhead identifies him and
     3     Saleh bin Sulaiman Al-Habdan.
     4                     I believe you told me that
     5     those two people were in charge of your dad's
     6     charity office between the 1999 period?
     7             A.      Yes.
     8                     MR. CURRAN:      Objection as to
     9             foundation.
    10                     You may answer.
    11                     THE WITNESS:      Yes.
    12     QUESTIONS BY MR. CARTER:
    13             Q.      And this is a letter to Sheikh
    14     Aqeel bin Abdul Aziz Al-Aqil enclosing a
    15     contribution for Al-Haramain Islamic
    16     Foundation.
    17                     Do you see that?
    18             A.      Yes, I see it.
    19             Q.      And it references a
    20     communication between Aqeel and Abdul Rahman
    21     al Rajhi including a telephone call.
    22                     Do you have any information
    23     concerning the nature of any dealings between
    24     your father's charity office and Aqeel
    25     Al-Aqil during this time period?



   Golkow Litigation Services                                        Page 289
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 291 of Review
                                                    Confidentiality     392


     1             A.      No, I am not familiar.
     2             Q.      You don't have any personal
     3     knowledge of the contribution and issues that
     4     are discussed in this letter, correct?
     5             A.      No, I don't have any knowledge,
     6     any personal knowledge, about it.
     7             Q.      Do you have any reason to doubt
     8     that Abdul Rahman bin Abdullah al Rajhi was
     9     in contact with Aqeel Al-Aqil during this
    10     time period?
    11                     MR. CURRAN:      Objection as to
    12             form.
    13                     You may answer.
    14                     THE WITNESS:      Yeah, from this
    15             letter, I think he -- he's -- he's
    16             giving him this money to
    17             support Kosovo, you know, as he said
    18             here.   So this is for supporting for
    19             Muslims of Kosovo.       That's what the
    20             letter is suggesting.
    21     QUESTIONS BY MR. CARTER:
    22             Q.      Yeah.    No, I'm just asking
    23     whether you have any reason to doubt that the
    24     Abdul Rahman bin Abdullah al Rajhi was in
    25     contact with Aqeel Al-Aqil during this time



   Golkow Litigation Services                                        Page 290
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 292 of Review
                                                    Confidentiality     392


     1     period in relation to the work of your
     2     father's charity office?
     3             A.      Well, I don't know exactly what
     4     the -- I don't understand exactly the
     5     question, but if you asked me is there any --
     6     any contact between Aqeel Al-Aqil and Abdul
     7     Rahman Al Rajhi, is this the question?
     8             Q.      Sure.
     9             A.      Yeah, of course, from this
    10     letter there is a contact.         There's a
    11     telephone call.      They send him a letter.         So
    12     this is -- if this is a correct letter, then
    13     there's a contact between the two.
    14                     (Al Rajhi Exhibit ARB 56 marked
    15             for identification.)
    16     QUESTIONS BY MR. CARTER:
    17             Q.      And if we can mark as the next
    18     document the document at tab 73.
    19                     This is a document we received,
    20     Mr. Al Rajhi, from an individual named
    21           .
    22                     Do you know
    23             A.      Yes, I know him.
    24             Q.      How do you know him?
    25             A.      I know him when -- you know,



   Golkow Litigation Services                                        Page 291
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 293 of Review
                                                    Confidentiality     392


     1     when Saar being started, some foundation
     2     being started.      So he was official in Saar
     3     Foundation.
     4             Q.      When you say "Saar Foundation,"
     5     are you referring to a Saudi-based entity or
     6     a US-based entity?
     7             A.      No, a US-based entity.
     8             Q.      And did you have any
     9     involvement with the establishment of the
    10     US-based Saar Foundation?
    11                     MR. CURRAN:      Objection.     Vague.
    12                     You may answer.
    13                     THE WITNESS:      No, my
    14             involvement -- you know, Saar
    15             Foundation started maybe early '80s.
    16                     And the start -- and early
    17             '80s, I can't recall, because it was a
    18             long time ago.      And so when it
    19             started, they had some -- I attended
    20             some, few meetings in the beginning,
    21             that was, you know, again, in the
    22             early '80s, maybe.       But so that was --
    23             1990s, early '90s, maybe.         That was
    24             the time that I was -- that I was,
    25             again -- that was my father, but I was



   Golkow Litigation Services                                        Page 292
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 294 of Review
                                                    Confidentiality     392


     1             there as -- in a few meetings with my
     2             father at that time when he -- when he
     3             just started Saar Foundation.
     4     QUESTIONS BY MR. CARTER:
     5             Q.      So do I understand that your
     6     father started the US Saar Foundation at some
     7     point in the '80s?
     8             A.      I would assume, yes, maybe, the
     9     '80s.    Maybe.    Yeah.    Mid-'80s or before.
    10     Yeah, about mid-'80s.
    11             Q.      Do you know if your -- do you
    12     know what the Saar Foundation was established
    13     to do?
    14             A.      You know, again, this is the
    15     same story I gave you from before, that my
    16     father, from the beginning, you know, because
    17     of his childhood and the suffer he had, you
    18     know, he was always -- you know, in his mind
    19     he wanted to have -- to make a foundation and
    20     to give some money to the people who -- who
    21     they are in need, you know.
    22                     And -- and at that time he has
    23     some advice from -- you know, from -- you
    24     know, I think some -- you know, some maybe
    25     advisors that US is well-established in term



   Golkow Litigation Services                                        Page 293
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 295 of Review
                                                    Confidentiality     392


     1     of making a foundation, the law, and, you
     2     know, it's advanced to other countries in
     3     terms of charity and foundation.
     4                     So he was being convinced that
     5     to start the foundation in USA.           Especially
     6     at that time in Saudi, you know, there was
     7     not that practical way of making a foundation
     8     that can operate in a practical way.
     9                     So that's -- that's -- that's
    10     what I remember, you know, when my father
    11     started.
    12             Q.      So the Saar Foundation was
    13     established by your father to carry out
    14     charitable endeavors?
    15             A.      Started by my father, is this
    16     the question?
    17             Q.      Yeah.    Started -- your father
    18     created the Saar Foundation in the US to
    19     carry out charitable activities?
    20             A.      Yes.    Yeah, to make an
    21     investment and use the proceed of the
    22     investment to do charity work.
    23             Q.      And do you recall what your
    24     father's investment was to create proceeds
    25     from the charity work?



   Golkow Litigation Services                                        Page 294
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 296 of Review
                                                    Confidentiality     392


     1             A.      No, I'm not involved with it,
     2     but I think it was different things, real
     3     estate.      I think at the time there was a
     4     poetry {phonetic} project, and I think the
     5     majority was real estate, if I'm not
     6     mistaken.
     7             Q.      And was your father the sole
     8     contributable -- contributor of the property
     9     that was given to generate revenue?
    10             A.      Well, I cannot confirm the
    11     sole, but he was the major, major
    12     contributor, but I can't confirm if he was
    13     the sole or not.
    14             Q.      And this document that we
    15     obtained from            indicates that the
    16     donors, the Saar donors, became very
    17     concerned being linked to terrorist
    18     activities, of course to which they had
    19     nothing to do, and a question was asked, why
    20     do we want to continue to be in the USA.
    21                     Do you recall any discussion of
    22     that nature surrounding Saar in the 1997,
    23     1998 time frame?
    24                     MR. CURRAN:      Objection to the
    25             foundation of this document.



   Golkow Litigation Services                                        Page 295
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 297 of Review
                                                    Confidentiality     392


     1                     You may answer.
     2                     THE WITNESS:      So we are talking
     3             about '97 and '98.       Again, you know --
     4             you know, I don't recall all the --
     5             all the details, but what I know, my
     6             father, as I said, I think in the
     7             '80s, mid-'80s, decided to have that
     8             foundation and -- and then after some
     9             time, he get, you know, a little bit
    10             disappointed about the performance of
    11             Saar.   And he thought, you know, Saar
    12             maybe did not have the right principal
    13             investment strategy and did not
    14             perform well.
    15                     And then eventually I think
    16             he -- he lost confidence in the people
    17             who were managing and operating Saar.
    18     QUESTIONS BY MR. CARTER:
    19             Q.      Well, this document refers to a
    20     concern about being linked to terrorist
    21     activities.
    22                     Do you recall any discussions
    23     with your father or anyone else during this
    24     general time period, 1997, 1998, that
    25     included concerns about Saar being linked to



   Golkow Litigation Services                                        Page 296
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 298 of Review
                                                    Confidentiality     392


     1     terrorist activities?
     2             A.      Yes.
     3                     MR. CURRAN:      Objection as to
     4             form.
     5                     You may answer.
     6                     THE WITNESS:      Yes.    Yes, I do.
     7                     I think -- I think this is --
     8             this is -- was the case, what I
     9             just -- and also there was some
    10             negative news about Saar Foundation at
    11             that time.     I think also this
    12             influenced my father's decision to
    13             decide not to continue the Saar
    14             Foundation in USA.
    15                     So -- so, yes, the news -- they
    16             make the news about Saar there in US.
    17             I would expect that had influenced my
    18             father's decision.
    19     QUESTIONS BY MR. CARTER:
    20             Q.      And what was the negative news,
    21     as best you can recall?
    22             A.      Oh, I don't have, you know, the
    23     details, but I think -- I think things about
    24     some news that -- about the money being
    25     disbursed maybe went to wrong entities, which



   Golkow Litigation Services                                        Page 297
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 299 of Review
                                                    Confidentiality     392


     1     is -- could be suspicious of terrorists or
     2     something like this.
     3             Q.      So as best you can recall, it
     4     concerned some news suggesting the
     5     possibility that the foundation had been used
     6     to channel resources to terrorists, correct?
     7                     MR. CURRAN:      Objection.     Lack
     8             of foundation.
     9                     You may answer.
    10                     THE WITNESS:      You know, I
    11             will -- I prefer to say it in my words
    12             because I'm not sure about -- but I
    13             think, you know, my father, or there
    14             was -- there was news, negative news,
    15             about Saar Foundation.        And this news
    16             of -- again, I don't -- I don't know
    17             the details because this is -- we're
    18             talking about almost 25, 26 years, but
    19             it is about, you know, maybe some
    20             money being -- being -- being provided
    21             by Saar Foundation to an entity which
    22             is -- which is -- could be linked to
    23             wrongdoing or terrorism or something
    24             like this.
    25




   Golkow Litigation Services                                        Page 298
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 300 of Review
                                                    Confidentiality     392


     1     QUESTIONS BY MR. CARTER:
     2             Q.      The note goes on to indicate
     3     that the trustees decided to relocate the
     4     operations and steps were taken to create
     5     Humana Charitable Trust in 1997 as an Isle of
     6     Man trust.
     7                     Do you know whether or not
     8     that's accurate?
     9             A.      Yes, I think -- well, as I
    10     said, you know, my father had a concern at
    11     that time.     It seems also at the same time
    12     Saar, people specifically -- I think he
    13     wanted to -- he wanted to -- I think he
    14     wanted to continue involved with Saar
    15     activities, so he came with the suggestion
    16     that, you know, having the foundation and
    17     this new section.
    18                     But what I know my father's
    19     final decision was -- was, no, he wanted --
    20     you know, he wanted -- he didn't want to
    21     expose his reputation and his charity, you
    22     know, for any potential -- and then he
    23     decide -- and then he decided to focus on the
    24     charity here, especially when the
    25     practicality of managing charities in Saudi



   Golkow Litigation Services                                        Page 299
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 301 of Review
                                                    Confidentiality     392


     1     was much better than it was.          You know, there
     2     was changing in how -- where the charity now
     3     can own its investment, can buy and sell
     4     without going to the court.
     5                     And so the decision -- the
     6     final decision of my father did not accept
     7     the suggestion of going to Isle of Man and
     8     instead it gets back to Saudi.
     9             Q.      You mentioned that at some
    10     point your father lost confidence in the
    11     people who were involved with the Saar USA
    12     entity.
    13                     Do you recall who the people
    14     you're referring to were?
    15             A.      The question, where they are?
    16             Q.      No, who they were.
    17             A.      Yeah, I think I will call it
    18     Saar people, which is, you know --                  was
    19     the most active person and maybe the other
    20     officers of Saar.       I don't know at that time
    21     who was the officers, the other officers.
    22             Q.      Was there -- was there an
    23     individual named Sulaiman Al-Ali involved
    24     with the Saar USA activities?
    25             A.      Sulaiman --



   Golkow Litigation Services                                        Page 300
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 302 of Review
                                                    Confidentiality     392


     1             Q.      Sulaiman Al-Ali?
     2             A.      Sulaiman Al-Ali?
     3                     MR. CURRAN:      Can you spell that
     4             last name, Mr. Carter?
     5                     MR. CARTER:      A-l-i.
     6                     THE WITNESS:      A-l-i.    A-l-a --
     7             Ali.   Sulaiman Al-Ali?
     8     QUESTIONS BY MR. CARTER:
     9             Q.      Yeah, I think.
    10             A.      Yeah.    No, I'm not familiar
    11     with this name as he's part of Saar.
    12             Q.      Are you familiar with him from
    13     some other context?
    14             A.      No.    I don't know, actually,
    15     which individual we're talking about.            I
    16     don't recall which it was.
    17             Q.      Do you recall whether or not
    18     Humana Charitable Trust was, in fact,
    19     established?
    20             A.      Sorry, what's the question
    21     again?
    22             Q.      Was action, in fact, taken as
    23     referenced here to establish Humana
    24     Charitable Trust?
    25             A.      On what basis what action has



   Golkow Litigation Services                                        Page 301
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 303 of Review
                                                    Confidentiality     392


     1     been taken?
     2             Q.      Well, here it says steps were
     3     taken to create the Humana Charitable Trust
     4     in 1997.
     5                     Do you know if that happened?
     6             A.      Can you show me which -- which
     7     paragraph you're referencing to?
     8                     MR. CURRAN:      It's the
     9             highlighted part.
    10                     THE WITNESS:      Okay.
    11                     Yeah, so what's the question?
    12     QUESTIONS BY MR. CARTER:
    13             Q.      Do you know whether steps were,
    14     in fact, taken to create Humana Charitable
    15     Trust in 1997?
    16             A.      You mean without -- 1990 --
    17     what else has been created -- in discussion
    18     with the Humana being created?
    19             Q.      Yeah.
    20             A.      I don't know if this is the
    21     date, but I know Humana being -- being
    22     created instead of Isle of Man.           I don't know
    23     which dates.
    24             Q.      Okay.    And after Humana was
    25     created, did Saar Foundation then make a



   Golkow Litigation Services                                        Page 302
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 304 of Review
                                                    Confidentiality     392


     1     contribution of its assets to Humana?
     2             A.      Yes, I don't know if it is all
     3     of its assets.      Well, again, you know, it
     4     was -- I think -- again, I don't have the
     5     details.     You know, but -- but the idea was
     6     from Saar team that, you know, Humana will be
     7     a charity instead of Isle of man.           And then
     8     eventually, I think after this -- after '97,
     9     my father made the decision that -- that, you
    10     know -- you know, as I said before, he wanted
    11     to -- he was -- he was worried about, as I
    12     said, the potential risk, you know, other
    13     liability, whatever, so he wanted to be under
    14     his foundation here in Saudi.
    15             Q.      Okay.    This document goes on to
    16     refer to, and some of this is crossed out, a
    17     visit to the USA in July of 1998, and it
    18     refers to Sheikh Sulaiman.
    19                     Do you recall whether your
    20     father visited the United States in July 1998
    21     to deal with some of these Saar issues?
    22             A.      No, I don't recall it.
    23             Q.      And the document goes on to
    24     describe that instead of Humana doing all of
    25     the legwork for the charity undertakings, it



   Golkow Litigation Services                                        Page 303
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 305 of Review
                                                    Confidentiality     392


     1     could instead work with an existing committee
     2     in Sulaiman's charity office.
     3             A.      Can you show me where you are
     4     reading?
     5             Q.      Well, there's -- there's --
     6             A.      Yeah, here.      Yeah.    So the last
     7     part --
     8             Q.      Yeah.    A suggestion was made
     9     then to optimize the grant-making process, we
    10     should consider working with the charity
    11     office already in existence.
    12                     And it goes on to say the
    13     charity office is managed by Abdul Rahman bin
    14     Abdullah al Rajhi, Saleh bin Sulaiman
    15     Al-Habdan and Abdullah Al-Misfer.
    16                     Do you see that?
    17             A.      Yes.
    18                     MR. CURRAN:      I'm going to point
    19             to the witness' screen here,
    20             Mr. Carter.     So the first part he was
    21             reading was up here.
    22                     MR. CARTER:      Okay.
    23                     MR. CURRAN:      And then the
    24             second part --
    25                     THE WITNESS:      In July suggested



   Golkow Litigation Services                                        Page 304
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 306 of Review
                                                    Confidentiality     392


     1             that the trustee to optimize the
     2             grant-making process we should
     3             consider working with...
     4                     MR. CURRAN:      While the witness
     5             is reading that, just say again my
     6             objection to the foundation of this
     7             document, which I don't consider to be
     8             a document.     It might be an exhibit,
     9             but there's indications that it's not
    10             complete.
    11                     THE WITNESS:      Okay.
    12     QUESTIONS BY MR. CARTER:
    13             Q.      Do you recall whether there was
    14     a suggestion in this 1998 time frame that the
    15     Humana entity that had been established would
    16     work with Sulaiman's charity office in Saudi
    17     Arabia to streamline the grant requests?
    18             A.      No, I don't recall this.         You
    19     know, what I know that -- that, you know, the
    20     same one is that -- yeah, go to Humana to
    21     work and my father wanted -- it seems, you
    22     know, from here -- and this is my father.              He
    23     wanted the -- the charity to be paid
    24     quarterly under his charity in the KSA
    25     because -- you know, because he has -- you



   Golkow Litigation Services                                          Page 305
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 307 of Review
                                                    Confidentiality     392


     1     know, he -- you know, minimize any
     2     potential -- or he's worried about the
     3     reputation, risk or also at that time maybe
     4     the confidence in Saar people in USA is not
     5     like when it started.
     6                     So, you know -- so I think that
     7     was also influencing his decision, that he
     8     doesn't have -- but -- but, again, I didn't
     9     recall the details of this, but what I know
    10     that -- that Humana, you know, eventually did
    11     not continue and you -- the charity moved
    12     to -- to the foundation in KSA.
    13             Q.      And again, do you recall
    14     whether your father visited the United States
    15     in July of 1998?
    16             A.      No, I don't recall it.
    17             Q.      Do you recall whether you
    18     visited the United States in that time frame
    19     of 1998?
    20             A.      1988?
    21             Q.      '98.
    22             A.      '98.
    23                     MR. CURRAN:      '98, which is the
    24             date referenced in the second
    25             paragraph.



   Golkow Litigation Services                                        Page 306
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 308 of Review
                                                    Confidentiality     392


     1                     THE WITNESS:      Yeah.    1998,
     2             definitely I was not there if my
     3             father was there.       And I know -- I
     4             never met my father -- I never -- I've
     5             never been with my father on the same
     6             trip to the United States.         So --
     7             so -- but I -- I -- '98, I could have
     8             come, you know, in United States, but
     9             different dates by that time.
    10     QUESTIONS BY MR. CARTER:
    11             Q.      Okay.    The charity office in
    12     Saudi Arabia during that 1998 to 2000 time
    13     frame was managed by Abdul Rahman bin
    14     Abdullah Al Rajhi and Saleh bin Sulaiman
    15     Al-Habdan?
    16             A.      That's what I recall.
    17             Q.      So this -- that statement in
    18     the document is correct, as you recall?
    19             A.      Well, I -- yeah, as I recall,
    20     Abdul Rahman bin Al Rajhi and Saleh
    21     Al-Habdan, they were managing the charity
    22     office.
    23             Q.      And then at the end of this, it
    24     talks about checks being processed without
    25     showing the contributor's name.           These are



   Golkow Litigation Services                                        Page 307
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 309 of Review
                                                    Confidentiality     392


     1     processed by Al Rajhi Banking & Investment
     2     Corporation having its account with Chase
     3     Manhattan and other correspondent banks.
     4                     Do you have any understanding
     5     what that statement refers to?
     6             A.      The checks are processed
     7     without showing their continued -- it still
     8     is correct normally when you show the checks,
     9     you know -- I mean, I'm not sure, but I
    10     believe the checks, when it's being issued,
    11     it's not unusual the beneficiary name but not
    12     the remitter name or the person who -- that's
    13     my understanding, but I'm not sure about it.
    14             Q.      Do you recall during this time
    15     period your father implementing any procedure
    16     that would allow contributions to issue
    17     without identifying him as the donor?
    18             A.      No, again, I --
    19                     MR. CURRAN:      Objection.
    20                     THE WITNESS:      No, I don't know
    21             how things are done in the check
    22             office, but at the same time, you
    23             know -- you know, it's -- when you
    24             do -- when you help -- there's -- when
    25             you help without showing your name,



   Golkow Litigation Services                                        Page 308
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 310 of Review
                                                    Confidentiality     392


     1             you are getting better rewards that
     2             you are -- than you are showing your
     3             name.    So that's -- that could be
     4             also -- I know that some people, you
     5             know, many people, you know, you see
     6             here, they want to help, and they
     7             don't to show their names as they're
     8             giving the help.
     9                      And so this is not unusual for
    10             someone, but I'm not sure about --
    11             about the charity office, they make
    12             sure that they show -- or they did
    13             show their name.
    14     QUESTIONS BY MR. CARTER:
    15             Q.       Can we mark as the next exhibit
    16     the few pages at Tab 352?
    17                      MR. CURRAN:     At some point,
    18             Mr. Carter, I would like a short
    19             break.    It doesn't have to be --
    20                      MR. CARTER:     Sure.    Let's just
    21             take this down and --
    22                      MR. CURRAN:     No, this is a
    23             one-page document.       How long can that
    24             take?
    25                      MR. CARTER:     Unfortunately,



   Golkow Litigation Services                                        Page 309
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 311 of Review
                                                    Confidentiality     392


     1             it's several pages.       It could take a
     2             few minutes.
     3                     MR. CURRAN:      Okay.    All right.
     4             Is it okay to take a break?
     5                     THE WITNESS:      It's okay.
     6                     MR. CURRAN:      Okay.    All right.
     7             Just say five to seven minutes?
     8                     MR. CARTER:      Sure.
     9                     MR. CURRAN:      Okay.    Thank you.
    10                     VIDEOGRAPHER:      Off the record.
    11             9:16 a.m. -- p.m.       Sorry.
    12              (Off the record at 9:16 p.m.)
    13                     VIDEOGRAPHER:      On the record.
    14             9:28 a.m. -- p.m., sorry.
    15                     MR. CARTER:      And have we
    16             already marked the next document as an
    17             exhibit, or did we defer doing that?
    18                     JON KNOWLES:      Yes, sir.     Well,
    19             I mean, you can change it, if you
    20             want, I guess.      I mean --
    21                     MR. CARTER:      I think it's
    22             already marked as an exhibit from the
    23             prior deposition, but so I am going to
    24             skip it for now and instead can we
    25             mark as the next exhibit the handful



   Golkow Litigation Services                                        Page 310
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 312 of Review
                                                    Confidentiality     392


     1             of pages at Tab 79?
     2                     (Al Rajhi Exhibit ARB 57 marked
     3             for identification.)
     4     QUESTIONS BY MR. CARTER:
     5             Q.      Mr. Al Rajhi, we only have
     6     English versions of these documents.            They
     7     are annual reports for the Saar Foundation,
     8     Inc., the US entity filed in 1994, 1993, 1992
     9     and 1991.
    10                     And if I can, the first
    11     document is the first page of the 1994.             And
    12     then turning to the second page, in the
    13     principal officers and directors, there's a
    14     reference to Abdullah S. Al-Abdulaziz in the
    15     first one.     Sorry, above that.
    16                     Abdullah S. Abdulaziz?
    17             A.      Yes.
    18             Q.      Is that you?
    19             A.      Yeah, this is me.
    20             Q.      Is there some reason that the
    21     document filed with the State of Virginia
    22     relating to this company didn't identify you
    23     in a way that included your surname Al Rajhi?
    24                     MR. CURRAN:      Objection.     Lack
    25             of foundation.



   Golkow Litigation Services                                        Page 311
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 313 of Review
                                                    Confidentiality     392


     1                     You may answer.
     2                     THE WITNESS:      Yeah, well,
     3             actually from the beginning of when I
     4             said Saar started, my father was for
     5             himself and for his sons, which is
     6             myself and my brother, when it was in
     7             the beginning, when Saar started he --
     8             he -- you know, there was this concern
     9             about -- about privacy and security.
    10                     So the name was, you know -- I
    11             don't know if this was his idea or
    12             this is being suggested by the people
    13             there, but I know from the beginning,
    14             you know, they -- I think it's more or
    15             could be mixed, you know, both, you
    16             know, privacy and security that, you
    17             know, not have the last name.
    18     QUESTIONS BY MR. CARTER:
    19             Q.      Okay.    There's some sort of
    20     conscious decision made to identify you in a
    21     way that didn't include your last name?
    22             A.      Yes.
    23                     MR. CURRAN:      Objection.     Lack
    24             of foundation.
    25                     You may answer.



   Golkow Litigation Services                                        Page 312
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 314 of Review
                                                    Confidentiality     392


     1                     THE WITNESS:      Yeah.    Yes.
     2     QUESTIONS BY MR. CARTER:
     3             Q.      And below you, the next
     4     director listed is Salih Hussvyin in a
     5     somewhat unusual spelling.
     6                     Do you know if that's Saleh
     7     Al-Hussayen who we discussed earlier who had
     8     served at one time on the Al Rajhi Sharia
     9     board?
    10                     MR. CURRAN:      Objection.     Lack
    11             of foundation.
    12                     You can answer.
    13                     THE WITNESS:      Yeah, the name --
    14             I don't have the names, but it looks
    15             like the same name.
    16     QUESTIONS BY MR. CARTER:
    17             Q.      Do you recall whether he was,
    18     in fact, Saleh Al-Hussayen, one of the
    19     directors of the US Saar entity in the 1994
    20     sort of time frame?
    21             A.      Well, I can't confirm it, but
    22     it looks like he's the same one, but I cannot
    23     confirm it.
    24             Q.      Okay.    Turning to the next
    25     annual report in this group, is the '93



   Golkow Litigation Services                                        Page 313
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 315 of Review
                                                    Confidentiality     392


     1     report, and again, on the second page of
     2     this, the Abdullah S. Abdulaziz reference
     3     here is you, correct?
     4             A.      Must be, yes, the same.
     5             Q.      Okay.    And the Sulaiman A.
     6     Al-Saleh identified there, is that your
     7     father?
     8             A.      Yes.    Again, without the --
     9     without the last name.
    10             Q.      Okay.    So Sulaiman Saleh refers
    11     to your father without identifying his last
    12     name?
    13             A.      Yeah, this is Sulaiman A.
    14     Abdulaziz and Al-Saleh, which is his
    15     grandfather name.
    16             Q.      In that section, it identifies
    17     the address for you as 11919 Safa Court in
    18     Herndon, Virginia.
    19                     Did you ever maintain any
    20     residence or office at that address?
    21             A.      No.
    22             Q.      You were during this time in
    23     Saudi Arabia, right?
    24             A.      I was in Saudi Arabia, yes.
    25             Q.      Okay.    And the same for your



   Golkow Litigation Services                                        Page 314
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 316 of Review
                                                    Confidentiality     392


     1     father, did your father have any residence or
     2     office at 11919 Safa Court?
     3             A.      No, I don't think so.
     4             Q.      So he was in Saudi Arabia at
     5     the time, right?
     6             A.      Yes, right.
     7             Q.      And now, going back to the
     8     document that we had previously started to
     9     talk about, which is at Tab 52.           There are
    10     five pages included in this exhibit that are
    11     previously marked as ARB 22.
    12                     And it's an e-mail in the top
    13     page from Abdullah Sulaiman Al Rajhi to a
    14     mar-jac.com e-mail address referring to
    15     Humana Charitable Trust.
    16                     Do you see that?
    17             A.      Yes, I see it.
    18             Q.      And although it says from
    19     Abdullah Sulaiman al Rajhi, it's -- the
    20     bottom line says it's coming from someone
    21     named Bushra Ahmed.
    22                     Do you see that?
    23             A.      Yes.
    24             Q.      Do you know who Bushra Ahmed
    25     is?



   Golkow Litigation Services                                        Page 315
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 317 of Review
                                                    Confidentiality     392


     1             A.      Yeah, that was my secretary at
     2     that time.
     3             Q.      He was your secretary at
     4     Al Rajhi Bank?
     5             A.      He was my secretary at Al Rajhi
     6     Bank, yes.
     7             Q.      And did he work for you in any
     8     capacity other than as secretary at Al Rajhi
     9     Bank?
    10                     MR. CURRAN:      Objection as to
    11             form.
    12                     You may answer.
    13                     THE WITNESS:      Well, you know,
    14             he was my secretary, so he will -- he
    15             will -- you know, any -- any letter or
    16             e-mail I do from my office, he will
    17             handle it.
    18     QUESTIONS BY MR. CARTER:
    19             Q.      Okay.    And he was an Al Rajhi
    20     Bank employee?
    21             A.      Yes.
    22             Q.      And it's addressed to a
    23                  and says, "On your fax machine, you
    24     are going to receive a letter dated
    25     October 18, '99, dually signed by Sheikh



   Golkow Litigation Services                                        Page 316
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 318 of Review
                                                    Confidentiality     392


     1     Sulaiman along with a three-page list of
     2     grants, in Arabic."
     3                     Do you recall asking your
     4     secretary to transmit a letter to
     5     in this November 1999 time frame including a
     6     list of grants?
     7             A.      No, actually, you know, from
     8     the beginning, it was always                        when
     9     he went -- you know, my father doesn't read
    10     or speak English, so normally -- and
    11     doesn't speak Arabic.        So normally when he
    12     wants to communicate things to my father, he
    13     will send it to my office for Bushra or, you
    14     know, most likely Bushra.         Most of the time
    15     he -- he communicate these message to my
    16     father under the same thing like when it
    17     was -- when it was something need to be
    18     communicated in writing.
    19             Q.      Okay.    So when
    20     needed to communicate with your father about
    21     the work of Humana, his normal course was to
    22     reach out to either Bushra or to you at
    23     Al Rajhi Bank, correct?
    24                     MR. CURRAN:      Objection.     Lack
    25             of foundation.



   Golkow Litigation Services                                         Page 317
Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 319 of 392
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 320 of Review
                                                    Confidentiality     392


     1     Bushra Ahmed to send this letter to
     2

     3             A.      Just give me, please, a minute
     4     just to go through it.
     5                     Yes, sorry, what was the
     6     question?
     7             Q.      Do you recall arranging for
     8     Bushra Ahmed to send this document to
     9

    10             A.      When you say "arrange," you
    11     mean I asked Bushra to do it or --
    12             Q.      Yeah, did you ask Bushra to do
    13     it?
    14             A.      Not necessarily.       You know,
    15     this -- this could be and could be not.
    16     Again, you know, talking about 20 -- you
    17     know, it could be -- it could be I am aware
    18     about it or it could be that                send it
    19     to, you know, my father.         You know, this, I
    20     would assume, is being drafted by -- by
    21     someone maybe in Saar or something like this,
    22     and then my father has signed it and asked
    23     Bushra to send it.
    24                     So it could be -- you know,
    25     this could be done when I am in the office



   Golkow Litigation Services                                        Page 319
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 321 of Review
                                                    Confidentiality     392


     1     or -- or not.      I can't recall.
     2             Q.      Okay.    And the letter, do you
     3     recognize this to be a letter signed by your
     4     father?
     5             A.      Yes.
     6             Q.      Okay.    And it indicates that
     7     "during my visit in July of 1998, I explained
     8     to you and Mr. Jaghlit that a committee has
     9     been set up to receive requests from various
    10     charities located throughout the world and
    11     then to review, investigate and decide if a
    12     charitable contribution will be made."
    13                     Do you understand that to be a
    14     reference to your father's charity office?
    15             A.      Yes.
    16             Q.      And it goes on to say, "As we
    17     discussed and agreed during your visit in
    18     December 1998, Humana Charitable Trust will
    19     join in and pay part of these contributions.
    20     Attached is a list of grants made and paid by
    21     me to various entities sent for reimbursement
    22     for your part of the contribution."
    23                     Do you recall there being an
    24     agreement that Humana Charitable Trust would
    25     reimburse Sheikh Sulaiman's charity office



   Golkow Litigation Services                                        Page 320
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 322 of Review
                                                    Confidentiality     392


     1     for portions of the contributions he made
     2     during this time period?
     3             A.      Yes.    I recall this was.
     4             Q.      And so the list of
     5     contributions that he's referring to here are
     6     contributions that were made by your father,
     7     Sulaiman Abdullah Abdul Aziz Al Rajhi,
     8     through his charity office, correct?
     9             A.      Yes, this is what the letters
    10     say or what's suggesting.
    11             Q.      And there is then a three-page
    12     list of contributions appended to it.
    13                     Do you recall seeing this
    14     during this time period?
    15             A.      No, I don't remember this.
    16             Q.      And there are contributions
    17     listed to entities in various parts of the
    18     world, the Philippines, Kuwait, Indonesia,
    19     United States, Colombia.
    20                     Do you recall during this
    21     period your father was involved in making
    22     charitable distributions throughout the
    23     world?
    24             A.      Yeah, my father's charity
    25     office was known for many charities around



   Golkow Litigation Services                                        Page 321
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 323 of Review
                                                    Confidentiality     392


     1     the world that, you know, they write to his
     2     charity office to get -- you know, to get
     3     some -- for his contributions.          So it was --
     4     so it was a lot of requests he receive from
     5     different organization, charities around the
     6     globe.
     7             Q.      And am I correct that these
     8     transfers would have been initiated through
     9     Al Rajhi Bank?
    10             A.      What do you mean by
    11     "initiated"?
    12             Q.      When your father was making
    13     contributions, did he generally transfer the
    14     money from an Al Rajhi Bank account?
    15             A.      Yeah, normally the charity
    16     office, they have an account with Al Rajhi
    17     Bank, and they will do it for Al Rajhi Bank.
    18             Q.      And just a couple questions
    19     about the identities listed here.
    20                     About two-thirds of the way
    21     down the first page, there's a reference to a
    22     transfer to Khaled Ibrahim al Suwailem in the
    23     Da`wah office in America.
    24                     Do you know who that is?
    25             A.      That is -- no, I don't know



   Golkow Litigation Services                                        Page 322
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 324 of Review
                                                    Confidentiality     392


     1     him.
     2             Q.      Okay.
     3             A.      You know, in many cases I would
     4     assume my father also doesn't know.            I mean,
     5     as I said, the request will come to his
     6     charity office, the people there, they will
     7     check it, review it, and at the time, as I
     8     said before, I don't know if it's during this
     9     time or -- there's a committee, and that
    10     committee will -- again, I don't know whether
    11     their role -- they approve or without they're
    12     coming to my father or my father get
    13     involved, but I would -- but I don't know
    14     really how it's -- you know, but I understand
    15     that sometime there's a committee in that
    16     office, which is not -- not people working
    17     who the -- who their job to approve or not
    18     approve.
    19             Q.      And --
    20             A.      Or to recommend.       I don't know.
    21     Sorry.
    22             Q.      Fair to say then that there was
    23     a professionalized operation established by
    24     your father to deal with the charity requests
    25     and determine where to send contributions?



   Golkow Litigation Services                                        Page 323
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 325 of Review
                                                    Confidentiality     392


     1             A.      No, my father, as I said, you
     2     know, he had staff working there in the
     3     charity, but also he wanted to have -- again,
     4     at the time, I'm not aware about it -- where
     5     there's a committee just another level of --
     6     maybe before him.       I would -- you know, I
     7     think this will give him more comfort that
     8     also being reviewed by maybe someone before
     9     the final decision is being made.
    10             Q.      Did your father personally pick
    11     the people who worked in the charity office
    12     and served on the committee?
    13             A.      I would expect, yes, but
    14     normally he -- he's the one who will decide,
    15     you know, which -- whether it be the
    16     committee or the people working there.            I
    17     mean, the top of mind, but I'm sure he's not
    18     involved for other staff working in charity
    19     office.
    20                     (Al Rajhi Exhibit ARB 58 marked
    21             for identification.)
    22     QUESTIONS BY MR. CARTER:
    23             Q.      And if we can, mark as the next
    24     exhibit the document at Tab Number 64.            It's
    25     an e-mail from                    addressed to



   Golkow Litigation Services                                        Page 324
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 326 of Review
                                                    Confidentiality     392


     1     Abdullah Sulaiman al Rajhi.          And the way it's
     2     addressed is "Dear Abu Sultan."
     3                     Is he referring to you when he
     4     uses the Abu Sultan salutation?
     5             A.      Yes, he refers to me.
     6             Q.      So in various places in
     7     communications with                      when there's
     8     a reference to Abu Sultan, that's referring
     9     to you?
    10             A.      Yeah.
    11                     MR. CURRAN:      Objection.
    12             Overbroad.
    13                     You may answer.
    14                     THE WITNESS:      Yes.
    15                     (Al Rajhi Exhibit ARB 59 marked
    16             for identification.)
    17     QUESTIONS BY MR. CARTER:
    18             Q.      And                  produced a
    19     number of checks related to contributions
    20     made by your father that were in his custody,
    21     and I just want to ask you a few questions
    22     about them.
    23                     The first one is at Tab 53.          If
    24     we can mark it next.
    25                     This is a 1999 check payable to



   Golkow Litigation Services                                        Page 325
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 327 of Review
                                                    Confidentiality     392


     1     Dr. Manei bin Hammad al Johani for 120,000
     2     riyals from bin Sulaiman Abdul Aziz al Rajhi.
     3                     Do you see that?
     4             A.      This is -- this is a check to a
     5     Dr. Manei bin Hammad al Johani.
     6                     Yes, I see that copy of the
     7     checks, yes.
     8             Q.      Okay.    And this is an Al Rajhi
     9     Bank check, right?
    10             A.      This is the checks with
    11     personal account with Al Rajhi Bank.
    12             Q.      And this check is payable to
    13     Manei bin Hammad al Johani.
    14                     Do you know who that is or was
    15     at the time?
    16             A.      No, I don't know him.
    17             Q.      Do you know whether or not he
    18     was an official at the World Assembly of
    19     Muslim Youth?
    20             A.      I don't know.
    21             Q.      Do you know whether your father
    22     had a practice of at times issuing checks to
    23     officials of charitable organizations rather
    24     than to the charities themselves?
    25                     MR. CURRAN:      Objection.     Lack



   Golkow Litigation Services                                        Page 326
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 328 of Review
                                                    Confidentiality     392


     1             of foundation.
     2                     You may answer.
     3                     THE WITNESS:      No, I don't know
     4             if he's doing this.
     5                     (Al Rajhi Exhibit ARB 60 marked
     6             for identification.)
     7     QUESTIONS BY MR. CARTER:
     8             Q.      And if we can go to the checks
     9     at Tab 57.
    10                     These are three checks payable
    11     to the Muslim World League for The Ten Sheep
    12     Project.
    13                     Do you have any idea what The
    14     Ten Sheep Project was at that time?
    15             A.      I think I see now what you
    16     covered with the check here.          Tell you what,
    17     I don't know -- ten --
    18             Q.      The Ten Sheep --
    19             A.      Yeah.    No, I don't know what is
    20     it.
    21                     (Al Rajhi Exhibit ARB 61 marked
    22             for identification.)
    23     QUESTIONS BY MR. CARTER:
    24             Q.      Okay.    And if we can mark the
    25     document Tab 58.



   Golkow Litigation Services                                        Page 327
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 329 of Review
                                                    Confidentiality     392


     1                     This is a check payable to an
     2     individual named Mansour bin Nassir Al Rajhi.
     3                     Do you know who that is?
     4             A.      Mansour bin Nassir Al Rajhi, I
     5     would think -- yeah, this is -- could be -- I
     6     can't confirm 100 percent, but could be
     7     someone, you know, Al Rajhi family as --
     8     as -- you know, I'm not talking about the
     9     four brothers.      I'm talking whole family.
    10     They have, you know, a kind of, you know, the
    11     gathering.     They do it, of course, you know,
    12     in different cities in the country where
    13     some -- some member of the family are
    14     meeting.
    15                     You know, they do these kind of
    16     meetings here in Riyadh.         They do it in the
    17     original town in Naseem.         They do it in
    18     Jeddah.      So Mansour is involved in -- if he's
    19     the same person, involved in -- in this --
    20     you know, this -- you know, association or
    21     whatever you call it.
    22                     I don't know really what could
    23     be the right name, which is just making these
    24     family gathering and -- and again, this is
    25     before the -- so there's actually -- most



   Golkow Litigation Services                                        Page 328
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 330 of Review
                                                    Confidentiality     392


     1     likely again I can't -- but there must be a
     2     kind of different member of the family, they
     3     need a kind of endowment for the benefit of
     4     the whole family.       And this is what I
     5     understand it's -- they help all the member
     6     for -- that's endowment to a member of the
     7     family when they are in need of help.
     8             Q.      There's text here associated
     9     with it enclosing the check, which indicates
    10     that it is a contribution for folks of the
    11     Committee for the Promotion of Virtue and the
    12     Prevention of Vice.
    13                     Do you know whether Mansour bin
    14     Nassir Al Rajhi had any role at the committee
    15     for the --
    16             A.      I just want to read it, please.
    17     Just to understand it.
    18             Q.      Yeah, sure.
    19             A.      Yes.    No, this must be for
    20     something different.        This is -- it seems
    21     money being given to this individual, you
    22     know, as a contribution from Sheikh Sulaiman
    23     for -- for this, you know, government entity
    24     called Hayta Maroof {phonetic}, which is
    25     supposed to make sure that, you know, they



   Golkow Litigation Services                                        Page 329
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 331 of Review
                                                    Confidentiality     392


     1     apply the order -- the Islamic law.
     2                     So sorry, what was the
     3     question?
     4             Q.      I was just asking whether or
     5     not the Al Rajhi referred to in that had any
     6     role to your knowledge at the Committee for
     7     the Promotion of Virtue and the Prevention of
     8     Vice?
     9             A.      No, again, I don't understand
    10     the question.
    11             Q.      The donation is for the benefit
    12     of the Committee for the Promotion of Virtue
    13     and Prevention of Vice, and it's being given
    14     to Mansour bin Nassir Al Rajhi.
    15                     Do you know if he was in some
    16     way affiliated with that committee?
    17             A.      No, I don't know if he's
    18     affiliated or not.       But this is -- this is
    19     government officials, and this is government
    20     money, so the money went to them.           So I don't
    21     know if he has -- he is involved with it.
    22                     (Al Rajhi Exhibit ARB 62 marked
    23             for identification.)
    24     QUESTIONS BY MR. CARTER:
    25             Q.      We can mark as the next exhibit



   Golkow Litigation Services                                        Page 330
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 332 of Review
                                                    Confidentiality     392


     1     the handful of checks at Tab 98.
     2                     Mr. Al Rajhi, these are all
     3     checks issued from your father's account at
     4     Al Rajhi payable to Abdullah bin Ibrahim
     5     Al-Misfer, and our understanding is that
     6     Abdullah bin Ibrahim Al-Misfer worked in your
     7     father's charity office at the time these
     8     checks were issued.
     9                     Take a moment and scroll
    10     through them, please.
    11             A.      Okay.
    12             Q.      Okay.    And in the notes on
    13     several of these checks there's indication
    14     that the funds are for some other party.             The
    15     first one indicates that the amount to be
    16     sent to the Brother Ahmed Taha.
    17                     The next says to be handed to
    18     propagator Qassim Mohamed from Mali.
    19                     The other one is for the
    20     benefit of propagators in Sierra Leone.
    21                     Again, do you know whether your
    22     father had a practice of issuing checks to
    23     individuals in their name for support of
    24     other entities?
    25             A.      Support what?



   Golkow Litigation Services                                         Page 331
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 333 of Review
                                                    Confidentiality     392


     1             Q.      Other entities.
     2             A.      Other -- I don't know what you
     3     mean.
     4             Q.      The checks indicate that the
     5     ultimate beneficiary of several of these
     6     payments are not Abdullah Al-Misfer himself
     7     but someone else.
     8             A.      Yes.
     9             Q.      And do you know in this time
    10     period whether your father had a practice of
    11     making payments to people in his charity
    12     office in their name for them to go
    13     distribute the proceeds to a third party?
    14                     MR. CURRAN:      Objection.
    15             Foundation.
    16                     You may answer.
    17                     THE WITNESS:      Yeah, no, I don't
    18             know if my father knows about this.           I
    19             don't know if my father knowing about,
    20             you know, this practice or not.
    21                     You know, because this is what
    22             I can see checks being signed by the
    23             people managing the charity.         If -- I
    24             don't know this Abdullah Al-Misfer,
    25             but as you say he's working in the



   Golkow Litigation Services                                        Page 332
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 334 of Review
                                                    Confidentiality     392


     1             charity, then they are signing for
     2             someone who is working.        And as I
     3             said, you know, he put someone.
     4                     So I don't know if -- if -- you
     5             know, if my father was knowing about
     6             this or not.     I don't know if this
     7             is -- you know, was a practice in
     8             many -- in other things or only in
     9             this one.    I have no idea.
    10     QUESTIONS BY MR. CARTER:
    11             Q.      Well --
    12             A.      Again, going back to, you know,
    13     1990 because I looked at the dates.            '99, you
    14     know, it was -- it was -- I think the trust
    15     was totally different than they were today
    16     because you cannot expect that, you know,
    17     money will go and you give it and this money
    18     will be used for bad causes.          It's always,
    19     you know, people have in mind this money goes
    20     there and it will -- you know, it will be
    21     used for a good purpose.
    22                     And definitely there was a lot
    23     of trust in an individual at that time, which
    24     is, of course, different today.
    25             Q.      And just to that point, the



   Golkow Litigation Services                                        Page 333
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 335 of Review
                                                    Confidentiality     392


     1     check at 10423 was in the amount of 235,000
     2     Saudi riyals, coming from the charity's
     3     account at the bank and issuing to Abdullah
     4     Ibrahim Al-Misfer who is an employee of the
     5     charity.
     6                     And you agree with me under
     7     that circumstance Ibrahim Al-Misfer could
     8     have simply cashed this check?
     9             A.      You mean for his own personal
    10     benefit?
    11             Q.      Well, I mean, it's written out
    12     to him.      If he came into the bank, would they
    13     have honored it and given him the cash?
    14             A.      Yeah, if he came to the bank
    15     and he's the beneficiary, he would have taken
    16     the cash.     But again --
    17             Q.      Where it went from there, the
    18     bank wouldn't know?
    19             A.      Yeah, of course.       If he -- if
    20     the -- if there's a check in the name of an
    21     individual and they take the cash at that
    22     time.    Of course today, you know, you cannot
    23     make personal checks to charities.           It's not
    24     accepted.     This is stopped.
    25                     But at that time people would



   Golkow Litigation Services                                        Page 334
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 336 of Review
                                                    Confidentiality     392


     1     have made check -- I think this is in
     2     every -- every charity everywhere in the
     3     world.    You know, they will make a check to
     4     an individual.      And then I don't know -- and
     5     also, again, I'm not -- I don't understand
     6     why and how, but -- but we know that some
     7     country also -- there's a different country
     8     there's always, you know, you need to bring
     9     money -- you know, because there's no way to
    10     transfer the money through banking system.
    11                     It's more transferring money
    12     for, you know -- through either dollars or
    13     whatever currency to give it to them because
    14     some of these country, there is not even way
    15     to transfer money to.        I'm not saying this is
    16     the case, but this could be also there.
    17             Q.      Actually, I'm going to reserve
    18     to a little bit of my remaining time, but I
    19     do want to ask you just a few questions
    20     before turning it over to counsel.
    21                     There are documents indicating
    22     that you were involved in responding to an
    23     inquiry from SAMA relating to transactions
    24     involving an individual named Omar
    25     Al-Bayoumi.



   Golkow Litigation Services                                        Page 335
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 337 of Review
                                                    Confidentiality     392


     1                     Do you recall that at all?
     2             A.      No, I don't.
     3             Q.      Do you know who Omar Al-Bayoumi
     4     is?
     5             A.      No, I don't.
     6             Q.      He is known to have provided
     7     support to two of the September 11th
     8     hijackers when they arrived in the United
     9     States.
    10                     Were you aware of that?
    11                     MR. CURRAN:      Objection.
    12             Foundation.
    13                     You may answer.
    14                     THE WITNESS:      You know, I --
    15             really -- the name -- maybe ring --
    16             maybe in this case or in -- his name
    17             was there, I have seen this name, but
    18             I don't recall details of -- of him.
    19     QUESTIONS BY MR. CARTER:
    20             Q.      And, sir, do you have any idea
    21     why Omar Al-Bayoumi would have been
    22     contacting the phone number associated with
    23     the charity office and then a cell phone
    24     associated with Abdullah Al-Misfer during the
    25     time period that the hijackers were in the



   Golkow Litigation Services                                        Page 336
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 338 of Review
                                                    Confidentiality     392


     1     United States?
     2             A.      No, I do not know.
     3             Q.      There is an individual named
     4     Towayan Al-Towayan.
     5                     Do you know who that is?
     6             A.      No, I don't.
     7             Q.      Or he is -- or he was at one
     8     time an employee of Al Rajhi Bank working in
     9     the Sharia department.
    10                     Do you have any understanding
    11     of whether Al Rajhi Bank sent him to the
    12     United States during the 2000-2001 time
    13     period?
    14             A.      No, I didn't recall that the
    15     bank sent him or sent anyone to United States
    16     during that time.
    17             Q.      And Towayan Al-Towayan is
    18     believed by the FBI to have had contact with
    19     Omar Al-Bayoumi and at least one of the
    20     hijackers.
    21                     Did you in your role at
    22     Al Rajhi Bank ever receive any inquiry
    23     related to that contact?
    24                     MR. CURRAN:      Objection.     Lack
    25             of foundation.



   Golkow Litigation Services                                        Page 337
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 339 of Review
                                                    Confidentiality     392


     1                     You may answer.
     2                     THE WITNESS:      You know, at that
     3             time there's a lot and a lot of
     4             inquiries were received.        So I can't
     5             now remember, you know, what are the
     6             names, but it could be hundreds of
     7             inquiry and information.        And so -- so
     8             it could be, but I can't recall
     9             whether he was in any of the lists
    10             that we --
    11     QUESTIONS BY MR. CARTER:
    12             Q.      And you're -- do you recall
    13     whether there was any inquiry to determine
    14     whether Towayan Al-Towayan received unusual
    15     financial contributions while he was in the
    16     United States from Al Rajhi Bank accounts?
    17             A.      No.    No way that Al Rajhi Bank
    18     will -- can you say that?         Can you --
    19     contributed money to him for what?
    20             Q.      Well, he had an account at
    21     Al Rajhi Bank.      I'm asking whether or not you
    22     recall there was ever any inquiry that you're
    23     aware of directed to the bank concerning
    24     funds he received through that account during
    25     the 2000-2001 time period?



   Golkow Litigation Services                                        Page 338
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 340 of Review
                                                    Confidentiality     392


     1             A.      Ah, funds he received in his
     2     account, no, I'm not aware about it.
     3             Q.      Were you aware that Saleh
     4     Al-Hussayen was in the United States in the
     5     days leading up to and through September 11th
     6     attacks?
     7             A.      No, I am not aware.
     8             Q.      Were you aware that he
     9     transferred the hotel he was staying in stay
    10     in the same hotel room -- hotel as two of the
    11     hijackers on the night before the attacks?
    12             A.      No, I'm not aware of it.
    13             Q.      There is information indicating
    14     that Saleh Al-Hussayen was in the United
    15     States, at least in part, to visit charities
    16     in the Herndon, Virginia area during that
    17     trip.
    18                     Are you aware of that?
    19             A.      No, I am not aware, but from
    20     what you are saying now and his name was on
    21     the list there, but I'm not aware of it.
    22             Q.      Do you know whether Saleh
    23     Al-Hussayen was in the United States at that
    24     time at -- on behalf of your father?
    25             A.      He was in United States on



   Golkow Litigation Services                                        Page 339
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 341 of Review
                                                    Confidentiality     392


     1     behalf of my father?
     2             Q.      Yeah.    Do you know whether he
     3     was here for -- on behalf of your father
     4     and/or your father's request?
     5             A.      No.    No.
     6             Q.      To investigate charities?
     7             A.      No, I didn't -- no, I'm not
     8     aware, and I don't think so, but I'm not
     9     aware, no.
    10             Q.      And do you recall whether he
    11     still had any role working with your father
    12     during that time period in 2001?
    13             A.      I am not aware if -- if he was
    14     working at that time with my father.
    15                     MR. CARTER:      We will reserve
    16             the remainder of our time.         Thank you,
    17             Mr. Al Rajhi.
    18                     THE WITNESS:      Thank you,
    19             Mr. Carter.
    20                     MR. CURRAN:      All right.
    21             Mr. Al Rajhi, I do have some questions
    22             for you.
    23                     First, however, I would like to
    24             inform the court reporter that at
    25             least my colleagues thing there might



   Golkow Litigation Services                                        Page 340
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 342 of Review
                                                    Confidentiality     392


     1             have been a couple of errors.          We
     2             reserve all rights to provide errata.
     3                     But in particular, at 12:13:14,
     4             lines, I think, 253, 24, there's a
     5             concern that there was a "no" answer
     6             that was indicated as a "yes," and
     7             they -- at least on the realtime
     8             transcript.
     9                     And then at 12:19:30, at 259,
    10             line 7, there was a concern that the
    11             word "you" should be "he."
    12                     But, again, we reserve rights
    13             to provide errata from ourselves and
    14             the witness.
    15                     Now, I would like to ask the --
    16             the technician to bring up one
    17             particular exhibit.       It's been
    18             previously marked.       It should be found
    19             in our Tab 1, and it's previously been
    20             marked as ARB 24.       It bears the Bates
    21             number ARB 39593 and others beyond
    22             that.
    23                     VIDEOGRAPHER:      Mr. Curran, if
    24             you could speak a little bit closer to
    25             the microphone.      Your audio is just



   Golkow Litigation Services                                        Page 341
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 343 of Review
                                                    Confidentiality     392


     1             little been muffled.       Thank you.
     2                      JON KNOWLES:     Your Exhibit 1.
     3             Where?
     4                      MR. CURRAN:     That's right.
     5             Tab 1.
     6                      JON KNOWLES:     Do you have it in
     7             the marked exhibit -- in the folder,
     8             in your folder under -- logged into
     9             or --
    10                      MR. CURRAN:     I believe it's in
    11             our folder, Tab 1, it's ARB 24.
    12             Previously marked.
    13                      JON KNOWLES:     Okay.    I don't --
    14             give me a second then.        I don't see
    15             it.   Let me log back into your folder.
    16             Hold on.
    17                      You want to go off the record
    18             for a second or you just want to --
    19                      MR. CURRAN:     No, I prefer to
    20             continue.
    21                      JON KNOWLES:     Okay.
    22                      MR. CURRAN:     I see it in our
    23             folder at Tab 1.
    24                      All right.     Mr. Knowles, you
    25             tell me, should we take a short break?



   Golkow Litigation Services                                        Page 342
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 344 of Review
                                                    Confidentiality     392


     1             Is that necessary?
     2                     JON KNOWLES:      Wait.    That's it
     3             right there.
     4                     MR. CURRAN:      That's it.     Thank
     5             you very much.
     6                     JON KNOWLES:      Yes, sir.     I got
     7             it.
     8                     CROSS-EXAMINATION
     9     QUESTIONS BY MR. CURRAN:
    10             Q.      All right.      So, Mr. Al Rajhi,
    11     I'm going to ask you questions about this
    12     exhibit.      It's a multipage exhibit.        It
    13     begins with the Bates number ARB 39593 and it
    14     continues through 39604.         And it's an exhibit
    15     that is originally in Arabic and then it has
    16     an English translation.         You can refer to
    17     either at your pleasure.
    18                     So my first question is, what
    19     is the first page you see here?
    20             A.      First page is a letter.         It's
    21     sent to Dr. Abdullah al Obaid from -- he's
    22     the Secretary of Islamic, I think, World
    23     League.      Or I'm not sure about the English
    24     word.    Maybe Islamic World League, I saw that
    25     one.    It might also what's --



   Golkow Litigation Services                                        Page 343
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 345 of Review
                                                    Confidentiality     392


     1             Q.      Yeah.    So who's the letter
     2     from?
     3             A.      From my father.
     4             Q.      Do you recognize that
     5     signature?
     6             A.      Yes, I do.
     7             Q.      How do you know that that's
     8     your father's signature?
     9             A.      I know this is his signature.
    10             Q.      Yeah, how do you know?         How do
    11     you know it's his signature?
    12             A.      Because I know his signature.
    13     And, you know, signed on top of his name.
    14             Q.      You've seen his signature many
    15     times over the years?
    16             A.      Yeah, I've seen it -- of cor --
    17     yeah, I know his signature well.
    18             Q.      And in looking at the
    19     letterhead, do you recognize the letterhead?
    20             A.      Yes.
    21             Q.      What is it the letterhead for?
    22             A.      This is my father's estate
    23     office.
    24             Q.      Okay.    And your father has an
    25     estate office?



   Golkow Litigation Services                                        Page 344
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 346 of Review
                                                    Confidentiality     392


     1             A.      Yes.    Yeah, he does.
     2             Q.      What is that?
     3             A.      Estate office, it's a -- it's
     4     one of my company offices, my father offices,
     5     which is taking care of all of his real
     6     estate businesses.
     7             Q.      Okay.    Is it a personal office
     8     that your father has?
     9             A.      Yes, it is a personal.
    10             Q.      Is it affiliated with the bank?
    11             A.      No, it has nothing to do with
    12     the bank.
    13             Q.      At the bottom of this
    14     stationery, there's a list of addresses and
    15     other contact information.
    16                     Do you see that?
    17             A.      Yes, I do.
    18             Q.      Do you recognize any of those
    19     addresses?
    20             A.      No, I don't.
    21             Q.      Okay.    Are any of them
    22     affiliated with the bank?
    23             A.      No, no, they are not.        These
    24     aren't even, you know -- have -- if you see
    25     in the bottom show what you call it, Chamber



   Golkow Litigation Services                                        Page 345
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 347 of Review
                                                    Confidentiality     392


     1     of Commerce membership number, the CR number,
     2     which are the -- this is different CR.            CR,
     3     which is commercial registration for the
     4     office.      So this have different phone,
     5     different commercial registration, different
     6     Chamber of Commerce membership.
     7             Q.      And, sir, please take a moment
     8     to look at the letter.         I'm going to ask you
     9     what your understanding of the letter is.
    10             A.      I think my father here he's
    11     sending letter referring to -- and he's
    12     informing that he's a number of times
    13     provided his -- his resignation as a -- as a
    14     board member and also from any committee, and
    15     he sent number of letters.         The last one was
    16     in '98.      And he send a copy of his
    17     resignation, and he wanted just to --
    18     confirming that, you know, his resignation,
    19     which as he sent before.
    20             Q.      And, sir, this letter is dated
    21     October 4, 1998, correct?
    22             A.      Yes.    Yes.
    23             Q.      And in this letter, your father
    24     is confirming his prior resignation from the
    25     board of trustees of IIRO, correct?



   Golkow Litigation Services                                        Page 346
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 348 of Review
                                                    Confidentiality     392


     1             A.      Right.     Yes.
     2             Q.      And you indicated that this
     3     letter attaches copies of prior resignations
     4     by your father?
     5             A.      Yes, that's what the letter
     6     say.    Yes.
     7             Q.      Okay.    I would like to ask you
     8     to scroll through the attachments and tell me
     9     if those also appear to you, based on your
    10     knowledge, to bear your father's signature
    11     and bear the stationery of your father's
    12     estate office.
    13             A.      Yeah, all these are my father
    14     signature from the estate office.
    15             Q.      Okay.
    16             A.      The letterhead, I mean.
    17             Q.      Right.
    18                     And the last attachment here,
    19     which I believe is the first-in-time letter.
    20             A.      Yeah, this one.       Yes.
    21             Q.      Is dated when?
    22             A.      This is -- this is dated Arabic
    23     in the letter.      I see in handwrite.        20
    24     June 1992.
    25             Q.      Okay.    So based on this



   Golkow Litigation Services                                        Page 347
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 349 of Review
                                                    Confidentiality     392


     1     exhibit, it appears that your father first
     2     resigned from the board of IIRO in or about
     3     June 20, 1992?
     4             A.      Yes.
     5             Q.      And then thereafter he sent
     6     multiple letters to IIRO confirming his
     7     resignation?
     8             A.      Right.
     9             Q.      You see, sir, at the bottom of
    10     this exhibit, there are Bates numbers?
    11             A.      Yes.
    12             Q.      And they bear the ARB Bates
    13     number?
    14             A.      Yes.
    15             Q.      All right.      So that indicates
    16     that this document came from the files of
    17     Al Rajhi Bank.
    18             A.      All right.
    19             Q.      Okay.    First, do these letters
    20     relate at all to bank business?
    21             A.      No.    It's not -- this is from
    22     the real estate office.         It has nothing to do
    23     with the bank.
    24             Q.      Okay.    So do you know why these
    25     documents were found and produced from the



   Golkow Litigation Services                                        Page 348
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 350 of Review
                                                    Confidentiality     392


     1     files of the Al Rajhi Bank?
     2             A.      Yes, I --
     3                     MR. CARTER:      Objection.
     4                     THE WITNESS:      Yes, this is
     5             because of this case, the first -- you
     6             know, this case, the first time, this
     7             letter came from the estate office for
     8             the -- for this case in the first
     9             time.
    10     QUESTIONS BY MR. CURRAN:
    11             Q.      Okay.    Do you believe that
    12     these letters that you've been shown are
    13     authentic and genuine letters signed by your
    14     father?
    15             A.      Yes, I do believe.
    16             Q.      Do you have any indication that
    17     they are forgeries or otherwise lacking in
    18     genuineness?
    19             A.      No, I didn't.
    20             Q.      All right.      Please take down
    21     that exhibit.
    22                     So, Mr. Al Rajhi, do you
    23     remember where you were on 9/11?
    24             A.      Yes, I remember.       I was -- it
    25     was about four o'clock.         I was in my office



   Golkow Litigation Services                                        Page 349
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 351 of Review
                                                    Confidentiality     392


     1     here in Riyadh, in the bank.
     2             Q.      And what did you think when
     3     9/11 happened?
     4             A.      Well, you know, first when I
     5     heard about the news, I thought it was -- you
     6     know, it was -- I was surprised.           I thought
     7     it was an accident, the plane hit to the
     8     tower.    But of course after the second attack
     9     or the second airplane hit the tower, it was
    10     very clear that it is a attack, you know;
    11     it's not an accident.
    12                     And of course I was shocked
    13     and, you know, sadness, especially when the
    14     news started coming and, you know, thousands
    15     of people lost their life.         And then, you
    16     know -- and they would -- so very, very
    17     difficult time in their last moment of life,
    18     when -- especially when the -- you know, we
    19     all see it, the jumping off of towers.            So it
    20     was really very, very difficult time and they
    21     lost a lot of their life.
    22             Q.      Did you ever discuss 9/11 with
    23     your father?
    24             A.      Yeah, I -- when I have seen him
    25     in person after -- after this attack, I



   Golkow Litigation Services                                        Page 350
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 352 of Review
                                                    Confidentiality     392


     1     discussed it with him, yes.
     2             Q.      And what was his reaction?
     3             A.      Well, his reaction, it's -- you
     4     know, this is murder.        This is a crime.       And
     5     my father, you know, you go -- I mean, he
     6     said at that time, and he said it -- I heard
     7     it from, you know -- you know, many, many
     8     times, and he said this in front of me and
     9     many people who he meets when you talk about
    10     these kind of, you know, attacks or these
    11     terrorists, any terrorist.         You know, he
    12     would say, you know -- he always say, and he
    13     believe that, you know, if you as an
    14     individual kill one innocent person, it's
    15     like you are killing the whole humanity.             You
    16     know, he said it's killing one -- it's like
    17     killing the whole humanity.
    18                     So he was -- and this is,
    19     again, either you will hear it from him, many
    20     people hear it from him.         He was always, you
    21     know, repeat this message.         And definitely,
    22     you know, he seen this as -- as a crime.
    23                     And of course he doesn't -- he
    24     doesn't agree that Osama bin Laden or
    25     al-Qaeda, they are representing Islam or



   Golkow Litigation Services                                         Page 351
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 353 of Review
                                                    Confidentiality     392


     1     acting on behalf of Islam.         He always said
     2     this many times.
     3             Q.      Have you ever met Osama bin
     4     Laden, or did you ever meet him before he
     5     died?
     6             A.      No, I never met him.
     7             Q.      Do you know if your father ever
     8     met him?
     9             A.      No, I don't think my father
    10     have.    Of course I can't -- I can't say for
    11     sure, but I'm not aware that my father has
    12     seen him or meet him.
    13             Q.      Are you an extremist Islam
    14     follower?
    15             A.      No, I'm not.
    16             Q.      Do you support violence or
    17     terrorism?
    18             A.      No, I don't.
    19             Q.      Is your father an extremist or
    20     was he at any time?
    21             A.      No.
    22                     MR. CARTER:      Objection.
    23                     THE WITNESS:      Yeah, my father
    24             is a religious person, but he doesn't
    25             support radical or extremist belief.



   Golkow Litigation Services                                        Page 352
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 354 of Review
                                                    Confidentiality     392


     1             But he's -- he -- he's very religion
     2             person, my father.       But you talk to
     3             him, he -- he's not -- he doesn't
     4             support -- he doesn't support these
     5             beliefs.
     6     QUESTIONS BY MR. CURRAN:
     7             Q.      Have you ever intended to
     8     support Osama bin Laden, al-Qaeda or
     9     terrorists, terrorism in any form?
    10             A.      No way.     Never.
    11                     Actually, you know, in this
    12     country we are victim of terrorists.            Of
    13     course not the same scale as -- as
    14     September 11, but my neighbor, he lost his
    15     son in one of the terrorist attack here in
    16     Riyadh.      When he was in one of the compound
    17     and the terrorist attack one compound and his
    18     son was in that compound and he lost his
    19     life.
    20                     The same thing in Al Rajhi
    21     Bank.    One of our staff with his family was
    22     living in one of these compound, and that
    23     compound was -- another attack, was another
    24     terrorist attack, and luckily he did not --
    25     they were safe, but of course very, very



   Golkow Litigation Services                                        Page 353
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 355 of Review
                                                    Confidentiality     392


     1     difficult time.      He and his wife and his
     2     children, so really -- and -- and -- and
     3     Al Rajhi Bank, you know, I think about ten
     4     years ago, our Jazira branch, you know, there
     5     was an attack on our branch, in our branch,
     6     and terrorists -- it was, you know, prior --
     7     probably and then being proven behind it is
     8     the terrorists.      And unfortunately --
     9     unfortunately we lost -- two our staff lost
    10     their life in this accident.
    11                     So, you know -- you know, we
    12     are also -- I mean, you know, we have
    13     suffered -- and, I mean, again, it's not the
    14     same scale, but these terrorist attack also
    15     has happened here in this country.
    16             Q.      Yeah.
    17                     To the best of your knowledge,
    18     has your father ever supported Osama bin
    19     Laden, al-Qaeda or terrorism in any form?
    20             A.      No, he never.
    21             Q.      How do you know that?
    22             A.      Because I know my father.         You
    23     know, I -- you know, he always -- I worked
    24     with him for decades.        You know, I've seen
    25     him all my life.       And I'm not aware of any



   Golkow Litigation Services                                        Page 354
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 356 of Review
                                                    Confidentiality     392


     1     support he has been giving, you know, for --
     2     for someone for -- to do this kind of -- of
     3     terrorist or, you know, illegal things.
     4             Q.      To the best of your knowledge,
     5     was anyone at Al Rajhi Bank ever a supporter
     6     of Osama bin Laden, al-Qaeda or terrorism in
     7     any form?
     8             A.      No.    No one.
     9                     MR. CARTER:      Objection.
    10             Foundation.
    11     QUESTIONS BY MR. CURRAN:
    12             Q.      And you've worked at the bank
    13     for how many years?
    14             A.      As I said here, I started
    15     from -- since I graduated in 1979.           And I
    16     left as an executive 2012, and I was on the
    17     board after that for some time, and then I
    18     was the chairman.
    19             Q.      Okay.    And at the time of 9/11,
    20     you were the general manager?
    21             A.      I was the general manager, yes.
    22             Q.      Which is equivalent to the CEO?
    23             A.      Which is equivalent to the CEO,
    24     yes.
    25             Q.      And you were on the board of



   Golkow Litigation Services                                        Page 355
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 357 of Review
                                                    Confidentiality     392


     1     directors at that time?
     2             A.      At that time I was on the
     3     board, yes.
     4             Q.      And with all of that
     5     supervision of the bank and knowledge of the
     6     bank, you're not aware of anyone at the bank
     7     who supported Osama bin Laden, al-Qaeda or
     8     terrorism in any form?
     9             A.      I am not aware of anyone
    10     supporting any of these things at any time.
    11                     MR. CURRAN:      Mr. Carter, that
    12             concludes my testimony -- or my
    13             examination of the witness.
    14                     MR. CARTER:      Okay.    I have a
    15             brief follow-up in light of that.
    16                    REDIRECT EXAMINATION
    17     QUESTIONS BY MR. CARTER:
    18             Q.      Just begin, Mr. Al Rajhi, you
    19     were asked some questions about your reaction
    20     to the September 11st attacks as well as your
    21     father's reaction.
    22                     Do you recall that questioning
    23     from your counsel?
    24             A.      Yes.
    25             Q.      And we've discussed at some



   Golkow Litigation Services                                        Page 356
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 358 of Review
                                                    Confidentiality     392


     1     length that in the period after the
     2     September 11th attacks, it came to light that
     3     numerous entities that had accounts at
     4     Al Rajhi Bank were involved in providing
     5     support to al-Qaeda, including Al-Haramain,
     6     correct?
     7             A.      You know --
     8                     MR. CURRAN:      Objection as to
     9             form.   Lack of foundation.
    10                     You may answer.
    11                     THE WITNESS:      I mean, there is
    12             some accusation, but I'm not in a
    13             position to say this was the case,
    14             but -- but I'm not aware of any -- you
    15             know, any of these customer had -- you
    16             know, had -- other than, you know, the
    17             accusation.
    18     QUESTIONS BY MR. CARTER:
    19             Q.      Well, are you aware that the
    20     Kingdom of Saudi Arabia, the government of
    21     Saudi Arabia, has publically stated that
    22     Al-Haramain was notoriously tied to Osama bin
    23     Laden and al-Qaeda's terrorism?
    24             A.      No, I'm aware that Saudi Arabia
    25     has closed Al-Haramain, you know, for -- for



   Golkow Litigation Services                                        Page 357
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 359 of Review
                                                    Confidentiality     392


     1     wrongdoing things.       I did not go into details
     2     about these things.
     3             Q.      Okay.    Given the accusations
     4     about Al-Haramain's involvement in supporting
     5     al-Qaeda and the fact that your bank had 95
     6     accounts for Al-Haramain during this period
     7     and processed over 2 billion riyals in
     8     deposits and withdrawals, and given what you
     9     said about your reaction to 9/11, why didn't
    10     you direct the people at the bank to grab up
    11     every piece of paper you had about
    12     Al-Haramain to see if there was a problem in
    13     relation to the accounts that you maintained
    14     for Al-Haramain?
    15             A.      Mr. Carter, I said before, you
    16     know, after September 11, we in the bank, we
    17     have send all the information about
    18     Al-Haramain to SAMA based on the work.            We
    19     have send every account, every transaction,
    20     and we received a lot of inquiries, you know,
    21     about -- about these transaction.
    22                     And that we -- we are located,
    23     we have put resource, staff, just, you know,
    24     to -- to -- their job to work with SAMA, send
    25     information.



   Golkow Litigation Services                                        Page 358
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 360 of Review
                                                    Confidentiality     392


     1                     And as I said before, we are
     2     really proud of the work we have done because
     3     we were responding -- responding very fast
     4     and sending all the information.           And we know
     5     these information goes to SAMA and also being
     6     discussed and shared with the other
     7     countries, especially United States, in
     8     dealing with the -- and the timing -- to
     9     help.
    10                     So -- so we have done it.         You
    11     know, it's not like we did nothing.
    12             Q.      Well, I'm supposed to have
    13     copies of any communications you had with
    14     SAMA about Al-Haramain through 2004, and I
    15     don't have a stitch of record indicating you
    16     provided account information to SAMA about
    17     Al-Haramain during that time period.
    18             A.      You know, again, it's --
    19                     MR. CURRAN:      Objection.
    20                     THE WITNESS:      The way -- yeah,
    21             the way it works, these not letters
    22             they send it to us.       These are, you
    23             know, the same -- as I said, you know,
    24             they -- you know, we receive -- and
    25             actually in sometimes, SAMA people



   Golkow Litigation Services                                        Page 359
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 361 of Review
                                                    Confidentiality     392


     1             come, you know, because of the
     2             importance of the information.          They
     3             come to us here in our head office,
     4             and -- and they sit with our people,
     5             and they collect all of the
     6             information, and they take it also
     7             with them.
     8                     So it was also not -- also
     9             teams from SAMA was -- was also in the
    10             bank and dealing with all of these
    11             information about Al-Haramain and
    12             about other charities and other
    13             individuals.
    14                     The bank was always very
    15             good -- cooperating and doing.          And
    16             not only that, but also for our
    17             lawyers go back, you know, to -- to I
    18             think 2000 -- not 2000 -- '02 or '3,
    19             you know, what the case, they came to
    20             us, they asked -- you know, the US
    21             government, they wanted some
    22             information from our lawyers.          And we
    23             made this information available
    24             through, of course, SAMA because we
    25             have to give to SAMA.        We made it



   Golkow Litigation Services                                        Page 360
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 362 of Review
                                                    Confidentiality     392


     1             available to the US government at that
     2             time.
     3                     So I think it's not fair that
     4             you say that we did not do anything or
     5             were not cooperating.        We have done
     6             everything we can do to help and --
     7             and, you know, give whatever
     8             information needed to deal with this
     9             big, big, you know --
    10     QUESTIONS BY MR. CARTER:
    11             Q.      Mr. Al Rajhi, I have limited
    12     time.    And, again, I'm supposed to have
    13     copies of any information relating to
    14     engagements with SAMA about Al-Haramain.
    15                     I'm telling you that I don't
    16     have any records indicating that any
    17     information was provided to SAMA about
    18     Al-Haramain through the 2004 period.
    19                     So if you have documentation
    20     indicating that there was some information
    21     provided, I'd ask that you get it to me.
    22                     MR. CURRAN:      Objection as to
    23             form.
    24                     I don't know if that's a
    25             question, but if it is, objection as



   Golkow Litigation Services                                        Page 361
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 363 of Review
                                                    Confidentiality     392


     1             to form.
     2                     The witness has already
     3             addressed that, Mr. Carter.
     4     QUESTIONS BY MR. CARTER:
     5             Q.      And we will shift very quickly.
     6                     Going back to the series of
     7     letters that Mr. Curran discussed from your
     8     father to officials at the Muslim World
     9     League.
    10             A.      Yes.
    11             Q.      Okay.    And if you go to the
    12     first in that series, the '92 letter, there's
    13     a reference to the fact that your father at
    14     some point prior to that letter had, in fact,
    15     accepted an invitation to be a member of the
    16     Constituent Assembly of the IIRO and a member
    17     of the Supreme Investment Council.
    18                     Is that consistent with your
    19     understanding?
    20             A.      I need just to go --
    21                     MR. CURRAN:      It's up on the
    22             screen now.
    23                     THE WITNESS:      Here in English.
    24     QUESTIONS BY MR. CARTER:
    25             Q.      It's the -- it's the letter at



   Golkow Litigation Services                                        Page 362
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 364 of Review
                                                    Confidentiality     392


     1     39603 through 39604.
     2             A.      These are the same letter?
     3                     MR. CURRAN:      Yes, this is
     4             Arabic; that's the English.
     5                     THE WITNESS:      Ah.   Okay.    So
     6             what's the question?
     7     QUESTIONS BY MR. CARTER:
     8             Q.      Okay.    In the second to the
     9     last paragraph there, he says that "he
    10     acknowledges that he had previously accepted
    11     to be a member of the Constituent Assembly of
    12     the Islamic Relief Organization based on your
    13     valued invitation and to be a member of the
    14     Supreme Investment Council."
    15                     Do you see that?
    16             A.      No, I think -- can you please
    17     go through it again just to -- can you
    18     highlight it or -- yeah, okay.          Here.
    19     According --
    20             Q.      Above that.      The paragraph
    21     above that.
    22             A.      Yeah, it is no secret...
    23                     MR. CURRAN:      The question is
    24             was he a member before he resigned.           I
    25             think that's the question.



   Golkow Litigation Services                                        Page 363
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 365 of Review
                                                    Confidentiality     392


     1                     THE WITNESS:      Was he a member
     2             before he resigned?
     3                     MR. CURRAN:      Yeah.
     4                     THE WITNESS:      Before resigned,
     5             he was a member.      Yeah, he --
     6     QUESTIONS BY MR. CARTER:
     7             Q.      So at one time he was a member
     8     of the Constituent Assembly of the IIRO and
     9     of the Supreme Investment Council, correct?
    10             A.      Yes, before he resigned.
    11             Q.      And if you go to the August 19,
    12     1996 letter at 39598, there is a reference
    13     there to your father's shares in Sanabel Al
    14     Khair Company for Commercial and Industrial
    15     Investments.
    16                     Do you see that?
    17             A.      Yes, I see it.
    18             Q.      Do you know what Sanabel Al
    19     Khair was?
    20             A.      No, I don't.
    21             Q.      Was Sanabel Al Khair an
    22     investment company to generate revenue for
    23     IIRO?
    24             A.      I don't know.      I'm not familiar
    25     with it.



   Golkow Litigation Services                                        Page 364
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 366 of Review
                                                    Confidentiality     392


     1             Q.      And do you know whether or not
     2     your father ever made any contribution to an
     3     investment arm that was established to
     4     generate revenue for IIRO?
     5             A.      I don't know about it.
     6             Q.      And do you know whether or not
     7     by virtue of having made an investment and
     8     being a shareholder he was necessarily
     9     included as a member of the Investment
    10     Council of the IIRO?
    11             A.      I -- no, I don't know.         I'm not
    12     familiar in how -- how this -- how it works.
    13     It's not close to me.        I'm not familiar with
    14     it.
    15             Q.      And if we can go to the
    16     document at Tab 77 in our group of documents.
    17     We'll mark it as the next exhibit.
    18                     MR. CURRAN:      Is that within the
    19             scope of my examination, Mr. Carter?
    20                     MR. CARTER:      It is.
    21                     MR. CURRAN:      Okay.
    22                     MR. CARTER:      I understand your
    23             examination to have addressed Mr. Al
    24             Rajhi's relationship with the IIRO
    25             post-1992.     And this is a --



   Golkow Litigation Services                                        Page 365
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 367 of Review
                                                    Confidentiality     392


     1                     THE WITNESS:      Yeah.
     2                     MR. CARTER:      Sulaiman.
     3                     MR. CURRAN:      Okay.
     4                     (Al Rajhi Exhibit ARB 63 marked
     5             for identification.)
     6     QUESTIONS BY MR. CARTER:
     7             Q.      And, Mr. Al Rajhi, this is a
     8     document we received from the IIRO in
     9     discovery dated 1995 which refers to a
    10     delegation sent by the Director General of
    11     the IIRO, and the team going included Ahmad
    12     Totonji, Sheikh Saleh Al-Hussayen, Sheikh
    13     Abdul Rahman Al Rajhi, Sheikh Saleh Al-Habdan
    14     and Abdullah Al-Misfer.
    15                     Do you see that?
    16             A.      Yes, I see it.
    17             Q.      And Ahmad Totonji is listed on
    18     the documents we looked earlier as a director
    19     of the US Saar Foundation?
    20             A.      Yes.
    21             Q.      And Sheikh Saleh Al-Hussayen,
    22     as we recall, was also a director of the US
    23     Saar Foundation?
    24             A.      Yes.
    25             Q.      And Sheikh Abdul Rahman al



   Golkow Litigation Services                                        Page 366
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 368 of Review
                                                    Confidentiality     392


     1     Rajhi was one of the principals of your
     2     father's charity office?
     3             A.      Yes.
     4             Q.      And Sheikh Saleh Al-Habdan was
     5     both the imam of the Al Rajhi mosque and a
     6     representative of your father's charity
     7     office?
     8             A.      Here I'm not sure -- I'm not
     9     sure here if they are representing, but here
    10     if they're saying for Al Rajhi -- I think
    11     this is -- I'll say maybe I listen to your
    12     question.     Go ahead, please.
    13             Q.      Yeah, Sheikh Saleh Al-Habdan,
    14     who is referenced here, was the imam of Al
    15     Rajhi mosque and a representative of your
    16     father's charity office?
    17             A.      Yeah, this is -- this is a
    18     letter from -- from IIRO and chief of
    19     protocol, and they ask -- they're sending it
    20     to government in Dar es Salaam.           So I think
    21     he introduced them.        You know, he introduced
    22     them with the -- you know, with this title,
    23     imam of Al Rajhi mosque.
    24                     Because Abdul Rahman Al Rajhi,
    25     he put him here as a businessman.



   Golkow Litigation Services                                        Page 367
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 369 of Review
                                                    Confidentiality     392


     1             Q.      Yeah.
     2                     And Abdullah Al-Misfer, we've
     3     already covered, was also a representative of
     4     your father's charity office?
     5             A.      He said here Medina.        The
     6     representative of Medina University.            So
     7     here -- here on this letter, they are -- they
     8     are referring to him as -- as ex-minister.
     9     So they are -- yeah.        This is, again, IIRO
    10     letter sent to someone there, which is --
    11     which is showing their -- you know, their
    12     name and their introduction by, you know --
    13     by giving them -- you know, putting
    14     different -- different title for each one.
    15             Q.      Yeah.
    16                     So this is a delegation sent by
    17     the Director General of the IIRO that
    18     included two individuals who were directors
    19     of the US Saar Foundation and three
    20     individuals who were representatives of your
    21     father's charity office, right?
    22                     MR. CURRAN:      Objection.     Lacks
    23             foundation.
    24                     You may answer.
    25                     THE WITNESS:      Yes, these two



   Golkow Litigation Services                                        Page 368
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 370 of Review
                                                    Confidentiality     392


     1             people, they're working for my father,
     2             Abdul Rahman Al Rajhi and Saleh
     3             Al-Habdan.
     4                     MR. CARTER:      That's all I have.
     5             Thank you.
     6                    RECROSS-EXAMINATION
     7     QUESTIONS BY MR. CURRAN:
     8             Q.      Well, I have some follow-up to
     9     that.    So -- in particular follow-up to
    10     Mr. Carter's question or assertion that he
    11     did not get a stitch of information produced
    12     in discovery.
    13                     So, Mr. Al Rajhi, are you
    14     familiar with the SSC, the SAMA
    15     Self-Supervisory Committee?
    16             A.      Yes.
    17             Q.      And that was a committee formed
    18     under the auspices of SAMA after 9/11?
    19             A.      Correct, yes.
    20             Q.      And it had representatives of
    21     all of the major banks in Saudi Arabia?
    22             A.      Including Al Rajhi Bank.
    23             Q.      Okay.    And that committee,
    24     including the Al Rajhi Bank representative on
    25     that committee, coordinated closely with SAMA



   Golkow Litigation Services                                        Page 369
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 371 of Review
                                                    Confidentiality     392


     1     with respect to post-9/11 investigations,
     2     correct?
     3             A.      Yes, this is correct.
     4             Q.      Okay.    And those were extensive
     5     meetings and investigations under the
     6     auspices of SAMA, correct?
     7             A.      Yes.
     8                     MR. SHEN:     Form.
     9     QUESTIONS BY MR. CURRAN:
    10             Q.      So if Al Rajhi Bank in this
    11     litigation produced all of its correspondence
    12     with SAMA and with respect to the SSC, then
    13     Mr. Carter would be wrong saying he didn't
    14     have a stitch of information about the bank's
    15     post-9/11 cooperation with SAMA?
    16             A.      Yes.
    17                     MR. SHEN:     Objection to form.
    18                     MR. CURRAN:      No further
    19             questions.
    20                     I would like to thank you the
    21             technicians and the videographer and
    22             the court reporter and the various
    23             interpreters for their cooperation and
    24             patience today.      Thank you all very
    25             much.   The deposition is concluded.



   Golkow Litigation Services                                        Page 370
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 372 of Review
                                                    Confidentiality     392


     1                      MR. CARTER:     Thank you.
     2                      JON KNOWLES:     Thank you.
     3                      MR. CARTER:     Thank you, Mr. Al
     4             Rajhi.
     5                      VIDEOGRAPHER:     Off the record.
     6             10:42 p.m.
     7          (Deposition concluded at 10:42 p.m.)
     8                        – – – – – – –
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   Golkow Litigation Services                                        Page 371
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 373 of Review
                                                    Confidentiality     392


     1                      CERTIFICATE
     2                I, CARRIE A. CAMPBELL, Registered
           Diplomate Reporter, Certified Realtime
     3     Reporter and Certified Shorthand Reporter, do
           hereby certify that prior to the commencement
     4     of the examination, Abdullah bin Sulaiman Al
           Rajhi, was duly sworn by me to testify to the
     5     truth, the whole truth and nothing but the
           truth.
     6
                      I DO FURTHER CERTIFY that the
     7     foregoing is a verbatim transcript of the
           testimony as taken stenographically by and
     8     before me at the time, place and on the date
           hereinbefore set forth, to the best of my
     9     ability.
    10                I DO FURTHER CERTIFY that I am
           neither a relative nor employee nor attorney
    11     nor counsel of any of the parties to this
           action, and that I am neither a relative nor
    12     employee of such attorney or counsel, and
           that I am not financially interested in the
    13     action.
    14
    16             ____________________________
                   CARRIE A. CAMPBELL,
    17             NCRA Registered Diplomate Reporter
                   Certified Realtime Reporter
    18             California Certified Shorthand
                   Reporter #13921
    19             Missouri Certified Court Reporter #859
                   Illinois Certified Shorthand Reporter
    20             #084-004229
                   Texas Certified Shorthand Reporter #9328
    21             Kansas Certified Court Reporter #1715
                   New Jersey Certified Court Reporter
    22             #30XI00242600
                   Louisiana Certified Court Reporter
    23             #2021012
                   Notary Public
    24             Dated: September 30, 2023
    25



   Golkow Litigation Services                                        Page 372
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 374 of Review
                                                    Confidentiality     392


     1                   INSTRUCTIONS TO WITNESS
     2

     3                   Please read your deposition over
     4     carefully and make any necessary corrections.
     5     You should state the reason in the
     6     appropriate space on the errata sheet for any
     7     corrections that are made.
     8                   After doing so, please sign the
     9     errata sheet and date it.         You are signing
    10     same subject to the changes you have noted on
    11     the errata sheet, which will be attached to
    12     your deposition.
    13                   It is imperative that you return
    14     the original errata sheet to the deposing
    15     attorney within thirty (30) days of receipt
    16     of the deposition transcript by you.            If you
    17     fail to do so, the deposition transcript may
    18     be deemed to be accurate and may be used in
    19     court.
    20

    21

    22

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   Golkow Litigation Services                                        Page 373
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 375 of Review
                                                    Confidentiality     392


     1                ACKNOWLEDGMENT OF DEPONENT
     2
     3
     4                     I,______________________, do
           hereby certify that I have read the foregoing
     5     pages and that the same is a correct
           transcription of the answers given by me to
     6     the questions therein propounded, except for
           the corrections or changes in form or
     7     substance, if any, noted in the attached
           Errata Sheet.
     8
     9
    10
    11
    12     ________________________________________
           Abdullah bin Sulaiman Al Rajhi               DATE
    13
    14
    15     Subscribed and sworn to before me this
    16     _______ day of _______________, 20 _____.
    17     My commission expires: _______________
    18
    19     Notary Public
    20
    21
    22
    23
    24
    25




   Golkow Litigation Services                                        Page 374
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 376 of Review
                                                    Confidentiality     392


     1                         – – – – – – –
                                    ERRATA
     2                         – – – – – – –
     3      PAGE     LINE    CHANGE
     4      ____     ____    _____________________________
     5      ____     ____    _____________________________
     6      ____     ____    _____________________________
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   Golkow Litigation Services                                        Page 375
Case Highly
     1:03-md-01570-GBD-SN
              Confidential Document
                           – Subject10594-1  Filed 12/09/24
                                       To Further           Page 377 of Review
                                                    Confidentiality     392


     1                         – – – – – – –
                               LAWYER'S NOTES
     2                         – – – – – – –
     3      PAGE     LINE
     4      ____     ____    _____________________________
     5      ____     ____    _____________________________
     6      ____     ____    _____________________________
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   Golkow Litigation Services                                        Page 376
Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 378 of 392
Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 379 of 392
Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 380 of 392
Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 381 of 392
Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 382 of 392
Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 383 of 392
Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 384 of 392
Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 385 of 392
Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 386 of 392
Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 387 of 392
Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 388 of 392
Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 389 of 392
Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 390 of 392
Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 391 of 392
Case 1:03-md-01570-GBD-SN   Document 10594-1   Filed 12/09/24   Page 392 of 392
